                        Case 20-11170-LSS            Doc 6      Filed 05/22/20       Page 1 of 424




                                IN THE UNITED STATES BANKRUPTCY COURT
                                     FOR THE DISTRICT OF DELAWARE

                                              )
             In re:                           )                        Chapter 7
                                              )
          INTEGRAMED HOLDING CORP.,1          )                        Case No. 20-11169 (LSS)
                                              )
                    Debtor.                   )
                                              )
                                              )
                                              )
          In re:                              )                        Chapter 7
                                              )
          INTEGRAMED AMERICA, INC.,           )                        Case No. 20-11170 (LSS)
                                              )
                    Debtor.                   )
                                              )
                                              )
          In re:                              )                        Chapter 7
                                              )
          TRELLIS HEALTH LLC,                 )                        Case No. 20-11171 (LSS)
                                              )
                    Debtor.                   )
                                              )
                                              )
                                              )
          In re:                              )                        Chapter 7
                                              )
          INTEGRAMED FERTILITY HOLDING CORP., )                        Case No. 20-11172 (LSS)
                                              )
                    Debtor.                   )
                                              )
                                              )
         In re:                               )                        Chapter 7
                                              )
         REPRODUCTIVE PARTNERS, INC.,         )                        Case No. 20-11173 (LSS)
                                              )
                    Debtor.                   )
                                              )

     1
       The Debtors in the above captioned Chapter 7 Cases, along with the last four digits of each Debtor’s federal tax
     identification number, are as follows: IntegraMed Holding Corp. (4778), IntegraMed America, Inc. (0326), Trellis Health
     LLC (8710), IntegraMed Fertility Holding Corp. (7962), Reproductive Partners, Inc. (7978), IntegraMed Management of
     Bridgeport, LLC (0302), IntegraMed Florida Holdings, LLC (6524), IntegraMed Management of Mobile, LLC (2766),
     IntegraMed Management, LLC (9197), and IntegraMed Medical Missouri, LLC (0494). The Debtors’ corporate headquarters
     is located at 2 Manhattanville Road, Purchase, NY 10577.
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                                                        )
        In re:                                          )   Chapter 7
                                                        )
        INTEGRAMED MANAGEMENT OF                        )   Case No. 20-11175 (LSS)
        BRIDGEPORT, LLC,                                )
                                                        )
                     Debtor.                            )

                                                        )
        In re:                                          )   Chapter 7
                                                        )
        INTEGRAMED FLORIDA HOLDINGS, LLC,               )   Case No. 20-11176 (LSS)
                                                        )
                     Debtor.                            )
                                                        )
                                                        )
        In re:                                          )   Chapter 7
                                                        )
        INTEGRAMED MANAGEMENT OF MOBILE,                )   Case No. 20-11179 (LSS)
        LLC,                                            )
                                                        )
                     Debtor.                            )

                                                        )
        In re:                                          )   Chapter 7
                                                        )
        INTEGRAMED MANAGEMENT, LLC,                     )   Case No. 20-11181 (LSS)
                                                        )
                     Debtor.                            )
                                                        )
                                                        )
        In re:                                          )   Chapter 7
                                                        )
        INTEGRAMED MEDICAL MISSOURI, LLC,               )   Case No. 20-11184 (LSS)
                                                        )
                     Debtor.                            )
                                                        )

                 THE CHAPTER 7 CASES SCHEDULES AND SOFAS GLOBAL NOTES

             These Global Notes filed by the above-captioned debtors and debtors in possession
     (collectively, the “Debtors”) in connection with the Debtors’ Schedules of Assets and Liabilities
     (the “Schedules”) and Statements of Financial Affairs (the “SOFAs”) comprise an integral part of
     the Schedules and SOFAs and should be referred to and considered in connection with any review
     of them.


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     1.      The Debtors prepared these unaudited Schedules and SOFAs pursuant to section 521 of title 11 of
             the United States Code (the “Bankruptcy Code”) and Rule 1007 of the Federal Rules of Bankruptcy
             Procedure (the “Bankruptcy Rules”). Except where otherwise noted the information provided
             herein is presented as of the beginning of business on April 30, 2020.

     2.      Prior to the Petition Date, on May 11, 2020, IntegraMed America, Inc. sold certain of its
             information technology assets to an entity affiliated with Amulet Capital Partners, L.P. for a
             purchase price of $7 million and the assumption of certain liabilities. Such assets have been
             excluded from the Schedules and SOFAs

     3.      While the Debtors have made every reasonable effort to ensure that the Schedules and SOFAs are
             accurate and complete, based upon information that was available to them at the time of
             preparation, inadvertent errors or omissions may exist and the subsequent receipt of information
             and/or further review and analysis of the Debtors’ books and records may result in changes to
             financial data and other information contained in the Schedules and SOFAs. Moreover, because
             the Schedules and SOFAs contain unaudited information, which is subject to further review and
             potential adjustment, there can be no assurance that the Schedules and SOFAs are complete or
             accurate.

     4.      In reviewing and signing the Schedules and SOFAs, F. Richard Dietz, Jr., the duly authorized and
             designated representative of the Debtors (the “Designated Representative”), has necessarily relied
             upon the prior efforts, statements and representations of other employees, personnel and
             professionals of the Debtors. The Designated Representative has not (and could not have)
             personally verified the accuracy of each such statement and representation that collectively provide
             the information presented in the Schedules and SOFAs, including but not limited to, statements and
             representations concerning amounts owed to creditors and their addresses.

     5.      The Debtors reserve their rights to amend the Schedules and SOFAs as may be necessary or
             appropriate in the Debtors’ sole and absolute discretion, including, but not limited to, the right to
             assert offsets or defenses to (which rights are expressly preserved), or to dispute, any claim
             reflected on the Schedules as to amount, liability or classification, or to otherwise subsequently
             designate any claim as “disputed,” “contingent” or “unliquidated.” These Global Notes will apply
             to all such amendments. Furthermore, nothing contained in the Schedules or SOFAs shall
             constitute a waiver of the Debtors’ rights with respect to the chapter 7 cases and specifically with
             respect to any issues involving substantive consolidation, equitable subordination and/or causes of
             action arising under the provisions of chapter 5 of the Bankruptcy Code and other relevant non-
             bankruptcy laws to recover assets or avoid transfers, or an admission relating to the same.

     6.      Any failure to designate a claim listed on the Schedules as “disputed,” “contingent” or
             “unliquidated” does not constitute an admission by the Debtors that such amount is not “disputed,”
             “contingent” or “unliquidated.” Additionally, the dollar amounts of claims listed may be exclusive
             of contingent and additional unliquidated amounts. Further, the claims of individual creditors are
             listed as the amounts entered on the Debtors’ books and records and may not reflect credits or
             allowances due from such creditors to the Debtors or setoffs applied by such creditors against
             amounts due by such creditors to the Debtors with respect to other transactions between them. The
             Debtors reserve all of their rights with respect to any such credits and allowances.


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     7.      Some of the Debtors’ scheduled assets and liabilities are unknown and/or unliquidated. In such
             cases, no amounts are listed or the amounts are listed as “undetermined,” “unknown,” “none
             calculated” or to similar effect. Accordingly, for this and other reasons the Schedules may not fully
             reflect the aggregate amount of the Debtors’ assets and liabilities.

     8.      At times, the preparation of the Schedules and the SOFAs required the Debtors to make
             assumptions that may affect the reported amounts of assets and liabilities, the disclosures of
             contingent assets and liabilities, and/or other items. Actual results could differ from those estimates.
             Pursuant to Bankruptcy Rule 1009, the Debtors may amend their Schedules and SOFAs as they
             deem necessary and appropriate to reflect material changes. In addition, the Debtors, for the
             benefit of their estates, reserve the right to dispute or to assert offsets or defenses to any claim listed
             on the Schedules or SOFAs.

     9.      Given the differences between the information requested in the Schedules and the financial
             information utilized under generally accepted accounting principles in the United States (“GAAP”),
             the aggregate asset values and claim amounts set forth in the Schedules may not necessarily reflect
             the amounts that would be set forth in a balance sheet prepared in accordance with GAAP.

     10. Except as otherwise noted, each asset and liability of each Debtor is shown on the basis of net book
         value of the asset or liability in accordance with such Debtor’s accounting books and records.
         Therefore, unless otherwise noted, the Schedules and SOFAs are not based upon any estimate of
         the current market values of the Debtors’ assets and liabilities, which may not correspond to book
         values. It would be cost prohibitive and unduly burdensome to obtain current market valuations of
         the Debtors’ property interests. Except as otherwise noted, the Debtors’ assets are presented, in
         detail, as they appear on the Debtors’ accounting sub-ledgers. As such, the detail may include error
         corrections and value adjustments (shown as negative values or multiple line items for an
         individual asset). The Debtors believe that certain of their assets, including intangible assets, may
         have been significantly impaired by, among other things, the events leading to, and the
         commencement of, the Debtors’ chapter 7 cases. The Debtors did not formally evaluate the
         appropriateness of the carrying values ascribed to their assets prior to commencement of the
         chapter 7 cases.

     11. Owned property and equipment are recorded at cost and are shown net of depreciation.
         Depreciation is recorded using the straight-line method over the estimated useful lives of the assets,
         which range from three to seven years for furniture, fixtures, equipment, and software.

     12. Certain litigation actions (collectively, the “Litigation Actions”) reflected as claims against a
         particular Debtor may relate to any of the other Debtors. The Debtors made reasonable efforts to
         accurately record the Litigation Actions in the Schedules and SOFAs of the Debtor that is the party
         to the Litigation Action. The inclusion of any Litigation Action in the Schedules and SOFAs does
         not constitute an admission by the Debtors of liability, the validity of any Litigation Action or the
         amount of any potential claim that may result from any claims with respect to any Litigation
         Action, or the amount and treatment of any potential claim resulting from any Litigation Action
         currently pending or that may arise in the future.

     13. With respect to Schedule A/B, questions 6-7, the retainer amounts paid by the Debtors to their
         bankruptcy counsel, Young Conaway Stargatt & Taylor, LLP, on an earned upon receipt basis do

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             not constitute an interest of the Debtors in property and are thus not listed in response to Schedule
             B, questions 6-7. These payments are listed in response to SOFA question 11.

     14. With respect to Schedule A/B, Question 3, bank account balances are reported as of May 19, 2020.

     15. With respect to Schedule A/B, question 10, the Debtors listed the accounts receivable on a
         consolidated basis in the Schedule of Integramed America, Inc.

     16. Schedule D does not include beneficiaries of letters of credit. Although the claims of certain parties
         may be secured by a letter of credit, the Debtors’ obligations under the letters of credit run to the
         issuers thereof, and not to the beneficiaries thereof.

     17. Certain claims listed on Schedule D arose or were incurred on various dates; a determination of the
         date upon which each claim arose or was incurred would be unduly burdensome and cost
         prohibitive. Accordingly, not all such dates are included for each claim. All claims listed on
         Schedule D, however, appear to have arisen or been incurred before the Petition Date.

     18. The descriptions provided in Schedule D are intended only to be a summary. Reference to the
         applicable loan agreements and related documents is necessary for a complete description of the
         collateral and the nature, extent and priority of any liens. Nothing in these Global Notes or the
         Schedules and Statements shall be deemed a modification or interpretation of the terms of such
         agreements.

     19. Except as specifically stated herein, real property lessors, utility companies and other parties which
         may hold security deposits have not been listed on Schedule D. The Debtors have not included
         parties that may believe their Claims are secured through setoff rights or inchoate statutory lien
         rights.

     20. With respect to Schedule D, the Debtors listed Bank of Montreal as the agent to the secured debt
         listed at D.1 and D.2. However, prior to the Petition Date, Amulet Capital Partners or an affiliate
         thereof purchased the debt listed at D.1. The Debtors do not know with certainty whether, as of the
         Petition Date, Bank of Montreal has been replaced as agent for purposes of the senior secured debt
         listed at D.1.

     21. With respect to Schedule E/F, part 2, all creditors and amounts listed are derived from the Debtors’
         accounts payable as of May 20, 2020. The Debtors are unable to state with certainty the dates that
         such debts were incurred, and accordingly, the Debtors have not listed the dates that such debts
         were incurred.

     22. With respect to Schedule E/F, part 2, the addresses for certain creditors were not available in the
         Debtors’ books and records. Such addresses have, accordingly, been omitted.

     23. With respect to Schedule E/F, the Debtors have omitted the entry of any patients who received care
         at non-debtor owned clinical facilities in accordance with the policies and protections afforded by
         the Health Insurance Portability and Accountability Act (“HIPAA”). Such patients may be
         creditors of the Debtors, and appropriate records will be made available to the Chapter 7 Trustee
         and the Court upon request.

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     24. The Debtors have included information for all of their employees, each of whom was paid through
         and including May 23, 2020, on account of earned wages, salaries and paid time off. Any amounts
         owed to such employees are unknown, and have been listed as such on the Schedules. Appropriate
         correspondence regarding the commencement of these chapter 7 cases was sent to employees
         immediately upon the filing of these proceedings. .

     25. With respect to Schedule G, part 2, the addresses for certain executory contract or unexpired lease
         counterparties were not available in the Debtors’ books and records. Such addresses have been
         omitted.

     26. With respect to Schedule H, each of the Debtors are co-obligors with respect to scheduled claims
         listed at D.1 and D.2. Accordingly, each of the Debtors have been listed on Schedule H with
         respect to such claims.

     27. The businesses of the Debtors are complex and, while every effort has been made to ensure the
         accuracy of Schedule G, inadvertent errors or omissions may have occurred. The Debtors hereby
         reserve all of their rights to (i) dispute the validity, status or enforceability of any contracts,
         agreements or leases set forth in Schedule G and (ii) amend or supplement such Schedule as
         necessary. Furthermore, the Debtors reserve all of their rights, claims and causes of action with
         respect to the contracts and agreements listed on the Schedules, including the right to dispute or
         challenge the characterization or the structure of any transaction, document or instrument. The
         presence of a contract or agreement on Schedule G does not constitute an admission that such
         contract or agreement is an executory contract or an unexpired lease.

     28. The contracts, agreements and leases listed on Schedule G may have expired or may have been
         modified, amended or supplemented from time to time by various amendments, restatements,
         waivers, estoppel certificates, letter and other documents, instruments and agreements that may not
         be listed therein. Certain of the real property leases listed on Schedule G may contain renewal
         options, guarantees of payments, options to purchase, rights of first refusal, rights to lease
         additional space and other miscellaneous rights. Such rights, powers, duties and obligations are not
         set forth on Schedule G. Additionally, the Debtors may be parties to various other agreements
         concerning real property, such as easements, rights of way, subordination, non-disturbance,
         supplemental agreements, amendments/letter agreements, title documents, consents, site plans,
         maps and other miscellaneous agreements. Such agreements, if any, are not set forth in Schedule
         G. Certain of the agreements listed on Schedule G may be in the nature of conditional sales
         agreements or secured financings.

     29. For purposes of Schedule H, the Debtors have not listed their past insurers or current insurers as co-
         debtors because the Debtors are unaware of any actual present liability on the part of these parties.
         The Debtors reserve their rights to assert that any of the various foregoing parties (or any other
         party not listed on Schedule H whom the Debtors later discover to be liable in whole or part for any
         obligation of the Debtors) is a co-debtor with the Debtors, and neither these Global Notes nor the
         Schedules and SOFAs shall be deemed a waiver of any rights of the Debtors to assert that any
         entity not listed in response to Schedule H is a co-debtor with respect to one or more of the
         Debtors’ obligations.



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     30. Prior to the commencement of these cases, on May 8, 2020, May 16, 2020, and May 19, 2020, the
         Debtors issued three special payrolls to all employees for their earned wages, salaries, and paid
         time off. All other payrolls were made in the ordinary course of business on a biweekly basis. Due
         to the voluminous nature of such employee payments, the Debtors have excluded payments to rank
         and file employees in SOFA question 3. For the avoidance of doubt, the Debtors have included all
         applicable payments to insiders in SOFA question 4.

     31. With respect to SOFA questions 26(b) through 26(d), the Debtors have excluded rank and file
         accountants and bookkeepers in response to this question, instead listing those officers who
         supervised them, as well as the Debtors’ external accounting and audit firms.

     32. The Debtors and their past or present officers, employees, attorneys, professionals and agents
         (including, but not limited to, the Designated Representative), do not guarantee or warrant the
         accuracy, completeness, or currentness of the data that is provided herein and shall not be liable for
         any loss or injury arising out of or caused in whole or in part by the acts, errors or omissions,
         whether negligent or otherwise, in procuring, compiling, collecting, interpreting, reporting,
         communicating or delivering the information contained herein. The Debtors and their past or
         present officers, employees, attorneys, professionals and agents (including, but not limited to, the
         Designated Representative) expressly do not undertake any obligation to update, modify, revise or
         re-categorize the information provided herein or to notify any third party should the information be
         updated, modified, revised or re-categorized. In no event shall the Debtors or their past or present
         officers, employees, attorneys, professionals and/or agents (including, but not limited to, the
         Designated Representative) be liable to any third party for any direct, indirect, incidental,
         consequential or special damages (including, but not limited to, damages arising from the
         disallowance of any potential claim against the Debtors or damages to business reputation, lost
         business or lost profits), whether foreseeable or not and however caused arising from or related to
         any information provided herein or omitted herein.




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 Fill in this information to identify the case:

 Debtor name         IntegraMed America, Inc.

 United States Bankruptcy Court for the:            DISTRICT OF DELAWARE

 Case number (if known)         20-11170 (LSS)
                                                                                                                                   Check if this is an
                                                                                                                                    amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                           12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                 Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

                 Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

                 Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

                 Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

                 Schedule H: Codebtors (Official Form 206H)

                 Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                 Amended Schedule
                 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                 Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on         May 22, 2020                             X /s/ F. Richard Dietz, Jr.
                                                                       Signature of individual signing on behalf of debtor

                                                                       F. Richard Dietz, Jr.
                                                                       Printed name

                                                                       Interim Chief Executive Officer
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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 Fill in this information to identify the case:

 Debtor name            IntegraMed America, Inc.

 United States Bankruptcy Court for the:                       DISTRICT OF DELAWARE

 Case number (if known)               20-11170 (LSS)
                                                                                                                                                                                      Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $       57,126,310.92

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $       57,126,310.92


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $       92,303,605.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $                    0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$        8,084,893.60


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $        100,388,498.60




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
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 Fill in this information to identify the case:

 Debtor name         IntegraMed America, Inc.

 United States Bankruptcy Court for the:            DISTRICT OF DELAWARE

 Case number (if known)         20-11170 (LSS)
                                                                                                                                   Check if this is an
                                                                                                                                    amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                   12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No.   Go to Part 2.
       Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                Current value of
                                                                                                                                    debtor's interest
 2.         Cash on hand                                                                                                                     $3,893,788.97



 3.         Checking, savings, money market, or financial brokerage accounts (Identify all)
            Name of institution (bank or brokerage firm)         Type of account                         Last 4 digits of account
                                                                                                         number
                                                                            Corporate Holding
            3.1.   BMO Harris Bank                                          Account                      5442                                $6,243,989.00



                                                                            Corporate Deposit
            3.2.   Bank of America                                          Account                      1444                                $2,138,839.00




            3.3.   Bank of America                                          Concentration Account        7588                                  $213,063.00




            3.4.   Bank of America                                          Bay Imprest Acct             0716                                     $4,000.00




            3.5.   Bank of America                                          Boise Imprest Acct           1519                                       $355.00




            3.6.   Bank of America                                          Reno Imprest Acct            7756                                     $7,116.00



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                        page 1
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 Debtor           IntegraMed America, Inc.                                                   Case number (If known) 20-11170 (LSS)
                  Name




           3.7.     Bank of America                                         Reach Imprest                5279                           $10,400.00




           3.8.     Bank of America                                         Shady Grove Imprest          7481                             $8,341.00




           3.9.     Bank of America                                         Shared Risk Deposits         6103                         $593,462.00



           3.10
           .    Bank of America                                             SIRM Imprest                 3220                             $6,677.00



           3.11
           .    Bank of America                                             Seattle Imprest Acct         1669                           $28,906.00



           3.12
           .    Bank of America                                             UNC Imprest Acct             8362                           $17,500.00



           3.13
           .    Bank of America                                             Utah Imprest Acct            3058                             $3,254.00



           3.14
           .    Bank of America                                             CRM AL Imprest               3596                                   $0.00



           3.15
           .    Bank of America                                             CRM ORD Imprest              9742                           $24,608.00



           3.16                                                             Shady Grove Deposit
           .    CapitalOne Bank                                             Acct                         0450                           $78,785.00



           3.17
           .    East West Bank                                              RPMG Deposit Acct            6105                           $50,000.00



           3.18
           .    US Bank                                                     Bay Area Deposit Acct        7403                           $50,084.00



           3.19
           .    Wells Fargo                                                 Utah Deposit Acct            3204                           $25,000.00



           3.20
           .    Wells Fargo                                                 Idaho Deposit Acct           0399                           $25,000.00


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                page 2
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 Debtor         IntegraMed America, Inc.                                                       Case number (If known) 20-11170 (LSS)
                Name


            3.21
            .    Bank of America                                            IVF Florida Deposit Acct         7749                          $28,706.63



            3.22
            .    Bank of America                                            Orlando Deposit Acct             9656                          $19,866.58



            3.23
            .    Hancock Whitney                                            CRM AL Deposit Acct              2710                          $22,213.00



            3.24
            .    PNC                                                        CRM AL Deposit Acct              1867                          $25,262.00



 4.         Other cash equivalents (Identify all)

 5.         Total of Part 1.                                                                                                      $13,519,216.18
            Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:        Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

       No.   Go to Part 3.
       Yes Fill in the information below.

 Part 3:        Accounts receivable
10. Does the debtor have any accounts receivable?

       No.   Go to Part 4.
       Yes Fill in the information below.
 11.        Accounts receivable
            11a. 90 days old or less:                       34,817,837.23    -                                0.00 = ....              $34,817,837.23
                                              face amount                        doubtful or uncollectible accounts




            11b. Over 90 days old:                          13,715,452.51    -                     4,926,195.00 =....                   $8,789,257.51
                                              face amount                        doubtful or uncollectible accounts



 12.        Total of Part 3.                                                                                                      $43,607,094.74
            Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4:        Investments
13. Does the debtor own any investments?

       No.   Go to Part 5.
       Yes Fill in the information below.
                                                                                                        Valuation method used   Current value of
                                                                                                        for current value       debtor's interest

 14.        Mutual funds or publicly traded stocks not included in Part 1

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 Debtor         IntegraMed America, Inc.                                                       Case number (If known) 20-11170 (LSS)
                Name

           Name of fund or stock:

 15.       Non-publicly traded stock and interests in incorporated and unincorporated businesses, including any interest in an LLC,
           partnership, or joint venture
           Name of entity:                                               % of ownership


           15.1.     CapEx MD                                                       10            %                                         Unknown




           15.2.     ARTIC                                                          9             %                                         Unknown




           15.3.     Pharmaceutical Contracting Alliance, LLC                       51            %                                         Unknown



 16.       Government bonds, corporate bonds, and other negotiable and non-negotiable instruments not included in Part 1
           Describe:


 17.       Total of Part 4.                                                                                                                  $0.00
           Add lines 14 through 16. Copy the total to line 83.

 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

     No.    Go to Part 6.
     Yes Fill in the information below.

 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

     No.    Go to Part 7.
     Yes Fill in the information below.

 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

     No.    Go to Part 8.
     Yes Fill in the information below.
           General description                                                Net book value of       Valuation method used    Current value of
                                                                              debtor's interest       for current value        debtor's interest
                                                                              (Where available)

 39.       Office furniture
           Computer Equipment                                                           $713,248.75   N/A                                   Unknown


           Furniture and Office Equipment                                          $1,249,331.90      N/A                                   Unknown


           Medical Equipment                                                            $713,248.15   N/A                                   Unknown



 40.       Office fixtures

 41.       Office equipment, including all computer equipment and
           communication systems equipment and software
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                  page 4
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 Debtor         IntegraMed America, Inc.                                                      Case number (If known) 20-11170 (LSS)
                Name



 42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles

 43.       Total of Part 7.                                                                                                                      $0.00
           Add lines 39 through 42. Copy the total to line 86.

 44.       Is a depreciation schedule available for any of the property listed in Part 7?
            No
            Yes
 45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
            No
            Yes
 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

     No.    Go to Part 9.
     Yes Fill in the information below.

 Part 9:        Real property
54. Does the debtor own or lease any real property?

     No.    Go to Part 10.
     Yes Fill in the information below.
 55.       Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

           Description and location of                    Nature and          Net book value of      Valuation method used   Current value of
           property                                       extent of           debtor's interest      for current value       debtor's interest
           Include street address or other                debtor's interest   (Where available)
           description such as Assessor                   in property
           Parcel Number (APN), and type
           of property (for example,
           acreage, factory, warehouse,
           apartment or office building, if
           available.
           55.1. 100 PARK PL,
                     SUITES 130 170 200,
                     San Ramon, CA                        Lessee                      $44,152.75     N/A                                   Unknown


           55.2.     100 TECHNOLOGY
                     DR, SUITES 203 210,
                     Trumbull, CT                         Lessee                      $41,096.00     N/A                                   Unknown


           55.3.     105 LANDINGS DR,
                     STE 202 -,
                     Mooresville, NC                      Lessee                            $0.00    N/A                                   Unknown


           55.4.     10630 LITTLE
                     PATUXENT PKWY
                     (NEW), STE 305 AND
                     330, Columbia, MD                    Lessee                      $11,797.50     N/A                                   Unknown




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                 page 5
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 Debtor         IntegraMed America, Inc.                                                     Case number (If known) 20-11170 (LSS)
                Name

           55.5.     1098 FOSTER CITY
                     BLVD, STE 210 (A210
                     A205), Foster City,
                     CA                                   Lessee                            $0.00    N/A                                  Unknown


           55.6.     111 PLUMTREE RD,
                     2ND FL A, Bel Air,
                     MD                                   Lessee                        $7,667.00    N/A                                  Unknown


           55.7.     11516 LAMEY BRG
                     RD, STE 13 A,
                     D'Iberville, MS                      Lessee                            $0.00    N/A                                  Unknown


           55.8.     12011 LEE JACKSON
                     HWY, SUITES 302
                     305, Fairfax, VA                     Lessee                            $0.00    N/A                                  Unknown


           55.9.     12333 NE 130TH LN,
                     STE 220 -, Kirkland,
                     WA                                   Lessee                            $0.00    N/A                                  Unknown


           55.10 135 ARLINGTON HTS
           .     RD (NEW), STE 195
                     A, Buffalo Grove, IL                 Lessee                            $0.00    N/A                                  Unknown


           55.11 13580 GROUPE DR,
           .     STE 105,
                     Woodbridge, VA                       Lessee                      $22,680.63     N/A                                  Unknown


           55.12 1505 WESTLAKE
           .     AVE N (NEW),
                     SUITES 400 495 300
                     310, Seattle, WA                     Lessee                      $28,500.00     N/A                                  Unknown


           55.13 15066 LOS GATOS
           .     ALAMADEN RD
                     (NEW), STE 100, Los
                     Gatos, CA                            Lessee                      $18,592.64     N/A                                  Unknown


           55.14 15920 E INDIANA
           .     AVE, STE 200 A,
                     Spokane Valley, WA                   Lessee                      $13,662.58     N/A                                  Unknown


           55.15 165 THOMAS
           .     JOHNSON DR,
                     SUITES F G IN
                     CONDO UNIT #300,
                     Frederick, MD                        Lessee                        $8,037.00    N/A                                  Unknown


           55.16 1700 W MAIN ST,
           .     BLDG B, Pensacola,
                     FL                                   Lessee                        $2,244.66    N/A                                  Unknown

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                page 6
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 Debtor         IntegraMed America, Inc.                                                     Case number (If known) 20-11170 (LSS)
                Name



           55.17 18210 S LAGRANGE
           .     RD, STE 111 A, Tinley
                     Park, IL                             Lessee                      $14,835.00     N/A                                  Unknown


           55.18 19500 SANDRIDGE
           .     WAY, STE 280 A,
                     Leesburg, VA                         Lessee                            $0.00    N/A                                  Unknown


           55.19 2000 MEDICAL
           .     PKWY, STE 308,
                     Annapolis, MD                        Lessee                      $14,230.66     N/A                                  Unknown


           55.20 2021 K ST NW , STE
           .     710 A, Washington,
                     DC                                   Lessee                      $11,027.31     N/A                                  Unknown


           55.21
           .     2021 K ST NW, STE
                     750, Washington, DC                  Lessee                      $10,001.86     N/A                                  Unknown


           55.22 2021 K ST NW, STE
           .     101 -, Washington,
                     DC                                   Lessee                      $11,027.31     N/A                                  Unknown


           55.23 2260 W HIGGINS RD,
           .     STE 200 A, Hoffman
                     Estates, IL                          Lessee                            $0.00    N/A                                  Unknown


           55.24 2333 PONCE DE
           .     LEON BLVD, SUITES
                     126 & 128, Coral
                     Gables, FL                           Lessee                      $60,000.00     N/A                                  Unknown


           55.25 2592 E GRAND AVE,
           .     UNIT 205 1,
                     Lindenhurst, IL                      Lessee                            $0.00    N/A                                  Unknown


           55.26 2960 N STATE RD 7,
           .     SUITES 100 200 300,
                     Margate, FL                          Lessee                        $2,500.00    N/A                                  Unknown


           55.27
           .     3010 CRAIN HWY,
                     STE 201, Waldorf, MD                 Lessee                        $3,867.00    N/A                                  Unknown


           55.28 3055 112TH AVE NE,
           .     STE 201 A, Bellevue,
                     WA                                   Lessee                      $12,782.38     N/A                                  Unknown




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                page 7
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 Debtor         IntegraMed America, Inc.                                                     Case number (If known) 20-11170 (LSS)
                Name

           55.29 3209 S 23RD ST, STE
           .     350 3RD FL, Tacoma,
                     WA                                   Lessee                      $60,000.00     N/A                                  Unknown


           55.30
           .     425 FIFTH AVE, STE
                     602, New York, NY                    Lessee                      $28,350.00     N/A                                  Unknown


           55.31 510 N PROSPECT
           .     AVE, SUITES 202
                     205, Redondo Beach,
                     CA                                   Lessee                        $9,115.19    N/A                                  Unknown


           55.32 5215 LOUGHBORO
           .     RD, STE 410 A,
                     Washington, DC                       Lessee                        $9,595.00    N/A                                  Unknown


           55.33 555 N NEW BALLAS,
           .     STE 150 A, St. Louis,
                     MO                                   Lessee                      $14,583.33     N/A                                  Unknown


           55.34 567 NW LK WHITNEY
           .     PL, STE 103, 104,
                     Port St. Lucie, FL                   Lessee                        $6,743.30    N/A                                  Unknown


           55.35 600 HERITAGE DR,
           .     STE 200 A, Jupiter,
                     FL                                   Lessee                            $0.00    N/A                                  Unknown


           55.36 600 W CHICAGO
           .     AVE, RW5 -
                     RIVERWALK LEVEL
                     EXPANSION A,
                     Chicago, IL                          Lessee                     $338,000.00     N/A                                  Unknown


           55.37 6330 SAN VICENTE
           .     BLVD, SUITES 408
                     238 (UPDATED), Los
                     Angeles, CA                          Lessee                      $16,727.68     N/A                                  Unknown


           55.38 720 ALICEANNA ST,
           .     STE 320 A, Baltimore,
                     MD                                   Lessee                        $7,510.00    N/A                                  Unknown


           55.39 728 134TH ST SW,
           .     STE 207 213, Everett,
                     WA                                   Lessee                      $27,397.10     N/A                                  Unknown


           55.40 7280 W PALMETTO
           .     PARK RD, STE 104-N,
                     Boca Raton, FL                       Lessee                        $3,780.26    N/A                                  Unknown



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                page 8
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 Debtor         IntegraMed America, Inc.                                                     Case number (If known) 20-11170 (LSS)
                Name

           55.41 7451 WILES RD,
           .     BLDG 2 STE 201
                     WHISPERING
                     WOODS CTR, Coral
                     Springs, FL                          Lessee                        $2,208.33    N/A                                  Unknown


           55.42 89 DAVIS RD, SUITES
           .     240 260 280, Orinda,
                     CA                                   Lessee                      $12,087.00     N/A                                  Unknown


           55.43 900 N KINGSBURY
           .     ST, RW6 - PORTION
                     OF LOWER LEVEL.,
                     Chicago, IL                          Lessee                     $118,824.00     N/A                                  Unknown


           55.44 901 DULANEY VLY
           .     RD, STE 616 AND
                     STE 100, Towson,
                     MD                                   Lessee                      $35,323.53     N/A                                  Unknown


           55.45
           .     907 N ELM ST, STE
                     200, Hinsdale, IL                    Lessee                     $105,175.00     N/A                                  Unknown


           55.46 9600 BLACKWELL
           .     RD, 5TH FL,
                     Rockville, MD                        Lessee                     $450,000.00     N/A                                  Unknown


           55.47 9601 BLACKWELL
           .     RD, STE 400 AND
                     500, Rockville, MD                   Lessee                            $0.00    N/A                                  Unknown


           55.48 9850 GENESEE AVE,
           .     STE 800 AND 830, La
                     Jolla, CA                            Lessee                      $29,524.64     N/A                                  Unknown


           55.49 TWO
           .     MANHATTANVILLE
                     RD, 4TH FL CORR,
                     Purchase, NY                         Lessee                      $29,448.00     N/A                                  Unknown


           55.50
           .     9850 GENESEE AVE,
                     STE 880, La Jolla, CA                Lessee                        $9,811.80    N/A                                  Unknown


           55.51
           .     9850 GENESEE AVE,
                     STE 970, La Jolla, CA                Lessee                        $8,338.11    N/A                                  Unknown


           55.52
           .     425 FIFTH AVE, STE
                     603, New York, NY                    Lessee                      $15,750.00     N/A                                  Unknown



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                page 9
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 Debtor         IntegraMed America, Inc.                                                      Case number (If known) 20-11170 (LSS)
                Name


 56.        Total of Part 9.                                                                                                                  $0.00
            Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
            Copy the total to line 88.

 57.        Is a depreciation schedule available for any of the property listed in Part 9?
             No
             Yes
 58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
             No
             Yes
 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

     No.    Go to Part 11.
     Yes Fill in the information below.
            General description                                               Net book value of        Valuation method used   Current value of
                                                                              debtor's interest        for current value       debtor's interest
                                                                              (Where available)

 60.        Patents, copyrights, trademarks, and trade secrets
            T259216.CA.01
            (1) performance of diagnostic tests to obtain
            results relative to the most prevalent
            chromosomal birth anomalies                                                Unknown         N/A                                 Unknown


            T259212.CA.01
            (1) service de laboratoire clinique pour le
            dépistage de l'hypogonadisme. (1) marqueurs
            biochimiques servant au dépistage de
            l'hypogonadism                                                             Unknown         N/A                                 Unknown


            T076183.CA.01
            Financing services in the nature of payment
            plans for patients receiving medical and
            healthcare services related to infertility
            treatment; financial guarantee services in the
            nature of guaranteed refund plans for patients
            receiving medical and healthcare services
            related to infertility treatment; and
            consultation services in the field of
            fertility-oriented healthcare. Consulting
            services in the field of healthcare.                                       Unknown         N/A                                 Unknown


            T257707.CA.01
            Computer services, namely, providing
            consumer information in the field of healthcare
            and fertility treatments.                                                  Unknown         N/A                                 Unknown




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                 page 10
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 Debtor         IntegraMed America, Inc.                                                     Case number (If known) 20-11170 (LSS)
                Name

           T257939.CA.01
           Consulting services in the field of healthcare,
           namely, consulting in medical services.
           Provision of business marketing consultation
           services to specialty medical providers in the
           field of physician-assisted reproduction and
           adult women's medical services; medical
           referrals; consulting services in the field of
           healthcare, namely, consulting in healthcare
           operations management.
           Provision of comprehensive management
           support services, namely, financial
           management services to specialty medical
           providers in the field of physician-assisted
           reproduction and adult women's medical
           services; consulting services in the field of
           healthcare, namely, consulting in the field of
           healthcare benefits.                                                        Unknown       N/A                                  Unknown


           T257708.CA.01
           Financing services in the nature of payment
           plans for patients receiving medical and
           healthcare services related to infertility
           treatment; financial guarantee services in the
           nature of guaranteed refund plans for patients
           receiving medical and healthcare services
           related to infertility treatment; consulting
           services in the field of healthcare.                                        Unknown       N/A                                  Unknown


           T259211.CA.01
           Services de laboratoire clinique pour le
           dépistage d'anomalies génétiques.                                           Unknown       N/A                                  Unknown


           T259213.CA.01
           performance of prenatal tests.                                              Unknown       N/A                                  Unknown


           T259219.CA.01
           gynecological and fertility services                                        Unknown       N/A                                  Unknown


           T069951.CA.01
           Providing financial management regarding
           medical practices; financial services for
           others, namely, advising regarding the
           financing of medical services; consulting
           services in the fields of medical marketing,
           advertising and promotion; business
           consulting services in the fields of developing
           medical practices; providing business
           administration, business management,
           business consulting and business
           development services for healthcare
           providers, namely, medical practice extension
           and enhanced productivity.                                                  Unknown       N/A                                  Unknown




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                page 11
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 Debtor         IntegraMed America, Inc.                                                     Case number (If known) 20-11170 (LSS)
                Name

           T257709.CA.01
           Consulting services in the fields of medical
           marketing, advertising, and promotion;
           business consulting services in the field of
           developing medical practices; providing
           business administration, business
           management andbusiness consultation for in
           vitro fertilization clinics and laboratories
           associated with such clinics; business
           development services for others, namely,
           providing start-up support for in vitro
           fertilization clinics and laboratories associated
           with such clinics; business marketing
           consultation for in vitro fertilization
           clinics;business management consulting
           services and business risk management
           consulting services for in vitro fertilization
           clinics; providing financial management
           regarding medical practices; financial services
           for others, namely, advising regarding the
           financing of medical services; computer
           consultation services in the field of
           information technology for in vitro fertilization
           clinics; medical services in the field of human
           fertility.                                                                  Unknown       N/A                                  Unknown


           T259210.CA.01
           Operation of a fertility clinic; artificial
           insemination and in-vitro fertilization services,                           Unknown       N/A                                  Unknown


           T259214.CA.01
           surgical services in the field of general
           surgery, gynaecology, urology, orl, plastic
           surgery, orthopaedic surgery and
           ophthalmology.                                                              Unknown       N/A                                  Unknown


           T259215.CA.01
           operation of fertility clinics providing fertility
           treatment services, diagnostic laboratory,
           prenatal screening and ultrasounds and a
           cryopreservation center for sperm banking.                                  Unknown       N/A                                  Unknown


           T069950.CA.01
           Financial services for others, namely, advising
           regarding the affordability of financing for
           medical services.                                                           Unknown       N/A                                  Unknown




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 Debtor         IntegraMed America, Inc.                                                     Case number (If known) 20-11170 (LSS)
                Name

           T257710.CA.01
           Provision of comprehensive management
           support services, namely business and
           marketing in human resources management
           consultation services to speciality medical
           providers in the field of physician assisted
           reproduction and adult women's medical
           services; provision of comprehensive
           management support services, namely
           financial management services to speciality
           medical providers in the field of physician
           assisted reproduction and adult women's
           medical services.                                                           Unknown       N/A                                  Unknown


           T266480.US.01
           Promoting awareness of infertility                                          Unknown       N/A                                  Unknown


           T232570.US.01
           Administration of discount programs for
           enabling participants to obtain discounts on
           prescription drugs.                                                         Unknown       N/A                                  Unknown


           T075007.US.01
           Financing services in the nature of payment
           plans for patients receiving medical and
           healthcare services related to infertility
           treatment; financial guarantee services in the
           nature of guaranteed refund plans for patients
           receiving medical and healthcare services
           related to infertility treatment.
           Consultation services in the field of
           healthcare.                                                                 Unknown       N/A                                  Unknown


           T202189.US.01
           Computer services, namely, providing
           consumer information in the field of healthcare
           and fertility treatments.                                                   Unknown       N/A                                  Unknown


           T218095.US.01
           Provision of business marketing consultation
           services to specialty medical providers in the
           field of physician-assisted reproduction and
           adult women's medical services; medical
           referrals; consulting services in the field of
           healthcare, namely, consulting in healthcare
           operations management.                                                      Unknown       N/A                                  Unknown


           T075940.US.01
           Financing services in the nature of payment
           plans for patients receiving medical and
           healthcare services related to infertility
           treatment; financial guarantee services in the
           nature of guaranteed refund plans for patients
           receiving medical and healthcare services
           related to infertility treatment.
           Consulting services in the field of healthcare.                             Unknown       N/A                                  Unknown


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 Debtor         IntegraMed America, Inc.                                                     Case number (If known) 20-11170 (LSS)
                Name

           T257753.US.01
           Medical counseling services; artificial
           insemination services and in vitro fertilization
           and insemination services, fertilization and
           pregnancy analysis and testing services.                                    Unknown       N/A                                  Unknown


           T070877.US.01
           Providing programs that provide consumers
           and affiliated fertility centers with health and
           medical information on the subjects of
           pregnancy and fertility.                                                    Unknown       N/A                                  Unknown


           T076796.US.01
           Medical services in the field of fertility.                                 Unknown       N/A                                        $0.00


           T257759.US.01
           Medical and scientific research, namely
           conducting clinical trials; medical
           laboratories; medical research; scientific
           Investigations for medical purposes. Medical
           and pharmaceutical consultation; medical
           assistance consultancy provided by doctors
           and other specialized medical personnel;
           medical clinics; medical consultations;
           medical counseling; medical information;
           medical services; medical services, namely, in
           vitro fertilization; medical testing.                                       Unknown       N/A                                  Unknown


           T266481.US.01
           Promoting awareness of infertility.                                         Unknown       N/A                                  Unknown


           T070885.US.01
           Consulting services in the fields of medical
           marketing, advertising and promotion;
           business consulting services in the fields of
           developing medical practices; providing
           business administration, business
           management, business consulting and
           business development services for healthcare
           providers, namely, medical practice extension
           and enhanced productivity. Providing financial
           management regarding medical practices;
           financial services for others, namely, advising
           regarding the financing of medical services.                                Unknown       N/A                                  Unknown


           T070899.US.01
           Provision of comprehensive management
           support services, namely, business marketing
           and human resource management
           consultation services to specialty medical
           providers in the field of physician-assisted
           reproduction and adult women`s medical
           services.                                                                   Unknown       N/A                                  Unknown




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                page 14
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 Debtor         IntegraMed America, Inc.                                                     Case number (If known) 20-11170 (LSS)
                Name

           T238058.US.01
           Consulting services in the fields of medical
           marketing, advertising, and promotion;
           business consulting services in the field of
           developing medical practices; providing
           business administration, business
           management and business consultation for in
           vitro fertilization clinics and laboratories
           associated with such clinics; business
           development services for others, namely,
           providing start-up support for in vitro
           fertilization clinics and laboratories associated
           with such clinics; business marketing
           consultation for in vitro fertilization clinics;
           business management consulting services
           and business risk management consulting
           services for in vitro fertilization clinics.                                Unknown       N/A                                  Unknown


           T074874.US.01
           Consulting services in the fields of medical
           marketing, advertising, and promotion;
           business consulting services in the field of
           developing medical practices; providing
           business administration, business
           management and business consultation for
           healthcare providers in in vitro fertilization
           clinics and laboratories associated with such
           clinics; business development services for
           others, namely, providing start-up support for
           healthcare providers in vitro fertilization
           clinics and laboratories associated with such
           clinics; business marketing consultation for in
           vitro fertilization clinics; business
           management consulting services and
           business risk management consulting
           services.                                                                   Unknown       N/A                                  Unknown


           T070886.US.01
           Medical services in the field of fertility                                  Unknown       N/A                                  Unknown


           T252862.US.01
           Medical services in the field of human fertility                            Unknown       N/A                                  Unknown


           T070897.US.01
           Medical laboratory services; medical research
           provided to clinical facilities and physician
           practices which provide assisted reproductive
           technology and fertility services to infertile
           couples seeking to achieve pregnancy.                                       Unknown       N/A                                  Unknown


           T070880.US.01
           Financial services related to structuring
           payment for and advising regarding the
           affordability of medical services.                                          Unknown       N/A                                  Unknown




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                page 15
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 Debtor         IntegraMed America, Inc.                                                     Case number (If known) 20-11170 (LSS)
                Name

            T257748.US.01
            Artificial insemination services and in vitro
            fertilization and insemination services;
            laboratory services, namely, genetic, artificial
            insemination, fertilization and pregnancy
            analysis and testing services; medical
            services; clinical services, namely, male and
            female infertility and assisted reproductive
            services; and medical counseling services in
            the fields of reproduction, infertility and
            pregnancy                                                                  Unknown       N/A                                  Unknown


            T257760.US.01
            Medical laboratory services, and medical and
            scientific research services                                               Unknown       N/A                                  Unknown


            T070875.US.01
            Provision of comprehensive management
            support services, namely business and
            marketing in human resources management
            consultation services to speciality medical
            providers in the field of physician assisted
            reproduction and adult women`s medical
            services                                                                   Unknown       N/A                                  Unknown


            T276547.US.01
            Fertility related educational services, namely,
            providing seminars and workshops in the
            fields of fertility, fertility wellness and
            nutrition.                                                                 Unknown       N/A                                  Unknown



 61.        Internet domain names and websites

 62.        Licenses, franchises, and royalties

 63.        Customer lists, mailing lists, or other compilations

 64.        Other intangibles, or intellectual property

 65.        Goodwill

 66.        Total of Part 10.                                                                                                                $0.00
            Add lines 60 through 65. Copy the total to line 89.

 67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
             No
             Yes
 68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
             No
             Yes
 69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
             No
             Yes
 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                page 16
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 Debtor         IntegraMed America, Inc.                                                     Case number (If known) 20-11170 (LSS)
                Name

    Include all interests in executory contracts and unexpired leases not previously reported on this form.

     No.    Go to Part 12.
     Yes Fill in the information below.




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                page 17
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 Debtor          IntegraMed America, Inc.                                                                            Case number (If known) 20-11170 (LSS)
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                      $13,519,216.18

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

 82. Accounts receivable. Copy line 12, Part 3.                                                               $43,607,094.74

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                                   $0.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                                 $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

 91. Total. Add lines 80 through 90 for each column                                                       $57,126,310.92             + 91b.                       $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $57,126,310.92




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                           page 18
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 Fill in this information to identify the case:

 Debtor name          IntegraMed America, Inc.

 United States Bankruptcy Court for the:            DISTRICT OF DELAWARE

 Case number (if known)              20-11170 (LSS)
                                                                                                                                             Check if this is an
                                                                                                                                              amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                     12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
        No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
        Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                    Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                                Amount of claim             Value of collateral
                                                                                                                                                that supports this
                                                                                                                    Do not deduct the value     claim
                                                                                                                    of collateral.

 2.1
        Bank of Montreal
        (Administrative Agent)                        Describe debtor's property that is subject to a lien             $70,144,065.00                   Unknown
        Creditor's Name                               Substantially all assets
        Robert A. Kiefer
        150 King Street West
        11th Floor
        Toronto, Ontario, Canada
        M5K 3T9
        Creditor's mailing address                    Describe the lien
                                                      Senior Secured Term Loan
                                                      Is the creditor an insider or related party?
                                                       No
        Creditor's email address, if known             Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                         No
        December 17, 2015                              Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
         No                                           Contingent
         Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative       Disputed
        priority.



        Bank of Montreal
 2.2                                                                                                                   $22,159,540.00                   Unknown
        (Administrative Agent)                        Describe debtor's property that is subject to a lien
        Creditor's Name                               Substantially all assets
        Zoltan J. Szoldatits
        100 King Street West
        23rd Floor
        Toronto, Ontario, Canada
        M5X1A1
        Creditor's mailing address                    Describe the lien
                                                      Subordinated credit facility
                                                      Is the creditor an insider or related party?
                                                       No
        Creditor's email address, if known             Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                         No

Official Form 206D                                 Schedule D: Creditors Who Have Claims Secured by Property                                                 page 1 of 6
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 Debtor       IntegraMed America, Inc.                                                                Case number (if known)    20-11170 (LSS)
              Name

                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.



 2.3   Dell Financial Services                        Describe debtor's property that is subject to a lien                     Unknown           Unknown
       Creditor's Name                                Computer equipment
       Po Box 41602
       Seattle, WA 98188
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.




 2.4
       Everbank Commercial
       Finance                                        Describe debtor's property that is subject to a lien                     Unknown           Unknown
       Creditor's Name                                Clinical and lab equipment
       PO Box 911608
       Denver, CO 80291
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.



 2.5   GE HFS, LLC                                    Describe debtor's property that is subject to a lien                     Unknown           Unknown
       Creditor's Name                                clinical and lab equipment
       PO Box 641419
       Pittsburgh, PA 15264

Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                    page 2 of 6
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 Debtor       IntegraMed America, Inc.                                                                Case number (if known)    20-11170 (LSS)
              Name

       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.



 2.6   GE HFS, LLC                                    Describe debtor's property that is subject to a lien                     Unknown           Unknown
       Creditor's Name                                clinical and lab equipment
       PO Box 96483
       Chicago, IL 60693
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.




 2.7
       General Electric Capital
       Corporation                                    Describe debtor's property that is subject to a lien                     Unknown           Unknown
       Creditor's Name                                clinical and lab equipment



       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply




Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                    page 3 of 6
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 Debtor       IntegraMed America, Inc.                                                                Case number (if known)    20-11170 (LSS)
              Name

        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.




 2.8
       KONICA MINOLTA
       PREMIER FINANCE                                Describe debtor's property that is subject to a lien                     Unknown           Unknown
       Creditor's Name                                clinical and lab equipment
       PO BOX 105743
       ATLANTA, GA 30348
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.




 2.9
       LEASING ASSOCIATES OF
       BARRINGTON                                     Describe debtor's property that is subject to a lien                     Unknown           Unknown
       Creditor's Name                                clinical and lab equipment
       BARRINGTON, INC.
       220 NORTH RIVER STREET
       DUNDEE, IL 60118
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.



 2.1
 0     MARLIN BUSINESS BANK                           Describe debtor's property that is subject to a lien                     Unknown           Unknown
       Creditor's Name                                clinical and lab equipment
       PO BOX 13604
       PHILADELHIA, PA 19101
       Creditor's mailing address                     Describe the lien




Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                    page 4 of 6
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 Debtor       IntegraMed America, Inc.                                                                Case number (if known)    20-11170 (LSS)
              Name

                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.



 2.1
 1     Norcom Solutions                               Describe debtor's property that is subject to a lien                     Unknown           Unknown
       Creditor's Name                                Telecom and server eqipment
       200 White Plains Road
       Tarrytown, NY 10591
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.



 2.1   Shady Grove Reproductive
 2     Science Center                                 Describe debtor's property that is subject to a lien                     Unknown           Unknown
       Creditor's Name                                Lien on bank account
       9600 Blackwell Road, Suite
       500
       Rockville, MD 20850
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.


Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                    page 5 of 6
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 Debtor       IntegraMed America, Inc.                                                          Case number (if known)         20-11170 (LSS)
              Name




                                                                                                                         $92,303,605.
 3.   Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                   00

 Part 2:    List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                               you enter the related creditor?   account number for
                                                                                                                                                 this entity




Official Form 206D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                          page 6 of 6
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 Fill in this information to identify the case:

 Debtor name         IntegraMed America, Inc.

 United States Bankruptcy Court for the:            DISTRICT OF DELAWARE

 Case number (if known)          20-11170 (LSS)
                                                                                                                                                  Check if this is an
                                                                                                                                                   amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                  12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

           No. Go to Part 2.
           Yes. Go to line 2.
       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
          with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                     Total claim           Priority amount

 2.1       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                         Unknown            Unknown
           Aaron, Dollie M.                                          Check all that apply.
           6428 Ridge Terrace                                         Contingent
           899                                                        Unliquidated
           Orlando, FL 32810                                          Disputed
           Date or dates debt was incurred                           Basis for the claim:
                                                                     Wages
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                        No
           unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.2       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                         Unknown            Unknown
           Aday, Marie C.                                            Check all that apply.
           3775 Wauteck Lane                                          Contingent
           Cottonwood, CA 96022                                       Unliquidated
                                                                      Disputed
           Date or dates debt was incurred                           Basis for the claim:
                                                                     Wages
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                        No
           unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                 page 1 of 376
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 Debtor       IntegraMed America, Inc.                                                                        Case number (if known)   20-11170 (LSS)
              Name

 2.3      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Akhavan, Tara                                              Check all that apply.
          628 NE 13th Ave                                             Contingent
          Fort Lauderdale, FL 33304                                   Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.4      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Albaracin, Patricia L.                                     Check all that apply.
          404 Parkside Ave                                            Contingent
          Itasca, IL 60143                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.5      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Albaugh, Katherine J.                                      Check all that apply.
          7408 NE 120th PL                                            Contingent
          Kirkland, WA 98034                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.6      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Aldana, Ivonne                                             Check all that apply.
          31446 Carroll Ave                                           Contingent
          Hayward, CA 94544                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                            Page 2 of 376
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 Debtor       IntegraMed America, Inc.                                                                        Case number (if known)   20-11170 (LSS)
              Name

 2.7      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Aldo, David                                                Check all that apply.
          16 Turney Road                                              Contingent
          Redding, CT 06896                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.8      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Aleman, Fany                                               Check all that apply.
          261 N Country Club Blvd                                     Contingent
          Boca Raton, FL 33487                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.9      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Alexander, Suzanne M.                                      Check all that apply.
          207 Citrus Dr.                                              Contingent
          Sanford, FL 32771                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.10     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Aliabadi, Julia H.                                         Check all that apply.
          6715 9th Ave. NW                                            Contingent
          Seattle, WA 98117                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.11     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Allen, Evelyn D.                                           Check all that apply.
          3939 Woodlawn Ave N.                                        Contingent
          Seattle, WA 98103                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.12     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Allen, Kathy S.                                            Check all that apply.
          1821 Paseo Laguna Seco                                      Contingent
          Livermore, CA 94551                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.13     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Allen, Linda M                                             Check all that apply.
          11811 S. Avers                                              Contingent
          Alsip, IL 60803                                             Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.14     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Altmann, Ashley                                            Check all that apply.
          11095 Persimmon Blvd.                                       Contingent
          West Palm Beach, FL 33411                                   Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.15     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Alvarado, Jennifer R.                                      Check all that apply.
          709 Crocket Drive                                           Contingent
          Brentwood, CA 94513                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.16     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Alvarez, Bethany                                           Check all that apply.
          3139 Arroba Way                                             Contingent
          San Jose, CA 95118                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.17     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Ambrosino, Jessica E.                                      Check all that apply.
          3208 SW Trailside Path                                      Contingent
          Stuart, FL 34997                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.18     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Anabeza, Anna Maria G.                                     Check all that apply.
          1694 Bonita Ave                                             Contingent
          Mountain View, CA 94040                                     Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.19     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Anderson, Alessandra C.                                    Check all that apply.
          133 N Menlo Park Street                                     Contingent
          Mountain House, CA 95391                                    Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.20     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Anderson, Chaucey A.                                       Check all that apply.
          1654 Fernhill Dr                                            Contingent
          Johns Island, SC 29455                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.21     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Anderson, Katie K.                                         Check all that apply.
          14360 109th Ave NE                                          Contingent
          Kirkland, WA 98034                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.22     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Anderson, Linda                                            Check all that apply.
          5040 A Street                                               Contingent
          Tacoma, WA 98408                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.23     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Anderson, Stephanie                                        Check all that apply.
          9300 Trinity Rd                                             Contingent
          Charlotte, NC 28216                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.24     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Anthony, Tiffani S.                                        Check all that apply.
          242 Hastings Dr.                                            Contingent
          Goose Creek, SC 29445                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.25     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Aponte, Gloria I.                                          Check all that apply.
          1798 N. Wentworth Cr                                        Contingent
          Romeoville, IL 60446                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.26     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Arizona Department of Revenue                              Check all that apply.
                                                                      Contingent
                                                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Taxing authority
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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 2.27     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Artac, Robin A.                                            Check all that apply.
          665 Camino Del Mar                                          Contingent
          Newbury Park, CA 91320                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.28     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Ashorian, Liora                                            Check all that apply.
          6736 N. Kedvale                                             Contingent
          Lincolnwood, IL 60712                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.29     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Atassi, Dena                                               Check all that apply.
          1485 Harmon Ave.                                            Contingent
          Winter Park, FL 32789                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.30     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Attarian, Mark A.                                          Check all that apply.
          15 Johnson Road                                             Contingent
          Andover, MA 01810                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.31     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Attilus, Ellen                                             Check all that apply.
          3220 NW 84th Ave                                            Contingent
          APT B-221                                                   Unliquidated
          Fort Lauderdale, FL 33351                                   Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.32     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Aubel, Barbara                                             Check all that apply.
          30 Old Barn Road                                            Contingent
          Lake Zurich, IL 60047                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.33     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Aucoin, Bosley J.                                          Check all that apply.
          75 S. 2nd Ave.                                              Contingent
          Lombard, IL 60148                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.34     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Austin, Rachel                                             Check all that apply.
          260 NE Triplet Dr                                           Contingent
          Casselberry, FL 32707                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.35     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Ayala, Martin                                              Check all that apply.
          4350 N. Broadway St.                                        Contingent
          Apt.706                                                     Unliquidated
          Chicago, IL 60613                                           Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.36     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Azikhanova, Florida                                        Check all that apply.
          801 Oak Shadows Rd.                                         Contingent
          Kissimmee, FL 34747                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.37     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Aziz, Sima S.                                              Check all that apply.
          26661 Bridlewood Dr.                                        Contingent
          Laguna Hills, CA 92653                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.38     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Baab, Carrie E.                                            Check all that apply.
          2023 13th St.                                               Contingent
          No. 1                                                       Unliquidated
          Winthrop Harbor, IL 60096                                   Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.39     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Baca, Leticia                                              Check all that apply.
          5216 Crestfield Drive                                       Contingent
          San Ramon, CA 94582                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.40     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Backus, Debra R.                                           Check all that apply.
          1054 Anna Knapp Blvd.                                       Contingent
          Apt 14H                                                     Unliquidated
          Mount Pleasant, SC 29464                                    Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.41     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Badig, Andrea L.                                           Check all that apply.
          624 Catalonia Ave                                           Contingent
          Miami, FL 33134                                             Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.42     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Badruddin, Ambreen                                         Check all that apply.
          4167 Picardy Dr.                                            Contingent
          Northbrook, IL 60062                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.43     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Bajarunas, Kristin                                         Check all that apply.
          1636 Glenbrooke Lane                                        Contingent
          New Lenox, IL 60451                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.44     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Baker, Melinda L.                                          Check all that apply.
          13620 135th Ave NE                                          Contingent
          Kirkland, WA 98034                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.45     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Baldoni, Helen B.                                          Check all that apply.
          208 N. Fourth Street                                        Contingent
          Dundee, IL 60118                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.46     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Ball, Elizabeth                                            Check all that apply.
          758 NOrth Larrabee St.                                      Contingent
          Unit 530                                                    Unliquidated
          Chicago, IL 60654                                           Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.47     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Ball, Gene D.                                              Check all that apply.
          11812 8th Ave NW                                            Contingent
          Seattle, WA 98117                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.48     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Ballew, Marissa R.                                         Check all that apply.
          2309 NE 91st Street                                         Contingent
          Seattle, WA 98115                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.49     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Bankert, Emily C.                                          Check all that apply.
          1301 Windover Run                                           Contingent
          Hanahan, SC 29410                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.50     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Barajas, Veronica M.                                       Check all that apply.
          2624 Carson Way                                             Contingent
          Antioch, CA 94531                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.51     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Baranyi Laura C.                                           Check all that apply.
          6000 Oakwood Dr                                             Contingent
          Unit 2C                                                     Unliquidated
          Lisle, IL 60532                                             Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.52     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Barash, Oleksii                                            Check all that apply.
          105 Reflections Drive                                       Contingent
          # 27                                                        Unliquidated
          San Ramon, CA 94583                                         Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.53     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Barevadia, Khyati J.                                       Check all that apply.
          2823 Kudrow Lane                                            Contingent
          Morrisville, NC 27560                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.54     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Barnes, Dianne C.                                          Check all that apply.
          609 Tracy Lane                                              Contingent
          Gastonia, NC 28056                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.55     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Barnes, Natalie                                            Check all that apply.
          1520 Cameron Matthews Drive                                 Contingent
          #206                                                        Unliquidated
          Matthews, NC 28105                                          Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.56     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Barrett, Adam B.                                           Check all that apply.
          1330 Ardmore Dr                                             Contingent
          Cary, IL 60013                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.57     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Barrett, Antoinette M.                                     Check all that apply.
          1116 N. Hiatus Road                                         Contingent
          Hollywood, FL 33026                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.58     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Bartline, Stacey C.                                        Check all that apply.
          10108 34th Ave SW                                           Contingent
          Seattle, WA 98146                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.59     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Bartodziej, Adrianne                                       Check all that apply.
          733 Carpenter Ave.                                          Contingent
          Oak Park, IL 60304                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.60     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Bates, Geldy                                               Check all that apply.
          7645 Green Mountain Way                                     Contingent
          Winter Garden, FL 34787                                     Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.61     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Bathe, Donna                                               Check all that apply.
          11120 Suspense Drive                                        Contingent
          Winter Garden, FL 34787                                     Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.62     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Beasley, Sarah E.                                          Check all that apply.
          6502 27th Avenue NE                                         Contingent
          Seattle, WA 98115                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       IntegraMed America, Inc.                                                                        Case number (if known)   20-11170 (LSS)
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 2.63     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Beeken, Andrea M.                                          Check all that apply.
          8106A 79th Street SW                                        Contingent
          Lakewood, WA 98498                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.64     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Behnke, Margaret                                           Check all that apply.
          4941 W. Pensacola                                           Contingent
          Chicago, IL 60641                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.65     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Bendre, Seema A.                                           Check all that apply.
          1801 Tower Drive                                            Contingent
          Apt 23                                                      Unliquidated
          Glenview, IL 60026                                          Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.66     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Benjamin, Chyrl                                            Check all that apply.
          110 Remington Dr                                            Contingent
          North Charleston, SC 29418                                  Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.67     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Bennett, Veronica L.                                       Check all that apply.
          8021 Karem Ln.                                              Contingent
          Charlotte, NC 28215                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.68     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Benson, Toyla L.                                           Check all that apply.
          3354 W. Wilson Ave.                                         Contingent
          Apt GN                                                      Unliquidated
          Chicago, IL 60625                                           Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.69     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Benward, Heather M.                                        Check all that apply.
          3508 N. 7th St.                                             Contingent
          Ocean Springs, MS 39564                                     Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.70     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Berenis, Megan T.                                          Check all that apply.
          4367 Berry Oak Drive                                        Contingent
          Apopka, FL 32712                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.71     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Bernat, Katherine M.                                       Check all that apply.
          2607 Holmview St.                                           Contingent
          Waxhaw, NC 28173                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wagse
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.72     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Berquist, Rachel                                           Check all that apply.
          4022 Washington Rd                                          Contingent
          No. 112                                                     Unliquidated
          Kenosha, WI 53144                                           Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.73     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Berry, Elsa                                                Check all that apply.
          2319 E. Olive St.                                           Contingent
          Apt 2C                                                      Unliquidated
          Arlington Heights, IL 60004                                 Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.74     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Bien, Dawn                                                 Check all that apply.
          1392 Fairway Dr.                                            Contingent
          Lake Forest, IL 60045                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.75     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Bigler-Vollman, Jorene M.                                  Check all that apply.
          1771 Haverford Dr.                                          Contingent
          Algonquin, IL 60102                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.76     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Bingham, Shayna                                            Check all that apply.
          360 Mount Royall Dr                                         Contingent
          Mount Pleasant, SC 29464                                    Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.77     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Bishop, Katherine L.                                       Check all that apply.
          14040 Creek Crossing Drive                                  Contingent
          Orland Park, IL 60467                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.78     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Blackorby, Sarah E.                                        Check all that apply.
          7481 FM 1615                                                Contingent
          Athens, TX 75752                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.79     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Blakeslee, Bianca                                          Check all that apply.
          10772 Sandy Run Road                                        Contingent
          Jupiter, FL 33478                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.80     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Blanck, William                                            Check all that apply.
          172 Salmon Hallow Road                                      Contingent
          Brewster, NY 10509                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.81     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Bland, Whitney A.                                          Check all that apply.
          116 Lavender Bloom L                                        Contingent
          Mooresville, NC 28115                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.82     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Blandin, Tracy H.                                          Check all that apply.
          26 Crystal Spring Dr                                        Contingent
          Goose Creek, SC 29445                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.83     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Blanton, Terri A.                                          Check all that apply.
          507 Pate Dr.                                                Contingent
          Fort Mill, SC 29715                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.84     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Board, Debra                                               Check all that apply.
          2554 W. Wilson                                              Contingent
          Unit 1                                                      Unliquidated
          Chicago, IL 60625                                           Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.85     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Boehler, Annamaria                                         Check all that apply.
          8009 Caliber Woods Dr                                       Contingent
          Raleigh, NC 27616                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.86     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Bojan, Alexandria                                          Check all that apply.
          1419 E 62nd St.                                             Contingent
          Chicago, IL 60617                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       IntegraMed America, Inc.                                                                        Case number (if known)   20-11170 (LSS)
              Name

 2.87     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Boles, Shannon M.                                          Check all that apply.
          3349 Merion Pl                                              Contingent
          Mount Pleasant, SC 29466                                    Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.88     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Bollin, Christopher                                        Check all that apply.
          2 Deal Drive                                                Contingent
          Danbury, CT 06810                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.89     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Bonnema, Nicole A.                                         Check all that apply.
          650 Enterprise Blvd                                         Contingent
          Apt 1202                                                    Unliquidated
          Charleston, SC 29492                                        Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.90     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Booker, Brianna                                            Check all that apply.
          2314 Carmel Blvd.                                           Contingent
          Zion, IL 60099                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       IntegraMed America, Inc.                                                                        Case number (if known)   20-11170 (LSS)
              Name

 2.91     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Boone, Frankie M.                                          Check all that apply.
          3835 Guess Rd.                                              Contingent
          Apt. 733                                                    Unliquidated
          Durham, NC 27705                                            Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.92     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Boone, Sandrine Y.                                         Check all that apply.
          2897 Doe Run Trail                                          Contingent
          Orange City, FL 32763                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.93     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Booras, Ruby J.                                            Check all that apply.
          2417 19th Ave CT NW                                         Contingent
          Gig Harbor, WA 98335                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.94     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Borders, Chantal C.                                        Check all that apply.
          977 Cascades Park Trail                                     Contingent
          Deland, FL 32720                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.95     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Borgeson, Laura J.                                         Check all that apply.
          177 Grove Avenue                                            Contingent
          Unit A                                                      Unliquidated
          Des Plaines, IL 60016                                       Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.96     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Boucard-Charles, Judith                                    Check all that apply.
          1809 Florence Vista Blvd.                                   Contingent
          Orlando, FL 32818                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.97     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Boucher, Chantel                                           Check all that apply.
          2928 Rush Ave                                               Contingent
          Charlotte, NC 28208                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.98     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Boudreau Ph.D., Alison L.                                  Check all that apply.
          2432 WHITETHORNE DRIVE                                      Contingent
          San Jose, CA 95128                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       IntegraMed America, Inc.                                                                        Case number (if known)   20-11170 (LSS)
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 2.99     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Boulden, Chaquetta                                         Check all that apply.
          3291 NW 37th Street                                         Contingent
          Fort Lauderdale, FL 33309                                   Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.100    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Bowes, Christine                                           Check all that apply.
          5616 N. Wayne Avenue                                        Contingent
          Unit 3S                                                     Unliquidated
          Chicago, IL 60660                                           Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.101    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Boyd, Brenna J.                                            Check all that apply.
          12747 Ellsworth St.                                         Contingent
          Crown Point, IN 46370                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.102    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Boyd, Kathryn                                              Check all that apply.
          14341 Old Dobbin Dr                                         Contingent
          Huntersville, NC 28078                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.103    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Boyd, Sara E.                                              Check all that apply.
          805 Runaway Bay Lane                                        Contingent
          Mount Pleasant, SC 29464                                    Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.104    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Boylan, Caitlin F.                                         Check all that apply.
          7632 Silverview Lane                                        Contingent
          Raleigh, NC 27613                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.105    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Brady, Kathleen A.                                         Check all that apply.
          18 Alton Road                                               Contingent
          Prospect Heights, IL 60070                                  Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.106    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Brian, JoAnne                                              Check all that apply.
          2532 Via Espada                                             Contingent
          Pleasanton, CA 94566                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       IntegraMed America, Inc.                                                                        Case number (if known)   20-11170 (LSS)
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 2.107    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Brillhart, Sharon M.                                       Check all that apply.
          PO Box 94201                                                Contingent
          Seattle, WA 98124                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.108    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Briones, Kelly A.                                          Check all that apply.
          132 Baumgartner Pl N                                        Contingent
          Eatonville, WA 98328                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.109    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Broga, Denise                                              Check all that apply.
          3406 Browne Creek Rd                                        Contingent
          Charlotte, NC 28269                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.110    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Broglio, Kimberly L.                                       Check all that apply.
          303 Howland Avenue                                          Contingent
          Cary, NC 27513                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.111    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Brohammer, Rebecca L.                                      Check all that apply.
          4248 Bayside Drive                                          Contingent
          Hanover Park, IL 60133                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.112    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Brooks, Sharon                                             Check all that apply.
          9 Morgan Avenue                                             Contingent
          Greenwich, CT 06831                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.113    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Broughton, Kelly                                           Check all that apply.
          2320 Maritime Lane                                          Contingent
          Woodstock, IL 60098                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.114    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Brower, Kaycee L.                                          Check all that apply.
          1270 Scarlet Oak Loop                                       Contingent
          Winter Garden, FL 34787                                     Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.115    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Brown, Alexandra M.                                        Check all that apply.
          22300 Hickory Way                                           Contingent
          Brier, WA 98036                                             Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.116    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Brown, Breonna                                             Check all that apply.
          1215 Seneca St.                                             Contingent
          Apt 415                                                     Unliquidated
          Seattle, WA 98101                                           Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.117    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Brown, Jamie A.                                            Check all that apply.
          2509 S. Cherry Lane                                         Contingent
          Spokane, WA 99223                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.118    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Brown, Jennifer                                            Check all that apply.
          527 Cumnor Ct                                               Contingent
          Deerfield, IL 60015                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.119    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Brown, Stephen R.                                          Check all that apply.
          10971 Inside Loop                                           Contingent
          Orlando, FL 32825                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.120    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Brownell, Heather M.                                       Check all that apply.
          20804 4th Ave. S                                            Contingent
          Seattle, WA 98198                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.121    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Bru, Jeanne                                                Check all that apply.
          129 Riverbend Dr.                                           Contingent
          Mobile, AL 36605                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.122    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Bruce, Laura                                               Check all that apply.
          House H                                                     Contingent
          Durango, CO 80301                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       IntegraMed America, Inc.                                                                        Case number (if known)   20-11170 (LSS)
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 2.123    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Brunner, Lynette M.                                        Check all that apply.
          5622 154th Place SW                                         Contingent
          Edmonds, WA 98026                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.124    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Bryan, Maria Isabel                                        Check all that apply.
          7 Sandcrab Court                                            Contingent
          Isle of Palms, SC 29451                                     Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.125    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Bryan, Maria T.                                            Check all that apply.
          998 Golden Cane Dr.                                         Contingent
          Fort Lauderdale, FL 33327                                   Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.126    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Brzuskiewicz, Theresa                                      Check all that apply.
          8141 N. Olcott                                              Contingent
          Niles, IL 60714                                             Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.127    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Budzinski, Alaina M.                                       Check all that apply.
          7013 Seaview Terrace SW                                     Contingent
          Unit C                                                      Unliquidated
          Seattle, WA 98136                                           Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.128    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Bui, Mary T.                                               Check all that apply.
          95 Burnett Ave S.                                           Contingent
          Unit 207                                                    Unliquidated
          Renton, WA 98057                                            Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.129    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Bull, Rachel E.                                            Check all that apply.
          107 13th Ave E.                                             Contingent
          Unit A                                                      Unliquidated
          Seattle, WA 98102                                           Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.130    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Bunch, Taylor, N.                                          Check all that apply.
          2410 Albany St.                                             Contingent
          Durham, NC 27705                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.131    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Burchell, Kimberly L.                                      Check all that apply.
          18536 71st Ave NE                                           Contingent
          Kenmore, WA 98028                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.132    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Burke, Anne                                                Check all that apply.
          3345 W. Argyle St.                                          Contingent
          No. 2                                                       Unliquidated
          Chicago, IL 60625                                           Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.133    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Burton, Amy                                                Check all that apply.
          6635 Cow Hollow Dr.                                         Contingent
          Apt 2132                                                    Unliquidated
          Charlotte, NC 28226                                         Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.134    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Butler, Diane                                              Check all that apply.
          2410 Poplar St                                              Contingent
          Joliet, IL 60435                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.135    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Byars, Jaime                                               Check all that apply.
          14011 278th Place NE                                        Contingent
          Duvall, WA 98019                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.136    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Bybee, Katelyn                                             Check all that apply.
          1316 28th St. SE                                            Contingent
          Auburn, WA 98002                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.137    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Cabanilla, Daisy                                           Check all that apply.
          2958 N. Merrimac Ave.                                       Contingent
          Chicago, IL 60634                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.138    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Cabrera, Karla                                             Check all that apply.
          4940 W. Montrose                                            Contingent
          Chicago, IL 60641                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.139    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Cain, Lindsay                                              Check all that apply.
          35424 SE Venn St.                                           Contingent
          Snoqualmie, WA 98065                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.140    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Caldwell, Anna E.                                          Check all that apply.
          1701 Dexter Ave N.                                          Contingent
          Apt 225                                                     Unliquidated
          Seattle, WA 98109                                           Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.141    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Callahan, Melanie R.                                       Check all that apply.
          4205 Barberry Lane                                          Contingent
          Apt 1C                                                      Unliquidated
          Zion, IL 60099                                              Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.142    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Camp, Ryann                                                Check all that apply.
          2889 Sollie Rd                                              Contingent
          Apt 718                                                     Unliquidated
          Mobile, AL 36695                                            Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.143    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Campbell, Cheryl                                           Check all that apply.
          545 Ridgeway                                                Contingent
          White Plains, NY 10605                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.144    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Campbell, Jesibel                                          Check all that apply.
          2126 NW 18th St                                             Contingent
          Miami, FL 33125                                             Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.145    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Campss, Haymee                                             Check all that apply.
          11305 S. Avenue N                                           Contingent
          Chicago, IL 60617                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.146    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Canning, Lindsay E.                                        Check all that apply.
          612 25th Ave. East                                          Contingent
          Seattle, WA 98112                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.147    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Cannon, Carolyn                                            Check all that apply.
          1005 Point of Light Lane                                    Contingent
          Charleston, SC 29412                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.148    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Caprell, Hunter                                            Check all that apply.
          5512 Old Still Road                                         Contingent
          Wake Forest, NC 27587                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.149    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Caputo, Frank                                              Check all that apply.
          33 Cobblers Lane                                            Contingent
          Norwalk, CT 06851                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.150    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Caraballo, Ilene                                           Check all that apply.
          5752 NW 121 TERR                                            Contingent
          Pompano Beach, FL 33076                                     Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.151    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Carroll, Laura L.                                          Check all that apply.
          1278 SW High Point                                          Contingent
          Palm City, FL 34990                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.152    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Carter, Jenny                                              Check all that apply.
          2800 NW                                                     Contingent
          34th Terrace                                                Unliquidated
          Lauderdale Lakes, FL 33311                                  Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.153    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Carter, Maria                                              Check all that apply.
          3550 N. Lakeshore Dr.                                       Contingent
          Chicago, IL 60657                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.154    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Casanas, Fatima                                            Check all that apply.
          2470 W. Ave 136th                                           Contingent
          San Leandro, CA 94577                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.155    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Casey, Maureen                                             Check all that apply.
          100 Wabash Way                                              Contingent
          Apt 31                                                      Unliquidated
          Wheeling, IL 60090                                          Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.156    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Casey, Megan                                               Check all that apply.
          7429 W. Estes Ave.                                          Contingent
          Chicago, IL 60631                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.157    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Casiano, Marisol                                           Check all that apply.
          1160 NW 69th Terrace                                        Contingent
          Pompano Beach, FL 33063                                     Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.158    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Casidy, Taylor J.                                          Check all that apply.
          621 E. 2nd Ave                                              Contingent
          Post Falls, ID 83854                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.159    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Cassis, Wilfrid                                            Check all that apply.
          360 NW 189th Terrace                                        Contingent
          Miami, FL 33169                                             Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.160    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Castro Lopez, Brisa                                        Check all that apply.
          2911 Mary Ann ln Apt 225                                    Contingent
          Bay Point, CA 94565                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.161    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Castro, Yessenia J.                                        Check all that apply.
          312 NW 47th Street                                          Contingent
          Pompano Beach, FL 33064                                     Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.162    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Cavanaugh, Carolyn M.                                      Check all that apply.
          10 Madison Ave.                                             Contingent
          Apt. 302                                                    Unliquidated
          Cresskill, NJ 07626                                         Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.163    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Cedres, Michelle                                           Check all that apply.
          222 SW 1st Ave                                              Contingent
          Boynton Beach, FL 33435                                     Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.164    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Chantatte, Ashley                                          Check all that apply.
          13078 Island Breeze Ct.                                     Contingent
          Orlando, FL 32824                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.165    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Chapman, Kathryn E.                                        Check all that apply.
          24 Chase Ave.                                               Contingent
          White Plains, NY 10606                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.166    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Chappell, Nicole                                           Check all that apply.
          118 Skylar Lane                                             Contingent
          Boone, NC 28607                                             Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.167    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Charles, Jessica A.                                        Check all that apply.
          6726 Corte Santa Maria                                      Contingent
          Pleasanton, CA 94566                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.168    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Charpia, Kathleen M                                        Check all that apply.
          242 Lazy Acre Look                                          Contingent
          Summerville, SC 29483                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.169    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Chen, Xin                                                  Check all that apply.
          76 Fredrick Dr.                                             Contingent
          Monroe, NY 10950                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.170    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Cherenfant, Donald                                         Check all that apply.
          2585 NW 49th Ave.                                           Contingent
          Apt. 103                                                    Unliquidated
          Fort Lauderdale, FL 33313                                   Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.171    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Chester, Crystal                                           Check all that apply.
          4796 Sierra Lane                                            Contingent
          Pompano Beach, FL 33073                                     Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.172    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Cheung, Doris                                              Check all that apply.
          843 Santa Barbara Road                                      Contingent
          Berkeley, CA 94707                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.173    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Chisholm, Tequylia                                         Check all that apply.
          3150 Emogene St.                                            Contingent
          Mobile, AL 36606                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.174    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Chizum, Allison                                            Check all that apply.
          820 N. LaSalle Dr.                                          Contingent
          Chicago, IL 60610                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.175    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Choudhry, Ahsan                                            Check all that apply.
          0-41 Hamlin Ct                                              Contingent
          Fair Lawn, NJ 07410                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.176    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Christensen, Jennifer A.                                   Check all that apply.
          608 W. Howe Street                                          Contingent
          Seattle, WA 98119                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.177    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Christensen, Snow B.                                       Check all that apply.
          1215 Queen Anne Ave N.                                      Contingent
          Apt 5                                                       Unliquidated
          Seattle, WA 98109                                           Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.178    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Cianfrocco, Caroline                                       Check all that apply.
          6110 Reese Rd                                               Contingent
          Apt. 204                                                    Unliquidated
          Fort Lauderdale, FL 33314                                   Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.179    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Ciccarello, Cara                                           Check all that apply.
          2518 Canyon Village Circle                                  Contingent
          San Ramon, CA 94583                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.180    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Ciolkosz, Jessica                                          Check all that apply.
          466 Ventana Avenue                                          Contingent
          Tracy, CA 95376                                             Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.181    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Clark, Cecilia                                             Check all that apply.
          10411 Midway Park Drive                                     Contingent
          Unit 15006                                                  Unliquidated
          Charlotte, NC 28277                                         Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.182    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Claussen, Lyn                                              Check all that apply.
          9070 Lincoln St.                                            Contingent
          Apt 204                                                     Unliquidated
          Merrillville, IN 46410                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.183    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Clayborne, Allison                                         Check all that apply.
          1915 Hampton Forest Dr                                      Contingent
          Concord, NC 28027                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.184    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Clayton, Heather T.                                        Check all that apply.
          146 Dora Road                                               Contingent
          West Columbia, SC 29170                                     Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.185    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Clinton, Pamela                                            Check all that apply.
          2509 Blemont Lane                                           Contingent
          North Lauderdale, FL 33068                                  Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.186    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Clontz, Amy A.                                             Check all that apply.
          249 Patrick Ave SW                                          Contingent
          Concord, NC 28025                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.187    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Cloud, Tameka L.                                           Check all that apply.
          523 Coraona Drive                                           Contingent
          Orlando, FL 32828                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.188    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Cobb, Ciara                                                Check all that apply.
          724 Lafayette St. S                                         Contingent
          Tacoma, WA 98444                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.189    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Coble, Shannon R.                                          Check all that apply.
          1659 SW Crossing Cir                                        Contingent
          Palm City, FL 34990                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.190    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Cola, Helene R.                                            Check all that apply.
          8958 NW 23 Street                                           Contingent
          Pompano Beach, FL 33065                                     Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.191    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Colas, Kimberly                                            Check all that apply.
          14536 NE 1st Ave.                                           Contingent
          Miami, FL 33161                                             Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.192    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Colebourn, Laura R.                                        Check all that apply.
          1399 Carriage Drive                                         Contingent
          Walnut Creek, CA 94598                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.193    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Coleman, Ashley                                            Check all that apply.
          80 E. Margaret Ter                                          Contingent
          Cary, IL 60013                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.194    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Collins, Lauren N.                                         Check all that apply.
          832 Harbor Place                                            Contingent
          Charleston, SC 29412                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.195    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Collins, Leigh A                                           Check all that apply.
          9116 23rd Ave NE                                            Contingent
          Seattle, WA 98115                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.196    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Connerney, Meghan, K.                                      Check all that apply.
          1824 Falls River Ave                                        Contingent
          Raleigh, NC 27614                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.197    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Conrad, Jaimie M.                                          Check all that apply.
          184 Fairfax Avenue                                          Contingent
          Hawthorne, NY 10532                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.198    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Contreras, Ricardo J.                                      Check all that apply.
          2338 RIver Park Cir                                         Contingent
          No. 1834                                                    Unliquidated
          Orlando, FL 32817                                           Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.199    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Cook, Robin                                                Check all that apply.
          218 S. Blakeley St.                                         Contingent
          Monroe, WA 98272                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.200    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Cooper, Claire E.                                          Check all that apply.
          3616 Greenwood Ave N                                        Contingent
          Apt 2                                                       Unliquidated
          Seattle, WA 98103                                           Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.201    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Cooper, Kelsie M.                                          Check all that apply.
          10732 Palatine Ave N 1/2                                    Contingent
          Seattle, WA 98113                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.202    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Corbett, LaTanya R.                                        Check all that apply.
          135 S. 329th Place                                          Contingent
          Apt 34-D                                                    Unliquidated
          Federal Way, WA 98003                                       Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.203    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Corbin, Renee                                              Check all that apply.
          8740 NW 5th St                                              Contingent
          Apt 204                                                     Unliquidated
          Plantation, FL 33324                                        Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.204    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Cordero, Elizabeth                                         Check all that apply.
          7424 Covina Court                                           Contingent
          Orlando, FL 32810                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.205    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Cordero, Sharon                                            Check all that apply.
          4290 NW 168th Terr                                          Contingent
          Miami Gardens, FL 33055                                     Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.206    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Corral, Georgina M.                                        Check all that apply.
          354 Springmist Ct                                           Contingent
          Bolingbrook, IL 60440                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.207    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Corral, Omar                                               Check all that apply.
          1448 N. Harding Ave.                                        Contingent
          Chicago, IL 60651                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.208    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Cortes, Kenneth                                            Check all that apply.
          4827 N. Ashland                                             Contingent
          Chicago, IL 60640                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.209    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Cortes, Mariel G.                                          Check all that apply.
          12424 SE 202nd Pl                                           Contingent
          Kent, WA 98031                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.210    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Cortes, Stephanie                                          Check all that apply.
          9236 Fountleroy Way SW                                      Contingent
          Seattle, WA 98136                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.211    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Corum, Christina                                           Check all that apply.
          135 Plymouth Ave.                                           Contingent
          Charleston, SC 29412                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.212    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Costello, Katherine                                        Check all that apply.
          2817 NW 91st Ave                                            Contingent
          Apt 102                                                     Unliquidated
          Pompano Beach, FL 33065                                     Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.213    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Cox, Belinda G.                                            Check all that apply.
          262 Green Park Dr                                           Contingent
          Mobile, AL 36695                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.214    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Craig, Lindsay A.                                          Check all that apply.
          2069 41st Ave. East                                         Contingent
          Seattle, WA 98112                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.215    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Crain, Jack                                                Check all that apply.
          230 South Tryon Street                                      Contingent
          #307                                                        Unliquidated
          Charlotte, NC 28202                                         Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.216    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Crane, Lauren K.                                           Check all that apply.
          1018 NE Coco Court                                          Contingent
          Bremerton, WA 98311                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.217    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Crissie, Stephanie L.                                      Check all that apply.
          265 Cold Spring Road                                        Contingent
          Barrington, IL 60010                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.218    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Crocco, Lisa R.                                            Check all that apply.
          515 Lafayette Ln                                            Contingent
          Hoffman Estates, IL 60169                                   Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.219    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Crookston, Lauren E.                                       Check all that apply.
          1815 Shoremead Road                                         Contingent
          Apt 307                                                     Unliquidated
          Mount Pleasant, SC 29464                                    Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.220    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Cruz, Aliuska                                              Check all that apply.
          8980 SW 177 Ter                                             Contingent
          Miami, FL 33157                                             Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.221    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Cudnofskey, Aleina                                         Check all that apply.
          PO Box 2277                                                 Contingent
          Lynnwood, WA 98036                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.222    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Cuevas, Tiffany                                            Check all that apply.
          1444 Scarlet Oak Look                                       Contingent
          Winter Garden, FL 34787                                     Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.223    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Cure, Paula A.                                             Check all that apply.
          11600 Northwest 56th Drive #115                             Contingent
          Pompano Beach, FL 33076                                     Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.224    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Curl, Sonya C.                                             Check all that apply.
          3730 204th St SW                                            Contingent
          Apt C202                                                    Unliquidated
          Lynnwood, WA 98036                                          Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.225    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Curley, Lakeysha                                           Check all that apply.
          5732 Hammermill Dr                                          Contingent
          Harrisburg, NC 28075                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.226    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Curtinzupan, Maya                                          Check all that apply.
          9048 15th Ave. NW                                           Contingent
          Seattle, WA 98117                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.227    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Czyz, Julia                                                Check all that apply.
          1851 Hammock Moss Dr                                        Contingent
          Orlando, FL 32820                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.228    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          D'Angelo, Stephanie                                        Check all that apply.
          11 Maria Ln                                                 Contingent
          Yonkers, NY 10710                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.229    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Dalton, Sally                                              Check all that apply.
          853 Virginia Avenue                                         Contingent
          Mobile, AL 36609                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.230    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Daniel, Tayler                                             Check all that apply.
          5905 W. Corcoran Pl                                         Contingent
          Chicago, IL 60644                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.231    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Daniels, Mary O.                                           Check all that apply.
          3505 Peach Haven Ct.                                        Contingent
          Raleigh, NC 27607                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.232    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Das, Devi                                                  Check all that apply.
          8220 Ruby Valley Road                                       Contingent
          Charlotte, NC 28277                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.233    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Davey, Rose M.                                             Check all that apply.
          1409 Lake Wheeler Road                                      Contingent
          Raleigh, NC 27603                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.234    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Davidson, Marci                                            Check all that apply.
          1786 SW Cordova Stre                                        Contingent
          Port Saint Lucie, FL 34987                                  Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.235    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Davidson, Marie A.                                         Check all that apply.
          1020 Juniper Terrace                                        Contingent
          Glenview, IL 60025                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.236    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Davidson, Robyn                                            Check all that apply.
          2450 Aurora Ave N.                                          Contingent
          Seattle, WA 98109                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.237    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Davis, Carrie L.                                           Check all that apply.
          920 Oval Street                                             Contingent
          Charlotte, NC 28277                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.238    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Davis, Greg A.                                             Check all that apply.
          2149 W. Cullerton                                           Contingent
          Chicago, IL 60608                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.239    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Davis, Kandis                                              Check all that apply.
          25111 Jernigan St.                                          Contingent
          Daphne, AL 36526                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.240    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Davis, Linda M.                                            Check all that apply.
          105 Westmont Way                                            Contingent
          Tyrone, GA 30290                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.241    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Davis, Shantel                                             Check all that apply.
          7291                                                        Contingent
          Clem Drive                                                  Unliquidated
          Gurnee, IL 60031                                            Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.242    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Dawson, Jennifer L                                         Check all that apply.
          4520 S. Park Ave.                                           Contingent
          Brookfield, IL 60513                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       IntegraMed America, Inc.                                                                        Case number (if known)   20-11170 (LSS)
              Name

 2.243    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          De Asis, Cristeta U.                                       Check all that apply.
          5645 N. Kimball Ave.                                        Contingent
          Apt 2                                                       Unliquidated
          Chicago, IL 60659                                           Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.244    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          De Figueiredo, Carolina                                    Check all that apply.
          610 Gardens Dr                                              Contingent
          # 204                                                       Unliquidated
          Pompano Beach, FL 33069                                     Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.245    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          De Jesus, Mary-Anne S.                                     Check all that apply.
          255 Tuscany Pointe Ave.                                     Contingent
          Orlando, FL 32807                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.246    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          de Leon, Roderick N.                                       Check all that apply.
          2770 Alki Ave SW                                            Contingent
          Apt 402                                                     Unliquidated
          Seattle, WA 98116                                           Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       IntegraMed America, Inc.                                                                        Case number (if known)   20-11170 (LSS)
              Name

 2.247    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Dean, Melissa                                              Check all that apply.
          16043 Doolin Court                                          Contingent
          Apt 102                                                     Unliquidated
          Charlotte, NC 28273                                         Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.248    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Dean, Sarah                                                Check all that apply.
          6205 Morrison Blvd Apt 726                                  Contingent
          Charlotte, NC 28211                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.249    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Deck Morgan M.                                             Check all that apply.
          702 S. 57th St.                                             Contingent
          Tacoma, WA 98408                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.250    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          DeGeorge, Nicole                                           Check all that apply.
          14 Hobe St                                                  Contingent
          West Nyack, NY 10994                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       IntegraMed America, Inc.                                                                        Case number (if known)   20-11170 (LSS)
              Name

 2.251    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Degetos PhD, Susanne                                       Check all that apply.
          107 S. Carlen Street                                        Contingent
          Mobile, AL 36606                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.252    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Del Real, Diana A.                                         Check all that apply.
          1574 Higate Drive                                           Contingent
          San Jose, CA 95122                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.253    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Del Toro, Nancy                                            Check all that apply.
          15231 Lawndale Ave.                                         Contingent
          Midlothian, IL 60445                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.254    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Del Valle, Venus                                           Check all that apply.
          1155 N. California Ave.                                     Contingent
          Apt 209                                                     Unliquidated
          Chicago, IL 60622                                           Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       IntegraMed America, Inc.                                                                        Case number (if known)   20-11170 (LSS)
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 2.255    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Del Vecchio, Donna L.                                      Check all that apply.
          2002 Kings Way                                              Contingent
          Carmel, NY 10512                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.256    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Delgado, Caridad                                           Check all that apply.
          1890 Beachview                                              Contingent
          Hampshire, IL 60140                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.257    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Delgado, Elizabeth                                         Check all that apply.
          2444 W. Diversey                                            Contingent
          Chicago, IL 60647                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.258    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Delluso, Kristy                                            Check all that apply.
          2401 Condor Court                                           Contingent
          Raleigh, NC 27615                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       IntegraMed America, Inc.                                                                        Case number (if known)   20-11170 (LSS)
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 2.259    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Depina, Simone                                             Check all that apply.
          4200 Community Dr                                           Contingent
          Apt 2010                                                    Unliquidated
          West Palm Beach, FL 33409                                   Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.260    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Deptula, Susan R.                                          Check all that apply.
          11933 SW 11th Court                                         Contingent
          Davie, FL 33325                                             Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.261    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Diaz, Cecilia                                              Check all that apply.
          5328 W. 23rd Place                                          Contingent
          Cicero, IL 60804                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.262    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Diaz, Edessa                                               Check all that apply.
          1409 Derby Street                                           Contingent
          Berkeley, CA 94702                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.263    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Diaz, Sandra L.                                            Check all that apply.
          701 W. Navajo St.                                           Contingent
          Round Lake, IL 60073                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.264    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Dietz Jr., Francis R.                                      Check all that apply.
          202 Archilles Way                                           Contingent
          Attleboro Falls, MA 02763                                   Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.265    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          DiFronzo, Francesco                                        Check all that apply.
          3055 N. Octavia                                             Contingent
          Elmwood Park, IL 60707                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.266    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Dilone, Raquel                                             Check all that apply.
          3065 Dogwood Lane                                           Contingent
          Margate, FL 33063                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       IntegraMed America, Inc.                                                                        Case number (if known)   20-11170 (LSS)
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 2.267    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Dirkes, Melissa O.                                         Check all that apply.
          3212 Thistle Hill Dr.                                       Contingent
          Winter Park, FL 32792                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.268    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Dixon, Veronica E.                                         Check all that apply.
          18172 SW 25 St.                                             Contingent
          Miramar, FL 33029                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.269    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          DMarco, Rory                                               Check all that apply.
          21854 Beryl Drive                                           Contingent
          Palo Cedro, CA 96073                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.270    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Dock, Daquan                                               Check all that apply.
          4342 Auburn Hills Drive                                     Contingent
          Raleigh, NC 27616                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       IntegraMed America, Inc.                                                                        Case number (if known)   20-11170 (LSS)
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 2.271    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Dockery, Brandy E.                                         Check all that apply.
          7321 Pebblestone Dr.                                        Contingent
          Apt B                                                       Unliquidated
          Charlotte, NC 28212                                         Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.272    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Domingue, Amber N.                                         Check all that apply.
          1018 Steven Dr                                              Contingent
          Pittsburg, CA 94565                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.273    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Donaldson, Latoya                                          Check all that apply.
          5365 S. Juniper Street                                      Contingent
          Seattle, WA 98178                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.274    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Donnell, Rachel A.                                         Check all that apply.
          1711 East Olive Way                                         Contingent
          #311                                                        Unliquidated
          Seattle, WA 98102                                           Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.275    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Donovan, Michelle                                          Check all that apply.
          437 W. Aldine Ave.                                          Contingent
          Unit 21                                                     Unliquidated
          Chicago, IL 60657                                           Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.276    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Dorado, Martha E.                                          Check all that apply.
          117 Montana Drive                                           Contingent
          Danville, CA 94526                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.277    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Driver, Torria J.                                          Check all that apply.
          7250 N. Oakley                                              Contingent
          Chicago, IL 60645                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.278    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          DuBeau, Carey A.                                           Check all that apply.
          1674 Hickory Park Ln                                        Contingent
          Aurora, IL 60504                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.279    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Duch, Stephanie G.                                         Check all that apply.
          2104 Millwall Drive                                         Contingent
          McKinney, TX 75071                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.280    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Duenas, Lena                                               Check all that apply.
          213 Ocean Breeze Street                                     Contingent
          Lake Worth, FL 33460                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.281    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Duffie, Heidi C.                                           Check all that apply.
          6926 30th Ave                                               Contingent
          Kenosha, WI 53142                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.282    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Duke, Michelle A.                                          Check all that apply.
          2035 Nimitz Dr.                                             Contingent
          Des Plaines, IL 60018                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.283    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Dulevich, Mirlena                                          Check all that apply.
          204 Sunstone Dr.                                            Contingent
          Cary, NC 27519                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.284    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Dupuis, Rockwoman                                          Check all that apply.
          3013 Bayview Dr.                                            Contingent
          Alameda, CA 94501                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.285    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Dwyer, Sarah                                               Check all that apply.
          5 Dunwick Ct.                                               Contingent
          Barrington, IL 60010                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.286    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Dyer, McKenna C.                                           Check all that apply.
          802 Runaway Bay Lane                                        Contingent
          Unite D                                                     Unliquidated
          Mount Pleasant, SC 29464                                    Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.287    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Dziedzic, Elizabeth A.                                     Check all that apply.
          1087 Carswell Ave.                                          Contingent
          Elk Grove Village, IL 60007                                 Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.288    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Earnest, Ashley                                            Check all that apply.
          1900 Jake Street                                            Contingent
          Apt. 209                                                    Unliquidated
          Orlando, FL 32814                                           Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.289    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Eberhardt, Travis                                          Check all that apply.
          1 Landmark Drive                                            Contingent
          #166                                                        Unliquidated
          Cornwall, NY 12518                                          Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.290    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Echevarria, Aime M.                                        Check all that apply.
          4911 W Sample Rd                                            Contingent
          Apt 411                                                     Unliquidated
          Coconut Creek, FL 33073                                     Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.291    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Edwards, Tiffany                                           Check all that apply.
          555 West Cornelia Ave.                                      Contingent
          Unit 101                                                    Unliquidated
          Chicago, IL 60657                                           Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.292    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Elie, Diane                                                Check all that apply.
          8140 SW 24th Street                                         Contingent
          Apt. 110                                                    Unliquidated
          North Lauderdale, FL 33068                                  Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.293    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Elizondo, Marlen                                           Check all that apply.
          10500 Pippin St.                                            Contingent
          Oakland, CA 94603                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.294    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Eller, Laura                                               Check all that apply.
          11281 NW 1st Ct                                             Contingent
          Coral Springs, FL 33071                                     Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.295    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Ellett, Brittany L.                                        Check all that apply.
          32420 2nd Avenue                                            Contingent
          Black Diamond, WA 98010                                     Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.296    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Elnar, Evelyn                                              Check all that apply.
          2218 Golf Club Road                                         Contingent
          Pittsburg, CA 94565                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.297    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Emanuel, Alexa M.                                          Check all that apply.
          1156 Cherry St.                                             Contingent
          Winnetka, IL 60093                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.298    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Engelhart, Lauren T.                                       Check all that apply.
          979 Longtown Rd                                             Contingent
          Lugoff, SC 29078                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       IntegraMed America, Inc.                                                                        Case number (if known)   20-11170 (LSS)
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 2.299    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Erbs, Jacki                                                Check all that apply.
          4285 Sw 152nd Ave.                                          Contingent
          Miramar, FL 33027                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.300    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Erickson, Victoria R.                                      Check all that apply.
          1355 N. Mohawk St.                                          Contingent
          2N                                                          Unliquidated
          Chicago, IL 60610                                           Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.301    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Escalante, Jennifer                                        Check all that apply.
          2627 Mattison Ln.                                           Contingent
          SPC#6                                                       Unliquidated
          Santa Cruz, CA 95062                                        Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.302    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Escobar, Annette E.                                        Check all that apply.
          1369 Groton Ln                                              Contingent
          Wheaton, IL 60189                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.303    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Escobar, Wendy                                             Check all that apply.
          10801 SW 109 Ct                                             Contingent
          Apt 110D                                                    Unliquidated
          Miami, FL 33176                                             Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.304    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Estrada-Nin, Francia                                       Check all that apply.
          455 Tamarind Parke Ln                                       Contingent
          Kissimmee, FL 34758                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.305    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Estrellas, Melchor A.                                      Check all that apply.
          566 Heritage Circle                                         Contingent
          San Lorenzo, CA 94580                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.306    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Etzy, Ivana                                                Check all that apply.
          8142 South Peoria                                           Contingent
          Chicago, IL 60620                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.307    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Evans, Allison D.                                          Check all that apply.
          16122 E. Valleyway Ave                                      Contingent
          Apt B106                                                    Unliquidated
          Veradale, WA 99037                                          Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.308    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Evans, Amy                                                 Check all that apply.
          1235 Lawrence Ave.                                          Contingent
          Deltona, FL 32725                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.309    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Fagerlie, Kelley J.                                        Check all that apply.
          2608 S. 353rd Street                                        Contingent
          Federal Way, WA 98003                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.310    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Fairbanks, Danielle                                        Check all that apply.
          726 Summit Ln                                               Contingent
          Vernon Hills, IL 60061                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       IntegraMed America, Inc.                                                                        Case number (if known)   20-11170 (LSS)
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 2.311    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Fairbanks, Danielle                                        Check all that apply.
          726 Summit Ln                                               Contingent
          Vernon Hills, IL 60061                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.312    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Fairchild, Julie                                           Check all that apply.
          801 Spring Street                                           Contingent
          Apt 2-1412                                                  Unliquidated
          Seattle, WA 98104                                           Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.313    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Falcon, Barbara A.                                         Check all that apply.
          3011 Candela Grove Dr.                                      Contingent
          Charleston, SC 29414                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.314    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Farad, Nazia                                               Check all that apply.
          586 Jefferson Street                                        Contingent
          Hayward, CA 94544                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.315    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Faustino, Erika                                            Check all that apply.
          2904 Belmont Lane                                           Contingent
          Cooper City, FL 33026                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.316    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Feeley, Shannon                                            Check all that apply.
          5s564 Kirk Pl                                               Contingent
          Naperville, IL 60563                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.317    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Ferger George, Nicole J.                                   Check all that apply.
          3636 Evanston Ave N                                         Contingent
          Apt 15                                                      Unliquidated
          Seattle, WA 98103                                           Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.318    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Fette, Caitlin                                             Check all that apply.
          1415 W. Barry Ave.                                          Contingent
          Unit 2                                                      Unliquidated
          Chicago, IL 60657                                           Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.319    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Field, Susan                                               Check all that apply.
          810 Lakeview Dr                                             Contingent
          Pineville, NC 28134                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.320    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Figler, Salli E.                                           Check all that apply.
          15 The Glen                                                 Contingent
          Pleasantville, NY 10570                                     Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.321    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Figueroa, Diana                                            Check all that apply.
          16211 W. Pope Blvd.                                         Contingent
          Lincolnshire, IL 60069-9000                                 Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.322    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Figueroa, Luis A.                                          Check all that apply.
          8729 W. Summerdale Ave.                                     Contingent
          Chicago, IL 60656                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.323    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Figueroa, Madeline                                         Check all that apply.
          8729 W. Summerdale Ave.                                     Contingent
          Chicago, IL 60656                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.324    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Filipello, Alesha N.                                       Check all that apply.
          6618 Lumberjack Ln                                          Contingent
          Ocoee, FL 34761                                             Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.325    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Finch, Sarah                                               Check all that apply.
          2885 Garden Ave.                                            Contingent
          Concord, CA 94520                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.326    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Finh, Melinda L.                                           Check all that apply.
          5301 Talbot Road S                                          Contingent
          Apt AA101                                                   Unliquidated
          Renton, WA 98055                                            Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.327    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Finno, Trisha M.                                           Check all that apply.
          3207 SW Bessey Creek Trail                                  Contingent
          Palm City, FL 34990                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.328    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Fisher Stephanie L.                                        Check all that apply.
          414 NW 44th Street                                          Contingent
          Seattle, WA 98107                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.329    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Fisher, Meredith                                           Check all that apply.
          1545 Green St                                               Contingent
          Apt 104                                                     Unliquidated
          San Francisco, CA 94123                                     Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.330    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Fitzpatrick, Suzanne M.                                    Check all that apply.
          456 Dover Drive                                             Contingent
          Des Plaines, IL 60018                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.331    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Fitzsimmons, Brianna N.                                    Check all that apply.
          7152 Shinkle PL SW                                          Contingent
          Seattle, WA 98106                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.332    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Fletcher, Caroline                                         Check all that apply.
          10156 NE 113th Place                                        Contingent
          Kirkland, WA 98033                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.333    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Flores, Eunice                                             Check all that apply.
          442 Ridge Road                                              Contingent
          Wilmette, IL 60091                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.334    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Flores, Maira Y.                                           Check all that apply.
          1919 Players Place                                          Contingent
          North Lauderdale, FL 33068                                  Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.335    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Florida Department of Revenue                              Check all that apply.
                                                                      Contingent
                                                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Taxing authority
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.336    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Flosi, Mary Anne                                           Check all that apply.
          25120 Crawford Ave.                                         Contingent
          Antioch, IL 60002                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.337    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Floyd, Courtney S.                                         Check all that apply.
          4021 Babbitt St.                                            Contingent
          Charleston, SC 29414                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.338    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Foerster, Amy                                              Check all that apply.
          8403 Galena View Drive                                      Contingent
          Charlotte, NC 28269                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.339    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Ford, Katerine                                             Check all that apply.
          230 Balfour Dr                                              Contingent
          Winter Springs, FL 32708                                    Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.340    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Ford, Katesha                                              Check all that apply.
          167 Mountain Laurel Court                                   Contingent
          Romeoville, IL 60446                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.341    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Formo, Gail A.                                             Check all that apply.
          5810 N. Del Rey Drive                                       Contingent
          Otis Orchards, WA 99027                                     Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.342    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Forrest, Ashley L.                                         Check all that apply.
          5420 Earle Road                                             Contingent
          Raleigh, NC 27606                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.343    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Fortunato, Pamela S.                                       Check all that apply.
          816 Dundee Dr.                                              Contingent
          Winter Springs, FL 32708                                    Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.344    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Fouts, Kathryn K.                                          Check all that apply.
          4915 NW 116 Av.                                             Contingent
          Coral Springs, FL 33076                                     Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.345    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Frankel, Donna-Marie                                       Check all that apply.
          1417 NE 120th St.                                           Contingent
          Seattle, WA 98125                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.346    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Frappier, Jacklyn A.                                       Check all that apply.
          3041 Park West Blvd.                                        Contingent
          Mount Pleasant, SC 29466                                    Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.347    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Frazier-Williams, Dorinda                                  Check all that apply.
          836 Aspenwood Cir                                           Contingent
          Kissimmee, FL 34743                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.348    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Freeman, Robin A.                                          Check all that apply.
          9130 Solstice Circle                                        Contingent
          Parkland, FL 33076                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.349    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          French, Catherine A.                                       Check all that apply.
          2314 S. Cypress Bend Drive                                  Contingent
          Unit 213                                                    Unliquidated
          Pompano Beach, FL 33069                                     Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.350    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Friedman, Talia                                            Check all that apply.
          4798 NW 5th Ave                                             Contingent
          Boca Raton, FL 33431                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.351    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Fuchs, Melissa M.                                          Check all that apply.
          28121 136th Ave SE                                          Contingent
          Kent, WA 98042                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.352    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Fuglewicz, Agnes M.                                        Check all that apply.
          17041 Deerpath Rd.                                          Contingent
          Bensenville, IL 60106                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.353    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Funk, Colleen A.                                           Check all that apply.
          9446 Welsh Lance                                            Contingent
          Huntley, IL 60142                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.354    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Gallo, Lynnette                                            Check all that apply.
          10115 Greenwood Ave N.                                      Contingent
          Box M197                                                    Unliquidated
          Seattle, WA 98133                                           Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.355    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Gallucci, Rose                                             Check all that apply.
          4552 N. Maria Ct                                            Contingent
          Apt. 2                                                      Unliquidated
          Chicago, IL 60656                                           Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.356    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Gangrade, Bhushan K.                                       Check all that apply.
          536 Serenity Place                                          Contingent
          Lake Mary, FL 32746                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.357    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Gao, Xinxing                                               Check all that apply.
          885 NW 7th St                                               Contingent
          Boca Raton, FL 33486                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.358    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Garcia, Estela                                             Check all that apply.
          2534 S. 59th Ave.                                           Contingent
          Cicero, IL 60804                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.359    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Garcia, Liselle                                            Check all that apply.
          5000 W. Fitch                                               Contingent
          Skokie, IL 60077                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.360    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Garcia, Selena                                             Check all that apply.
          2534 S. 59th Ave.                                           Contingent
          Cicero, IL 60804                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.361    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Garcia, Yamilka                                            Check all that apply.
          2121 Village Lake Dr                                        Contingent
          Apt 221                                                     Unliquidated
          Charlotte, NC 28212                                         Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.362    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Garcia, Yasmin                                             Check all that apply.
          2534 S. 59th Ave.                                           Contingent
          Cicero, IL 60804                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.363    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Garland, Denise                                            Check all that apply.
          1732 143rd Ave                                              Contingent
          San Leandro, CA 94578                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.364    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Garofolo, Amber N.                                         Check all that apply.
          2114 SW 72nd Ave                                            Contingent
          Davie, FL 33317                                             Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.365    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Garton, Rachael                                            Check all that apply.
          4216 Arbor Gates Dr. NE                                     Contingent
          Atlanta, GA 30324                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.366    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Gary, Whitney H.                                           Check all that apply.
          109 Indigo March Cir                                        Contingent
          Charleston, SC 29492                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.367    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Gatgounis, Kristen B.                                      Check all that apply.
          PO Box 1365                                                 Contingent
          Folly Beach, SC 29439                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.368    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Gebhardt, Donna C                                          Check all that apply.
          6215 Stonecastle Lane                                       Contingent
          Crystal Lake, IL 60014                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.369    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Gecaite, Gabriele                                          Check all that apply.
          15505 Twin Lakes Drive                                      Contingent
          Homer Glen, IL 60491                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.370    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Gee, Jennifer                                              Check all that apply.
          3581 Rosincress Drive                                       Contingent
          San Ramon, CA 94583                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.371    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Gellond, Maren D.                                          Check all that apply.
          704 Allentree Ln                                            Contingent
          Deerfield, IL 60015                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.372    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Gentile, Sarah                                             Check all that apply.
          801 Thistledown Dr                                          Contingent
          Rock Hill, SC 29730                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.373    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Gernady, Peggy H.                                          Check all that apply.
          6642 N. Keota                                               Contingent
          Chicago, IL 60646                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.374    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Gesbocker, Karen                                           Check all that apply.
          1512 Kettleson Dr.                                          Contingent
          Minooka, IL 60447                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.375    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Ghaemialehashemi,                                          Check all that apply.
          Seyedrocknaldin                                             Contingent
          34 Tower Ln                                                 Unliquidated
          Shelton, CT 06484                                           Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.376    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Gil, Gizelle                                               Check all that apply.
          15801 NW 15th Court                                         Contingent
          Pembroke Pines, FL 33028                                    Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.377    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Gil, Rainier A.                                            Check all that apply.
          6500 Singletary Church Road                                 Contingent
          Lumberton, NC 28358                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.378    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Gilbert, Shelbi L.                                         Check all that apply.
          6024 Sunberry Circle                                        Contingent
          Boynton Beach, FL 33437                                     Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       IntegraMed America, Inc.                                                                        Case number (if known)   20-11170 (LSS)
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 2.379    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Gildersleeve, Emily                                        Check all that apply.
          53 Rock Maple Road                                          Contingent
          Greenwich, CT 06830                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.380    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Giorno, Carrie                                             Check all that apply.
          55 Myrtle Ave                                               Contingent
          Mahopac, NY 10541                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.381    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Giovanni8228 Agatiteelli, Robin E.                         Check all that apply.
                                                                      Contingent
          Harwood Heights, IL 60706                                   Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.382    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Glatzl, David                                              Check all that apply.
          156 Bennett Avenue                                          Contingent
          Yonkers, NY 10701                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.383    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Glick, Sarah                                               Check all that apply.
          1009 NW 83rd Drive                                          Contingent
          Coral Springs, FL 33071                                     Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.384    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Gluskin, Tatyana                                           Check all that apply.
          3001 S Ocean Dr                                             Contingent
          Apt 1003                                                    Unliquidated
          Hollywood, FL 33019                                         Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.385    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Gokhman, Melissa                                           Check all that apply.
          628 Sycamore Road                                           Contingent
          Buffalo Grove, IL 60089                                     Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.386    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Gomez, Anyismel                                            Check all that apply.
          6340 SW 3rd St                                              Contingent
          Margate, FL 33068                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.387    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Gomez, Lorena                                              Check all that apply.
          4943 Eureka Mine Ct.                                        Contingent
          Antioch, CA 94531                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.388    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Gonzales, Alannah C.                                       Check all that apply.
          1060 Continentals Way                                       Contingent
          Apt 415                                                     Unliquidated
          Belmont, CA 94002                                           Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.389    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Gonzalez, Norma J.                                         Check all that apply.
          6105 County Road 547 North                                  Contingent
          Davenport, FL 33837                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.390    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Gooding, Selena S.                                         Check all that apply.
          2734 Commonwealth Av                                        Contingent
          Apt #3                                                      Unliquidated
          Charlotte, NC 28205                                         Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.391    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Goorbarry, Jennifer                                        Check all that apply.
          6031 Serene Run                                             Contingent
          Lake Worth, FL 33467                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.392    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Gordon, Barbara                                            Check all that apply.
          2646 Emma Drive                                             Contingent
          Pinole, CA 94564                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.393    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Gordon, Lillian E.                                         Check all that apply.
          93 Reservoir Road                                           Contingent
          Los Gatos, CA 95030                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.394    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Grady, Annette R.                                          Check all that apply.
          809 Pinemont                                                Contingent
          Mobile, AL 36609                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.395    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Grass, Leila R.                                            Check all that apply.
          248 Thatch Palm Drive                                       Contingent
          Boca Raton, FL 33432                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.396    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Grasyuk, Marina                                            Check all that apply.
          519 Ridgewood Lane                                          Contingent
          Buffalo Grove, IL 60089                                     Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.397    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Gray, Jeffrey                                              Check all that apply.
          369 Turnstone Dr.                                           Contingent
          Mount Pleasant, SC 29464                                    Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.398    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Graziani, Isabella V.                                      Check all that apply.
          14512 147th Ave E.                                          Contingent
          Orting, WA 98360                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       IntegraMed America, Inc.                                                                        Case number (if known)   20-11170 (LSS)
              Name

 2.399    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Green, Breanna R.                                          Check all that apply.
          8212 20th Ave E.                                            Contingent
          Tacoma, WA 98404                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.400    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Gregory, Monique                                           Check all that apply.
          6 Panoramic Drive                                           Contingent
          Valley Cottage, NY 10989                                    Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.401    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Gregory, Patricia                                          Check all that apply.
          1316 South Beach Cir                                        Contingent
          Kissimmee, FL 34746                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.402    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Grey, Stephanie                                            Check all that apply.
          7620 Dovecote Drive                                         Contingent
          Orlando, FL 32810                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       IntegraMed America, Inc.                                                                        Case number (if known)   20-11170 (LSS)
              Name

 2.403    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Groh, Christenia                                           Check all that apply.
          3120 SW Captiva Ct                                          Contingent
          Palm City, FL 34990                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.404    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Gryniv, Paula M.                                           Check all that apply.
          267 Earlington Ave SW                                       Contingent
          Renton, WA 98057                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.405    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Guadagno, Laura                                            Check all that apply.
          1205 Chimney Hill Dr.                                       Contingent
          Apex, NC 27502                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.406    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Guevara Perez, Nadia Z.                                    Check all that apply.
          14048 144th Ave. SE                                         Contingent
          Renton, WA 98059                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.407    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Gushchina, Natalia                                         Check all that apply.
          184 Tyler Ct.                                               Contingent
          Lake Zurich, IL 60047                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.408    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Guthrie, Marcie E.                                         Check all that apply.
          7332 Jones Ave NW                                           Contingent
          Seattle, WA 98117                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.409    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Gutic, Andrea                                              Check all that apply.
          3806 San Simeon Circle                                      Contingent
          Weston, FL 33331                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.410    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Gutierrez, Christina M.                                    Check all that apply.
          7448 W. Winnemac Ave.                                       Contingent
          Harwood Heights, IL 60706                                   Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       IntegraMed America, Inc.                                                                        Case number (if known)   20-11170 (LSS)
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 2.411    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Gutnik, Ania                                               Check all that apply.
          942 Boxwood Dr                                              Contingent
          Unit B                                                      Unliquidated
          Mount Prospect, IL 60056                                    Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.412    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Gutow, Jessica                                             Check all that apply.
          7526 N.Olcott Ave.                                          Contingent
          Chicago, IL 60631                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.413    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Guyon, Suzanne G.                                          Check all that apply.
          1725 Clovis Ave.                                            Contingent
          San Jose, CA 95124                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.414    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Haile, Elsabet H.                                          Check all that apply.
          6303 220th PL SW                                            Contingent
          Mountlake Terrace, WA 98043                                 Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       IntegraMed America, Inc.                                                                        Case number (if known)   20-11170 (LSS)
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 2.415    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Hakimi, Marni                                              Check all that apply.
          2775 Grace Road                                             Contingent
          Northbrook, IL 60062                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.416    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Halberg, Stephanie                                         Check all that apply.
          949 W. Madison St.                                          Contingent
          Apt 604                                                     Unliquidated
          Chicago, IL 60607                                           Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.417    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Hall, Andrea W.                                            Check all that apply.
          709 Fox Pond Drive                                          Contingent
          Mount Pleasant, SC 29464                                    Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.418    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Hall, Brittney                                             Check all that apply.
          3883 NW 163rd Street                                        Contingent
          Miami Gardens, FL 33054                                     Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       IntegraMed America, Inc.                                                                        Case number (if known)   20-11170 (LSS)
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 2.419    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Hall, Elizabeth F.                                         Check all that apply.
          5015 2nd St                                                 Contingent
          Rocklin, CA 95677                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.420    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Hall, Eylin S.                                             Check all that apply.
          17411 SW 12th St.                                           Contingent
          Pembroke Pines, FL 33029                                    Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.421    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Hall, Kimberly                                             Check all that apply.
          353 Solano Ave.                                             Contingent
          Hayward, CA 94541                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.422    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Hall, Linnea E.                                            Check all that apply.
          4992 32nd Street NE                                         Contingent
          Tacoma, WA 98422                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       IntegraMed America, Inc.                                                                        Case number (if known)   20-11170 (LSS)
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 2.423    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Hallas, Grace E.                                           Check all that apply.
          15401 70th Ave SE                                           Contingent
          Snohomish, WA 98296                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.424    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Halverson, Reebecca L.                                     Check all that apply.
          4607 NE 97th Street                                         Contingent
          Seattle, WA 98115                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.425    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Hamilton, Dionne M.                                        Check all that apply.
          1791 Halfmoon St. NW                                        Contingent
          Palm Bay, FL 32907                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.426    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Hammett, Beth E.                                           Check all that apply.
          17112 Courtside Landing Dr                                  Contingent
          Cornelius, NC 28031                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       IntegraMed America, Inc.                                                                        Case number (if known)   20-11170 (LSS)
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 2.427    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Hampton, Kenya L.                                          Check all that apply.
          7018 South 12th Street                                      Contingent
          Apt. 2808                                                   Unliquidated
          Tacoma, WA 98465                                            Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.428    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Hanna, Rita                                                Check all that apply.
          926 Keystone Ave.                                           Contingent
          Northbrook, IL 60062                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.429    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Hanna, Sara N.                                             Check all that apply.
          926 Keystone Ave.                                           Contingent
          Northbrook, IL 60062                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.430    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Harkins, Caroline D.                                       Check all that apply.
          9444 SE 52nd Street                                         Contingent
          Mercer Island, WA 98040                                     Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.431    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Harmon, Chimere                                            Check all that apply.
          8339 S. Hermitage Ave.                                      Contingent
          Chicago, IL 60620                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.432    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Harmon, Chimere                                            Check all that apply.
          8339 S. Hermitage                                           Contingent
          Chicago, IL 60620                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.433    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Harrell, Stephanie H.                                      Check all that apply.
          6177 Waters Edge Dr                                         Contingent
          Midland, NC 28107                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.434    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Hart, Jennifer L.                                          Check all that apply.
          1630 228th St. SE                                           Contingent
          Apartment A-1                                               Unliquidated
          Bothell, WA 98021                                           Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       IntegraMed America, Inc.                                                                        Case number (if known)   20-11170 (LSS)
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 2.435    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Harvey, Markayla                                           Check all that apply.
          9031 S. Hosmer St TH16                                      Contingent
          Tacoma, WA 98444                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.436    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Hatchell, Dawn A.                                          Check all that apply.
          470 Sanders Farm Ln                                         Contingent
          Charleston, SC 29492                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.437    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Hatheway, Susan A.                                         Check all that apply.
          162 La Questa Dr.                                           Contingent
          Danville, CA 94526                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.438    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Hathron, Carla M.                                          Check all that apply.
          6449 Overlook Road                                          Contingent
          Mobile, AL 36618                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.439    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Hayes, Shelpa S.                                           Check all that apply.
          2175 Schillinger Rd. S.                                     Contingent
          Apt. 1                                                      Unliquidated
          Mobile, AL 36695                                            Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.440    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Heard, Kacey                                               Check all that apply.
          4870 Moorpark Ave                                           Contingent
          San Jose, CA 95129                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.441    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Heavey, Christi M.                                         Check all that apply.
          4063 West Lakeshore Drive                                   Contingent
          San Ramon, CA 94582                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.442    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Heffernan, Cristy, L                                       Check all that apply.
          62 Sylvan Rd.                                               Contingent
          Port Chester, NY 10573                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.443    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Heidl, Nichole M.                                          Check all that apply.
          1064 W 109th Street                                         Contingent
          Chicago, IL 60643                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.444    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Heinrichs, Christopher J.                                  Check all that apply.
          2045 Fostoria Cir                                           Contingent
          Danville, CA 94526                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.445    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Henderson, Clara                                           Check all that apply.
          404 N Laurel Ave                                            Contingent
          Apt 13                                                      Unliquidated
          Charlotte, NC 28204                                         Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.446    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Henderson, Shawna                                          Check all that apply.
          5723 80th Street NE                                         Contingent
          Marysville, WA 98270                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.447    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Hennessy, Molly J.                                         Check all that apply.
          115 W. Olympic PL                                           Contingent
          Apt D10                                                     Unliquidated
          Seattle, WA 98119                                           Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.448    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Heredia Morales, Leslie V.                                 Check all that apply.
          13421 NE 133rd St #17C                                      Contingent
          Kirkland, WA 98034                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.449    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Hernandez, Kesia J.                                        Check all that apply.
          3022 Lynde Street                                           Contingent
          Oakland, CA 94601                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.450    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Hernandez, Maria L.                                        Check all that apply.
          1050 NW 68TH TER                                            Contingent
          Margate, FL 33063                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.451    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Hernandez, Miriam                                          Check all that apply.
          7371 SW 1st Street                                          Contingent
          Margate, FL 33068                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.452    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Hernandez, Stephany A.                                     Check all that apply.
          25452 SW 129 Ct                                             Contingent
          Homestead, FL 33032                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.453    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Herrman, Jenna M.                                          Check all that apply.
          18010 128th Place SE                                        Contingent
          Snohomish, WA 98290                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.454    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Herrmann, Rachel S.                                        Check all that apply.
          8522 Mary Ave NW                                            Contingent
          Seattle, WA 98117                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.455    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Herrmes, Paige M.                                          Check all that apply.
          2441 76th Ave SE                                            Contingent
          Apt. 424                                                    Unliquidated
          Mercer Island, WA 98040                                     Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.456    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Herron, Michele                                            Check all that apply.
          3681 Mallard Court                                          Contingent
          Antioch, CA 94509                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.457    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Herron, Michele                                            Check all that apply.
          3681 Mallard Court                                          Contingent
           ME 04509                                                   Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.458    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Hertzer, Janet M.                                          Check all that apply.
          345 Montecillo Drive                                        Contingent
          Walnut Creek, CA 94595                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.459    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Hertzer, Janet M.                                          Check all that apply.
          345 Montecillo Drive                                        Contingent
          Walnut Creek, CA 94595                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.460    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Hesser, Lori A.                                            Check all that apply.
          2942 Peachtree Cir                                          Contingent
          Summit Argo, IL 60501                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.461    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Hewitt, Whitney                                            Check all that apply.
          2614 Peebles Lane                                           Contingent
          Charlotte, NC 28278                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.462    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Heymers, Lisa S.                                           Check all that apply.
          8150 West McNab Rd                                          Contingent
          Unit 123                                                    Unliquidated
          Tamarac, FL 33321                                           Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.463    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Hibray, Christopher W.                                     Check all that apply.
          11048 35th Ave NE                                           Contingent
          Seattle, WA 98125                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.464    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Hickman, David                                             Check all that apply.
          1212 Chimne Top Drive E                                     Contingent
          Mobile, AL 36695                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.465    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Hilaire, Lovely                                            Check all that apply.
          20 Heather Cove Dr                                          Contingent
          Boynton Beach, FL 33436                                     Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.466    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Hines, Beth M.                                             Check all that apply.
          431 NW 100th PL                                             Contingent
          Apt. 308                                                    Unliquidated
          Seattle, WA 98177                                           Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.467    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Hodes, Megan A.                                            Check all that apply.
          15303 84 Ave North                                          Contingent
          Palm Beach Gardens, FL 33418                                Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.468    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Hoenig, Lauren E.                                          Check all that apply.
          3401 25th Ave W                                             Contingent
          Apt G320                                                    Unliquidated
          Seattle, WA 98199                                           Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.469    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Holcomb, Krystle M.                                        Check all that apply.
          17228 428th Place SE                                        Contingent
          North Bend, WA 98045                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.470    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Holder, Elizabeth P.                                       Check all that apply.
          140 Augusta Court                                           Contingent
          Greenville, SC 29605                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.471    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Holloway, Amanda N.                                        Check all that apply.
          7 Clark Place                                               Contingent
          Tacoma, WA 98409                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.472    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Holt, Taylor L.                                            Check all that apply.
          905 Kenilworth Ave                                          Contingent
          Charlotte, NC 28204                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.473    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Holtzman, Andrea                                           Check all that apply.
          4843 S. Classical Bl                                        Contingent
          Trace Circle                                                Unliquidated
          Delray Beach, FL 33445                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.474    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Hooey, Diane S.                                            Check all that apply.
          6406 Breckenridge Dr.                                       Contingent
          Plainfield, IL 60586                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.475    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Hook, Leslie B.                                            Check all that apply.
          2008 Warm Springs Road                                      Contingent
          PO Box 6146                                                 Unliquidated
          Ketchum, ID 83340                                           Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.476    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Hornby, Erica                                              Check all that apply.
          7814 E. Woodview Drive                                      Contingent
          Spokane, WA 99212                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.477    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Hornig, Krista                                             Check all that apply.
          350 Kelsey Blvd                                             Contingent
          Charleston, SC 29492                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.478    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Houston, DevRonne M.                                       Check all that apply.
          7046 MacArthur Blvd                                         Contingent
          Oakland, CA 94605                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.479    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Houston, DevRonne M.                                       Check all that apply.
          7046 MacArthur Blvd                                         Contingent
          Oakland, CA 94605                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.480    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Hovda, Cristina                                            Check all that apply.
          6620 77th Ave CT NW                                         Contingent
          Gig Harbor, WA 98335                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.481    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Howard, Theresa G.                                         Check all that apply.
          29781 SW ALLEN STREET                                       Contingent
          Okeechobee, FL 34974                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.482    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Howard-Campbell, Kendyl                                    Check all that apply.
          560 Chula Woods. Ct                                         Contingent
          Oviedo, FL 32766                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.483    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Huang, Hui                                                 Check all that apply.
          4625 229th Pl SE                                            Contingent
          Sammamish, WA 98075                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.484    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Hubregsen, Meg S.                                          Check all that apply.
          1126 Rock Haven Drive                                       Contingent
          Charlotte, NC 28216                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.485    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Huddleston, Kaitlyn                                        Check all that apply.
          529 W. 3rd Street                                           Contingent
          Newport, WA 99156                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.486    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Huelar, Matthew                                            Check all that apply.
          5300 Ironhorse Pkwy                                         Contingent
          #535                                                        Unliquidated
          Dublin, CA 94568                                            Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.487    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Huen, Nancy                                                Check all that apply.
          128 Alta Vista Way                                          Contingent
          Danville, CA 94506                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.488    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Huff, Arelia                                               Check all that apply.
          122 N Leamington Ave                                        Contingent
          Chicago, IL 60644                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.489    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Hughes, Lynne L.                                           Check all that apply.
          8914 Riverfront Terrace                                     Contingent
          Jupiter, FL 33469                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.490    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Hume, Christie L.                                          Check all that apply.
          4430 S. Mitchel Lane                                        Contingent
          Spokane, WA 99223                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.491    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Hummell, Wendy M.                                          Check all that apply.
          125 Longfield Dr                                            Contingent
          Mooresville, NC 28115                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.492    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Hung, Sandra                                               Check all that apply.
          2451 Thorndyke Ave W                                        Contingent
          Apt 2                                                       Unliquidated
          Seattle, WA 98199                                           Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.493    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Hunter, Diane P.                                           Check all that apply.
          930 Marshall Drive                                          Contingent
          Concord, NC 28027                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.494    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Hunter, Julia D.                                           Check all that apply.
          141 Embarcadero W                                           Contingent
          Apt 4119                                                    Unliquidated
          Oakland, CA 94607                                           Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.495    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Hurst, Ashley                                              Check all that apply.
          10302 NW 80th Dr.                                           Contingent
          Fort Lauderdale, FL 33321                                   Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.496    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Hurt, Albert                                               Check all that apply.
          2959 W 38th Place                                           Contingent
          Chicago, IL 60632                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.497    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Hutto, Cherub M.                                           Check all that apply.
          25 Blue Heron Land                                          Contingent
          Prosperity, SC 29127                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.498    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Ibarra, Sarah                                              Check all that apply.
          20406 Litte Bear Creek Rd.                                  Contingent
          Apt. 150                                                    Unliquidated
          Woodinville, WA 98072                                       Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.499    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Ibarra, Veronica J.                                        Check all that apply.
          11206 NE 68th St.                                           Contingent
          Apt 218                                                     Unliquidated
          Kirkland, WA 98033                                          Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.500    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Inake, Magan A.                                            Check all that apply.
          414 NE Ravenna Blvd                                         Contingent
          Apt. 209                                                    Unliquidated
          Seattle, WA 98115                                           Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.501    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Ingraffia, Anthony A.                                      Check all that apply.
          1525 Dennison Road                                          Contingent
          Hoffman Estates, IL 60169                                   Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.502    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Iniguez, Leticia                                           Check all that apply.
          40 Sandalwood Court                                         Contingent
          Pittsburg, CA 94565                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.503    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Internal Revenue Service                                   Check all that apply.
                                                                      Contingent
                                                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Taxing authority
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.504    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Ioannou, Dimitrios                                         Check all that apply.
           900 Biscayne Blvd                                          Contingent
          #2204                                                       Unliquidated
          Miami, FL 33132                                             Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.505    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Ivani, Kristen A.                                          Check all that apply.
          501 Live Oak Drive                                          Contingent
          Danville, CA 94506                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.506    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Jackson, Jasmine                                           Check all that apply.
          4958 Fair Oaks Drive                                        Contingent
          Country Club Hills, IL 60478                                Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.507    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Jackson, Tesara                                            Check all that apply.
          957 N Powerline Rd                                          Contingent
          Pompano Beach, FL 33069                                     Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.508    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Jaggernauth, Vashti                                        Check all that apply.
          3210 Lake Twylo Rd.                                         Contingent
          Orlando, FL 32817                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.509    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Jaggernauth, Vishwani                                      Check all that apply.
          2391 Pemberton Street                                       Contingent
          Oviedo, FL 32765                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.510    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Jajeh, Hanan                                               Check all that apply.
          1930 Jameson Court                                          Contingent
          Concord, CA 94521                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.511    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Jakubowski, Shannon M.                                     Check all that apply.
          6210 1st Avenue NW                                          Contingent
          Seattle, WA 98107                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.512    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Janzen, Cecily K.                                          Check all that apply.
          5740 SW Admiral Way                                         Contingent
          Seattle, WA 98116                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.513    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Jaranilla, Joanna                                          Check all that apply.
          2145 W. Concord Lane                                        Contingent
          Addison, IL 60101                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.514    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Jasulaitis, Laura S.                                       Check all that apply.
          17 W 464 Sutton Place                                       Contingent
          Darien, IL 60561                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.515    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Jasulakiit, Lauren R.                                      Check all that apply.
          512 Redondo Dr                                              Contingent
          Unit 501                                                    Unliquidated
          Downers Grove, IL 60516                                     Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.516    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Jenkins, Amy                                               Check all that apply.
          1722 Ducker Court                                           Contingent
          Concord, CA 94519                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.517    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Jenkins, Antigone T.                                       Check all that apply.
          3280 Soho St.                                               Contingent
          Unite 108                                                   Unliquidated
          Orlando, FL 32835                                           Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.518    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Jernstrom, Amanda L.                                       Check all that apply.
          555 Canyon Woods Cir #248                                   Contingent
          San Ramon, CA 94582                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.519    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Jeung, Thomas                                              Check all that apply.
          15306 Farnsworth St                                         Contingent
          San Leandro, CA 94579                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.520    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Jewell, Suzanne L.                                         Check all that apply.
          1142 W. 50 Pl.                                              Contingent
          Hialeah, FL 33012                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.521    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Jimenez, Brittany N.                                       Check all that apply.
          1614 NE 9th St                                              Contingent
          Fort Lauderdale, FL 33304                                   Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.522    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Johnson, , Keith R.                                        Check all that apply.
          3124 Newport Ln                                             Contingent
          Wadsworth, IL 60083                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.523    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Johnson, Bethany L.                                        Check all that apply.
          2550 Thorydyke Ave W                                        Contingent
          #302                                                        Unliquidated
          Seattle, WA 98199                                           Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.524    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Johnson, Destiny J.                                        Check all that apply.
          6104 N. A Street                                            Contingent
          Spokane, WA 99205                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.525    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Johnstone, Shannon                                         Check all that apply.
          15600 Winchester Blvd.                                      Contingent
          Los Gatos, CA 95030                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.526    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Jones Sherita                                              Check all that apply.
          3040 Foxhill Circle                                         Contingent
          No. 206                                                     Unliquidated
          Apopka, FL 32703                                            Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.527    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Jones, Lashica R.                                          Check all that apply.
          1183 Old Apopka Rd.                                         Contingent
          Apopka, FL 32703                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.528    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Jones, Melede D.                                           Check all that apply.
          6457 Catalina Lane                                          Contingent
          Tamarac, FL 33321                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.529    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Jones, Susan D.                                            Check all that apply.
          6651 NW 23 Street                                           Contingent
          Margate, FL 33063                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.530    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Jones, Tilda A.                                            Check all that apply.
          2064 Pin Oak Place                                          Contingent
          Cramerton, NC 28032                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.531    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Jones, Virginia M.                                         Check all that apply.
          6845 Bianchini Circl                                        Contingent
          Boca Raton, FL 33433                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.532    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Jones, Yolanda                                             Check all that apply.
          290 Collins Ave                                             Contingent
          #5A                                                         Unliquidated
          Mount Vernon, NY 10552                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.533    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Josephs, Sheldon B.                                        Check all that apply.
          2280 Flagstone Way                                          Contingent
          Concord, CA 94521                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.534    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Jost, Mary                                                 Check all that apply.
          3612 Lakewood Dr.                                           Contingent
          Crystal Lake, IL 60012                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.535    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Joubert, Rebecca L.                                        Check all that apply.
          5657 Oakwood Cir                                            Contingent
          Lake Zurich, IL 60047                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.536    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Jovin, Ruth                                                Check all that apply.
          6248 Duval Drive                                            Contingent
          Margate, FL 33063                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.537    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Joyner, Colleen A.                                         Check all that apply.
          9561 Spanish Moss Rd West                                   Contingent
          Lake Worth, FL 33467                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.538    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Judge, Anne L.                                             Check all that apply.
          2398 140th Way SE                                           Contingent
          Bellevue, WA 98007                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.539    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Julmisse, Ricarda                                          Check all that apply.
          15240 SW 46th Court                                         Contingent
          Miramar, FL 33027                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.540    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Kalimulhu, Kristin L.                                      Check all that apply.
          100 E. 14th Street                                          Contingent
          Apt 2210                                                    Unliquidated
          New Britain, CT 06050                                       Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.541    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Kallas, Courtney E.                                        Check all that apply.
          12033 28th Ave NE                                           Contingent
          Unit C                                                      Unliquidated
          Seattle, WA 98125                                           Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.542    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Kanaan, Kiran A.                                           Check all that apply.
          2805 Hawtree Drive                                          Contingent
          Raleigh, NC 27613                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.543    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Kane, Lisa S.                                              Check all that apply.
          7518 Shady Lane                                             Contingent
          Charlotte, NC 28215                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.544    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Kase, Julia                                                Check all that apply.
          2134 N. 113th St B                                          Contingent
          Seattle, WA 98133                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.545    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Kashin, Christiana                                         Check all that apply.
          3110 Fairfield Way                                          Contingent
          Montgomery, IL 60538                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.546    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Kaskintepe, Levent                                         Check all that apply.
          2213 Brachetta Dr.                                          Contingent
          Las Vegas, NV 89134                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.547    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Kaur, Salvinder                                            Check all that apply.
          866 Catherine Ct                                            Contingent
          Grayslake, IL 60030                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.548    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Kaye, Ilene M.                                             Check all that apply.
          12261 Old Country Rd                                        Contingent
          Wellington, FL 33414                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.549    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Keafer, Lisa M.                                            Check all that apply.
          2047 Concord Dr.                                            Contingent
          McHenry, IL 60050                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.550    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Keller, Rebecca R.                                         Check all that apply.
          624 Yale Ave N                                              Contingent
          Apt 216                                                     Unliquidated
          Seattle, WA 98109                                           Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.551    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Kelly, Kathleen M.                                         Check all that apply.
          61 Midwood Avenue                                           Contingent
          Nesconset, NY 11767                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.552    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Kelly, Rose M.                                             Check all that apply.
          33 Maple Hill Road                                          Contingent
          Valhalla, NY 10595                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.553    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Kendall, Natalie                                           Check all that apply.
          4923 155th Pl SW                                            Contingent
          Edmonds, WA 98026                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.554    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Kenny, Monica M.                                           Check all that apply.
          8125 28th Ave SW                                            Contingent
          Seattle, WA 98126                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       IntegraMed America, Inc.                                                                        Case number (if known)   20-11170 (LSS)
              Name

 2.555    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Kerby, Stephanie                                           Check all that apply.
          6824 N. 15th Street                                         Contingent
          Dalton Gardens, ID 83815                                    Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.556    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Keskintepe, Levent                                         Check all that apply.
          2213 Brachetta Dr.                                          Contingent
          Las Vegas, NV 89134                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.557    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Khazanov, Nataly A.                                        Check all that apply.
          1337 Highpoint Lane                                         Contingent
          Northbrook, IL 60062                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.558    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Kiddie, Amber K                                            Check all that apply.
          630 Tallgrass Lane                                          Contingent
          Lake Villa, IL 60046                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       IntegraMed America, Inc.                                                                        Case number (if known)   20-11170 (LSS)
              Name

 2.559    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          King, Benjamin                                             Check all that apply.
          223 Milton St.                                              Contingent
          Bellingham, WA 98229                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.560    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Kinloch, N'Dra                                             Check all that apply.
          899 N. Orange Ave.                                          Contingent
          Apt. 616                                                    Unliquidated
          Orlando, FL 32801                                           Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.561    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Kirk, Emmy A.                                              Check all that apply.
          1216 NE Ravenna Blvd                                        Contingent
          Seattle, WA 98105                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.562    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Kirkland, Cassidy A.                                       Check all that apply.
          721 17th Avenue                                             Contingent
          #302                                                        Unliquidated
          Seattle, WA 98122                                           Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       IntegraMed America, Inc.                                                                        Case number (if known)   20-11170 (LSS)
              Name

 2.563    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Kisler, Katherine E.                                       Check all that apply.
          1401 220th St. SW                                           Contingent
          Bothell, WA 98021                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.564    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Klaiss, Michele M.                                         Check all that apply.
          11804 Roseberg Ave S                                        Contingent
          Seattle, WA 98168                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.565    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Kohistani, Sahar                                           Check all that apply.
          2836 Diane Dr.                                              Contingent
          Aurora, IL 60504                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.566    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Kolbay, Tiffany T.                                         Check all that apply.
          865 Walts Way                                               Contingent
          Denver, NC 28037                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       IntegraMed America, Inc.                                                                        Case number (if known)   20-11170 (LSS)
              Name

 2.567    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Kook, Amanda E.                                            Check all that apply.
          408 E. Castle Pl                                            Contingent
          Charleston, SC 29414                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.568    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Koshney, Jessica A.                                        Check all that apply.
          224 S. 152nd Street                                         Contingent
          Apt 43                                                      Unliquidated
          Seattle, WA 98148                                           Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.569    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Koulianos, Svetlana M.                                     Check all that apply.
          1124 Sutton Court                                           Contingent
          Mobile, AL 36609                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.570    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Koza, Montana                                              Check all that apply.
          2110 NW 91st Lane                                           Contingent
          Coral Springs, FL 33071                                     Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       IntegraMed America, Inc.                                                                        Case number (if known)   20-11170 (LSS)
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 2.571    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Kozera, Patricia                                           Check all that apply.
          348 N. Cedar Ave.                                           Contingent
          Wood Dale, IL 60191                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.572    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Kramp, Gina-Marie A.                                       Check all that apply.
          2624 W 96th Place                                           Contingent
          Evergreen Park, IL 60805                                    Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.573    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Krecklow, Jessica M.                                       Check all that apply.
          1130 NW 54th Street                                         Contingent
          Seattle, WA 98107                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.574    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Kreidel, Kayla N.                                          Check all that apply.
          1440 Harding Pl                                             Contingent
          Apt 520                                                     Unliquidated
          Charlotte, NC 28204                                         Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       IntegraMed America, Inc.                                                                        Case number (if known)   20-11170 (LSS)
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 2.575    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Krizan, Claire E.                                          Check all that apply.
          2819 Knollside Ln.                                          Contingent
          Vienna, VA 22180                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.576    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Kruep, Sharon M.                                           Check all that apply.
          9614 Gray Hawk Wy.                                          Contingent
          Lake Worth, FL 33467                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.577    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Kwon, Ashly (Eun Young)                                    Check all that apply.
          110 Monterey Lane                                           Contingent
          Danville, CA 94506                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.578    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Laban, Katherine                                           Check all that apply.
          13717 Linden Ave N                                          Contingent
          Apt. 328                                                    Unliquidated
          Seattle, WA 98133                                           Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.579    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Lairson, Travis W.                                         Check all that apply.
          32 Burling Lane                                             Contingent
          Apt 203                                                     Unliquidated
          New Rochelle, NY 10801                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.580    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          LaJoie, James J.                                           Check all that apply.
          309 Napa Ridge Lane                                         Contingent
          Morrisville, NC 27560                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.581    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Lamberg, Rebecca A.                                        Check all that apply.
          3527 Wiles Rd                                               Contingent
          Apt 201                                                     Unliquidated
          Coconut Creek, FL 33073                                     Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.582    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Lamont, Christie D.                                        Check all that apply.
          3180 Merrick Terrace                                        Contingent
          Margate, FL 33063                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.583    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Lancia, Linda                                              Check all that apply.
          251 Deer Hill Road                                          Contingent
          South Salem, NY 10590                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.584    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Lanza, Anna C.                                             Check all that apply.
          2427 NE Sunnymede ST                                        Contingent
          Poulsbo, WA 98370                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.585    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Latimer, Radisha S.                                        Check all that apply.
          528 Bradkin Court                                           Contingent
          Raleigh, NC 27610                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.586    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Latorre, Larissa                                           Check all that apply.
          3219 Jamie Way                                              Contingent
          Hayward, CA 94541                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.587    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Laureano, Breanne N.                                       Check all that apply.
          548 NE 98th Street                                          Contingent
          Seattle, WA 98115                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.588    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Lavere, Vita M.                                            Check all that apply.
          181 W. Schick Road                                          Contingent
          Bloomingdale, IL 60108                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.589    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Lawrence, Leighann L.                                      Check all that apply.
          8300 Kern Ave                                               Contingent
          Apt D111                                                    Unliquidated
          Gilroy, CA 95020                                            Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.590    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Lazarus, Sophia                                            Check all that apply.
          8379 NW 37th St                                             Contingent
          Sunrise, FL 33351                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       IntegraMed America, Inc.                                                                        Case number (if known)   20-11170 (LSS)
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 2.591    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Leach, Eleisha A.                                          Check all that apply.
          2442 Summer Meadow Court                                    Contingent
          Charlotte, NC 28216                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.592    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Lebow, Joy                                                 Check all that apply.
          14 Eagle Road                                               Contingent
          Norwalk, CT 06850                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.593    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Lebron, Erica                                              Check all that apply.
          1722 Purdy St.                                              Contingent
          No. 3H                                                      Unliquidated
          Bronx, NY 10462                                             Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.594    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Leckey, Shakira                                            Check all that apply.
          3371 NW 21st Ct                                             Contingent
          Coconut Creek, FL 33066                                     Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.595    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Lee, Taisha A.                                             Check all that apply.
          501 E. Union St                                             Contingent
          Marshville, NC 28103                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.596    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Lefko, Sarah                                               Check all that apply.
          1143 Glengarry Drive                                        Contingent
          Walnut Creek, CA 94598                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.597    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Lemen, Kimberly E.                                         Check all that apply.
          331 S. 177th Place                                          Contingent
          Apt F-303                                                   Unliquidated
          Seattle, WA 98148                                           Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.598    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Lenzo, Anne                                                Check all that apply.
          401 E 32nd St                                               Contingent
          Apt 205                                                     Unliquidated
          Chicago, IL 60616                                           Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.599    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Leonard, Jennifer A.                                       Check all that apply.
          1465 Van Hercke Lane                                        Contingent
          Oviedo, FL 32766                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.600    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Leonardi, Andrea                                           Check all that apply.
          PO Box 1684                                                 Contingent
          Sultan, WA 98294                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.601    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Lepkowsky, Laura                                           Check all that apply.
          18657 E. Cavendish Dr                                       Contingent
          Castro Valley, CA 94552                                     Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.602    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Lesina , Darija                                            Check all that apply.
          10688 NE 10th Street                                        Contingent
          Apt. B414                                                   Unliquidated
          Bellevue, WA 98004                                          Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.603    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Lewis, Sonya N.                                            Check all that apply.
          9777 Westview Drive                                         Contingent
          #1118                                                       Unliquidated
          Coral Springs, FL 33067                                     Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.604    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Liebermann, Juergen                                        Check all that apply.
          544 N. Forest Ave.                                          Contingent
          Oak Park, IL 60302                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.605    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Limehouse, Patrice                                         Check all that apply.
          3160 Exacta Lane                                            Contingent
          Apt. 616                                                    Unliquidated
          Raleigh, NC 27613                                           Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.606    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Lin, Emily S.                                              Check all that apply.
          12343 Riviera Place Northeast                               Contingent
          Seattle, WA 98125                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.607    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Liriano, Angela I.                                         Check all that apply.
          1824 N. 6th St.                                             Contingent
          Orlando, FL 32820                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.608    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Liscano, Melody G.                                         Check all that apply.
          6810 Winding Trail                                          Contingent
          Unit 303                                                    Unliquidated
          Oak Forest, IL 60452                                        Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.609    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Litaker, Cassandra                                         Check all that apply.
          3407 Arklow Rd                                              Contingent
          Apt 1                                                       Unliquidated
          Charlotte, NC 28269                                         Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.610    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Llaca, Ana M.                                              Check all that apply.
          19127 NW 13 Ct                                              Contingent
          Pembroke Pines, FL 33029                                    Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.611    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Loepp, Elizabeth                                           Check all that apply.
          505 Mawman Ave.                                             Contingent
          Lake Bluff, IL 60044                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.612    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Long, Katelyn J.                                           Check all that apply.
          407 E. Liberty Ave.                                         Contingent
          Spokane, WA 99207                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.613    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Longhurst, Garrett                                         Check all that apply.
          90 Couch Road                                               Contingent
          Patterson, NY 12563                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.614    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Lopez, Allison                                             Check all that apply.
          3626 W Nuala Lane                                           Contingent
          Alsip, IL 60803                                             Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.615    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Lopez, Isabel M.                                           Check all that apply.
          6650 Pershing Street                                        Contingent
          Hollywood, FL 33024                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.616    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Lopez, Yanira D.                                           Check all that apply.
          448 Holiday Hills Dr                                        Contingent
          Martinez, CA 94564                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.617    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Lormistois, Felicia N.                                     Check all that apply.
          27 Cedar Circle                                             Contingent
          Boynton Beach, FL 33436                                     Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.618    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Love, Tracey L.                                            Check all that apply.
          10404 E. Pierce Ln.                                         Contingent
          Spokane, WA 99206                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.619    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Lovell, Sabrina                                            Check all that apply.
          130 Fernwood Ln                                             Contingent
          Bloomingdale, IL 60108                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.620    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Lowedermilk, Ivy M.                                        Check all that apply.
          PO Box 1417                                                 Contingent
          Orting, WA 98360                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.621    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Lowney, Jennifer L.                                        Check all that apply.
          15686 84th Ave North                                        Contingent
          Palm Beach Gardens, FL 33418                                Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.622    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Luburich, Alyssa                                           Check all that apply.
          8030 N. Overhill                                            Contingent
          Niles, IL 60714                                             Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.623    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Luczak, Patricia                                           Check all that apply.
          53 N. Crescent Ave.                                         Contingent
          Palatine, IL 60067                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.624    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Lynn, Olivia                                               Check all that apply.
          2436 N Maplewood Ave.                                       Contingent
          Chicago, IL 60647                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.625    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Macchia, Jessica                                           Check all that apply.
          9 Oak Ridge court                                           Contingent
          West Harrison, NY 10604                                     Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.626    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          MacDonough, Carolyn R.                                     Check all that apply.
          813 NE 151st St                                             Contingent
          Seattle, WA 98155                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.627    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Machamer, Lauren                                           Check all that apply.
          6248 Dowdy Court                                            Contingent
          Orlando, FL 32819                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.628    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Macias, Cynthia                                            Check all that apply.
          320 W Illinois St                                           Contingent
          1508                                                        Unliquidated
          Chicago, IL 60654                                           Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.629    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Macias-Villanueva, Milda                                   Check all that apply.
          6560 Thomas Street                                          Contingent
          Hollywood, FL 33024                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.630    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Mackay, Gwen H.                                            Check all that apply.
          4289 Woodlawn Ave.                                          Contingent
          Gurnee, IL 60031                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.631    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Mackey, Tameka T.                                          Check all that apply.
          2294 Cane Mill Road                                         Contingent
          Lancaster, SC 29720                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.632    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Madrazo, Joshua A.                                         Check all that apply.
          3529 NE 6th Street                                          Contingent
          Renton, WA 98056                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.633    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Magana, Claudia Y.                                         Check all that apply.
          625 SW 97th PL                                              Contingent
          Seattle, WA 98106                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.634    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Magee, Pearlie R.                                          Check all that apply.
          301 Sandy Ln                                                Contingent
          Apt A                                                       Unliquidated
          Suisun City, CA 94585                                       Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.635    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Magiera, Joanna                                            Check all that apply.
          3722 N. Oriole Ave.                                         Contingent
          Chicago, IL 60634                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.636    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Magsino-Reyes, Marilyn N.                                  Check all that apply.
          828 W. Parker Dr.                                           Contingent
          Schaumburg, IL 60194                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.637    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Maguschak, Kerry A.                                        Check all that apply.
          29150 Lake Forest Blvd.                                     Contingent
          Apt 2034                                                    Unliquidated
          Daphne, AL 36526                                            Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.638    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Mahama, Bonosa                                             Check all that apply.
          2185 Hone Avenue Apt 5D                                     Contingent
          Bronx, NY 10461                                             Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.639    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Maldonado, Ana R.                                          Check all that apply.
          11307 NE 128th St                                           Contingent
          G-104                                                       Unliquidated
          Kirkland, WA 98034                                          Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.640    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Malke, Liala                                               Check all that apply.
          7453 W. Ainslie                                             Contingent
          Harwood Heights, IL 60706                                   Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.641    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Maltese, Alexis                                            Check all that apply.
          6638 Villa Sonrisa dr                                       Contingent
          Unit 621                                                    Unliquidated
          Boca Raton, FL 33433                                        Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.642    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Mammenga, Jamie                                            Check all that apply.
          5822 29th Street Ct E                                       Contingent
          Tacoma, WA 98424                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.643    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Mancilla, Natalie                                          Check all that apply.
          2739 SW 332nd CT                                            Contingent
          Federal Way, WA 98023                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.644    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Mandolene, Michelle                                        Check all that apply.
          3221 Queensgate Way                                         Contingent
          Mount Pleasant, SC 29466                                    Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.645    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Maness, Cari B.                                            Check all that apply.
          11201 Sedgefield Dr.                                        Contingent
          Raleigh, NC 27613                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.646    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Mangonon, Lori B.                                          Check all that apply.
          13408 SE 168th Street                                       Contingent
          Renton, WA 98058                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.647    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Maningas, Katrina                                          Check all that apply.
          202 Bobolink Way                                            Contingent
          Hercules, CA 94547                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.648    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Manko, Linda G.                                            Check all that apply.
          4160 North A1A                                              Contingent
          #602 A                                                      Unliquidated
          Fort Pierce, FL 34949                                       Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.649    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Mann, Darci R.                                             Check all that apply.
          205 NE Blairwood Terrace                                    Contingent
          Jensen Beach, FL 34957                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.650    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Manns, Jessica                                             Check all that apply.
          1126 Rock Haven Drive                                       Contingent
          Charlotte, NC 28216                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.651    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Markovich, Rebecca A.                                      Check all that apply.
          1164 W. Madison St.                                         Contingent
          326                                                         Unliquidated
          Chicago, IL 60607                                           Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.652    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Marks, Adam C.                                             Check all that apply.
          105 Pond End Road                                           Contingent
          Waltham, MA 02451                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.653    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Markus, Caryl A.                                           Check all that apply.
          4920 N. Marine Dr.                                          Contingent
          Apt 105                                                     Unliquidated
          Chicago, IL 60640                                           Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.654    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Marnofsky, Alexis N.                                       Check all that apply.
          139 Waverly Ct                                              Contingent
          Martinez, CA 94553                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.655    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Marshall, Bria P.                                          Check all that apply.
          12617 Windyedge Rd                                          Contingent
          Huntersville, NC 28078                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.656    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Martin, Alexander                                          Check all that apply.
          1456 Route 44                                               Contingent
          Pleasant Valley, NY 12569                                   Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.657    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Martin, Janice                                             Check all that apply.
          38-11 Mead Street                                           Contingent
          New Canaan, CT 06840                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.658    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Martin, Kathleen A.                                        Check all that apply.
          20808 N 27th Ave                                            Contingent
          #2092                                                       Unliquidated
          Phoenix, AZ 85027                                           Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.659    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Martin, Tamrin                                             Check all that apply.
          1901 NE 1st Terrace                                         Contingent
          Pompano Beach, FL 33060                                     Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.660    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Martinelli, Catherine                                      Check all that apply.
          40 Rosemere Street                                          Contingent
          Rye, NY 10580                                               Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.661    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Martinez, Carmen M.                                        Check all that apply.
          4101 N. Major Ave.                                          Contingent
          Chicago, IL 60634                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.662    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Martinez, Lynette A.                                       Check all that apply.
          2437 NW 49th Terrace                                        Contingent
          Coconut Grove, FL 33063                                     Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.663    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Martinez, Sergio                                           Check all that apply.
          39 Fieldstone Drive                                         Contingent
          G1                                                          Unliquidated
          Hartsdale, NY 10530                                         Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.664    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Martinez, Yesenia                                          Check all that apply.
          17303 120th Ln SE                                           Contingent
          Apt L 105                                                   Unliquidated
          Renton, WA 98058                                            Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.665    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Maryland Division of Revenue                               Check all that apply.
                                                                      Contingent
                                                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Taxing authority
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.666    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Maschietto-Hayes, Katia                                    Check all that apply.
          33 SE 8th Street                                            Contingent
          Apt 410                                                     Unliquidated
          Boca Raton, FL 33432                                        Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.667    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Mata, Theresa R.                                           Check all that apply.
          1455 Arlington Rd.                                          Contingent
          Livermore, CA 94551                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.668    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Matsui, Jenny J.                                           Check all that apply.
          3500 Skylark Drive                                          Contingent
          Concord, CA 94520                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.669    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Matthies, Sarah A.                                         Check all that apply.
          12629 102nd Ave NE                                          Contingent
          Kirkland, WA 98034                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.670    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Mattiacci, Mary O.                                         Check all that apply.
          7 Moon Valley Ln                                            Contingent
          Durham, NC 27705                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       IntegraMed America, Inc.                                                                        Case number (if known)   20-11170 (LSS)
              Name

 2.671    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Mayers, Shelby H.                                          Check all that apply.
          7329 Fir Dr.                                                Contingent
          Saraland, AL 36571                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.672    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Mazzuca, Kira J                                            Check all that apply.
          3405 36th Ave SW                                            Contingent
          Seattle, WA 98126                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.673    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          McAleese, Nicole                                           Check all that apply.
          300 Lind Point Lane                                         Contingent
          Monroe, NC 28110                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.674    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          McAndie, Amy N.                                            Check all that apply.
          1915 NE 80th St                                             Contingent
          Seattle, WA 98115                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       IntegraMed America, Inc.                                                                        Case number (if known)   20-11170 (LSS)
              Name

 2.675    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          McAndie, Megan A.                                          Check all that apply.
          14113 126th PL NE                                           Contingent
          Kirkland, WA 98034                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.676    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          McCall, Angela D.                                          Check all that apply.
          5516 N. 21st Street                                         Contingent
          Tacoma, WA 98406                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.677    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          McCarthy, Christina M.                                     Check all that apply.
          3300 Wickersham Court                                       Contingent
          Mount Pleasant, SC 29466                                    Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.678    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          McCoy, Jenifer L.                                          Check all that apply.
          5107 Elgin Street                                           Contingent
          Spokane, WA 99205                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       IntegraMed America, Inc.                                                                        Case number (if known)   20-11170 (LSS)
              Name

 2.679    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          McCracken, Asha M.                                         Check all that apply.
          2075 Foxworth Dr                                            Contingent
          Monroe, NC 28110                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.680    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          McCullough, Denise A.                                      Check all that apply.
          43 Calton Rd Apt 2B                                         Contingent
          New Rochelle, NY 10804                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.681    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          McDonald, Elaine R.                                        Check all that apply.
          5202 Nino Ct.                                               Contingent
          Mobile, AL 36618                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.682    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          McElroy, Myoka                                             Check all that apply.
          220 Sheffield Way                                           Contingent
          American Canyon, CA 94503                                   Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       IntegraMed America, Inc.                                                                        Case number (if known)   20-11170 (LSS)
              Name

 2.683    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          McGill, Temica                                             Check all that apply.
          2408 Southern Drive                                         Contingent
          Durham, NC 27703                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.684    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          McGovern, Lynne E.                                         Check all that apply.
          827 S. Arlington Height Road                                Contingent
          Arlington Heights, IL 60005                                 Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.685    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          McMahon, Patrick J.                                        Check all that apply.
          138 Midland Way                                             Contingent
          Danville, CA 94526                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.686    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          McMillan, Angel N.                                         Check all that apply.
          100 Northbend Dr                                            Contingent
          Apt B                                                       Unliquidated
          Charlotte, NC 28262                                         Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       IntegraMed America, Inc.                                                                        Case number (if known)   20-11170 (LSS)
              Name

 2.687    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          McPherson, Latoya                                          Check all that apply.
          3361 NW 47th Ter Apt 424                                    Contingent
          Fort Lauderdale, FL 33319                                   Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.688    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Mecchelia, Judi                                            Check all that apply.
          1594 Calle De Stuard                                        Contingent
          San Jose, CA 95118                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.689    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Melero, Pedro                                              Check all that apply.
          5676 Ravenwood Ave                                          Contingent
          Newark, CA 94560                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.690    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Melligan, Jennifer                                         Check all that apply.
          397 Kerry Court                                             Contingent
          Carol Stream, IL 60188                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       IntegraMed America, Inc.                                                                        Case number (if known)   20-11170 (LSS)
              Name

 2.691    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Mendoza, Elizabeth                                         Check all that apply.
          179 Knollwood Ct.                                           Contingent
          Wood Dale, IL 60191                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.692    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Mendoza-Ayala, Cristal                                     Check all that apply.
          2701 S. 222nd St.                                           Contingent
          Apt H202                                                    Unliquidated
          Des Moines, WA 98198                                        Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.693    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Mercer, Kayla R.                                           Check all that apply.
          110 Shoreline Cir                                           Contingent
          Apt 423                                                     Unliquidated
          San Ramon, CA 94582                                         Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.694    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Merchan, Joseline                                          Check all that apply.
          2421 Saddlehorn Lane                                        Contingent
          Modesto, CA 95355                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       IntegraMed America, Inc.                                                                        Case number (if known)   20-11170 (LSS)
              Name

 2.695    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       $0.00
          Meredith, Eda                                              Check all that apply.
          123 Fair Street                                             Contingent
          White Plains, NY 10607                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.696    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Merline, Ann M.                                            Check all that apply.
          400 Clarice Avenue, Apt 340                                 Contingent
          Charlotte, NC 28204                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.697    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Messerschmitt, Natalie                                     Check all that apply.
          6632 Oneida Drive                                           Contingent
          Mount Dora, FL 32757                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.698    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Meyers, Stephanie M.                                       Check all that apply.
          32762 NE 52nd Street                                        Contingent
          Carnation, WA 98014                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       IntegraMed America, Inc.                                                                        Case number (if known)   20-11170 (LSS)
              Name

 2.699    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Meyers, Susan K.                                           Check all that apply.
          2425 Charlotte Dr                                           Contingent
          Charlotte, NC 28203                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.700    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Mikhail, Rebecca L.                                        Check all that apply.
          485 Rodenburg Road                                          Contingent
          Roselle, IL 60172                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.701    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Miksis, Shelley D.                                         Check all that apply.
          4833 NE 41st Street                                         Contingent
          Seattle, WA 98105                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.702    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Mildon, Shanda                                             Check all that apply.
          19025 Hayes St                                              Contingent
          Castro Valley, CA 94546                                     Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       IntegraMed America, Inc.                                                                        Case number (if known)   20-11170 (LSS)
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 2.703    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Miller, Ann                                                Check all that apply.
          9428 Lorel Ave.                                             Contingent
          Skokie, IL 60077                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.704    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Miller, Charlene                                           Check all that apply.
          3351 Forest Glen Drive                                      Contingent
          Charleston, SC 29414                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.705    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Miller, Deborah                                            Check all that apply.
          1687 Champagne Ave.                                         Contingent
          Gulf Breeze, FL 32563                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.706    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Miller, Paula L.                                           Check all that apply.
          1824 Kodiak Circle                                          Contingent
          Reno, NV 89511                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       IntegraMed America, Inc.                                                                        Case number (if known)   20-11170 (LSS)
              Name

 2.707    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Miller, Thomas                                             Check all that apply.
          4 Robbins Road                                              Contingent
          Pleasantville, NY 10570                                     Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.708    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Miller, Whitney A.                                         Check all that apply.
          5684 Bulman Rd. SE                                          Contingent
          Port Orchard, WA 98366                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.709    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Mills, Taylor                                              Check all that apply.
          17530 158th PL                                              Contingent
          Monroe, WA 98272                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.710    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Mirador-Barrozo, Ami Joy                                   Check all that apply.
          1126 Moon CT                                                Contingent
          Milpitas, CA 95035                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.711    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Miranda, Sher                                              Check all that apply.
          2864 Lane Dr                                                Contingent
          Concord, CA 94518                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.712    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Missildine, Jan M.                                         Check all that apply.
          549 Crossland Drive                                         Contingent
          Moncks Corner, SC 29461                                     Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.713    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Mollison, Kelly R.                                         Check all that apply.
          3424 Billings St.                                           Contingent
          Mount Pleasant, SC 29466                                    Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.714    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Montgomery, Brianna M.                                     Check all that apply.
          2160 SE 8th Dr.                                             Contingent
          Renton, WA 98055                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.715    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Mooney, Sara B.                                            Check all that apply.
          296 Galena PL NE                                            Contingent
          North Bend, WA 98045-4000                                   Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.716    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Moonka, Sara B.                                            Check all that apply.
          2241 82nd Ave SE                                            Contingent
          Mercer Island, WA 98040                                     Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.717    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Moore, Michelle A.                                         Check all that apply.
          20120 S. Pine Hill R                                        Contingent
          Frankfort, IL 60423                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.718    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Morales, Eric J.                                           Check all that apply.
          300 Main St                                                 Contingent
          1K                                                          Unliquidated
          White Plains, NY 10601                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.719    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Morales, Valeria                                           Check all that apply.
          1322 S. Cora St.                                            Contingent
          Des Plaines, IL 60018                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.720    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          More, Christopher J.                                       Check all that apply.
          410 Raupp Blvd.                                             Contingent
          Buffalo Grove, IL 60089                                     Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.721    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Moreno, Blanca                                             Check all that apply.
          5459 W. Wellington                                          Contingent
          Chicago, IL 60641                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.722    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Morrell, Camilla                                           Check all that apply.
          8811 Autumn Winds Dr.                                       Contingent
          Apt. 106                                                    Unliquidated
          Raleigh, NC 27615                                           Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.723    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Morton, Clarissa                                           Check all that apply.
          1768 Cumberland Green                                       Contingent
          Unit 214                                                    Unliquidated
          Saint Charles, IL 60174                                     Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.724    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Moscuzza, Diana                                            Check all that apply.
          677 Brighton Way                                            Contingent
          Livermore, CA 94551                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.725    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Mou, Xuemei                                                Check all that apply.
          2293 Stratford Drive                                        Contingent
          San Jose, CA 95124                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.726    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Moynihan, Debra A.                                         Check all that apply.
          242 Willow Bay Drive                                        Contingent
          Murrells Inlet, SC 29576                                    Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.727    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Mueller, Ann M.                                            Check all that apply.
          8580 W. Foster Ave.                                         Contingent
          No. 410                                                     Unliquidated
          Elmwood Park, IL 60707                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.728    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Murbach, Mark J.                                           Check all that apply.
          609 Plum Grove Road                                         Contingent
          Apt 1A                                                      Unliquidated
          Roselle, IL 60172                                           Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.729    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Muscarella, Carol                                          Check all that apply.
          2012 Club Rd.                                               Contingent
          Charlotte, NC 28205                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.730    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Myers, Megan E.                                            Check all that apply.
          166 Coventry Lake Dr.                                       Contingent
          Lexington, SC 29072                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.731    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Nagori, Shailee                                            Check all that apply.
          2425 Promontory Circle                                      Contingent
          San Ramon, CA 94583                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.732    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Nair, Sanjay                                               Check all that apply.
          9046 Barberry Lane                                          Contingent
          Des Plaines, IL 60016                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.733    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Naismith, Kyle                                             Check all that apply.
          7624 SE 37th Place                                          Contingent
          Mercer Island, WA 98040                                     Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.734    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Nash, Lauren S.                                            Check all that apply.
          839 W Diversey Pkwy                                         Contingent
          Apt 503                                                     Unliquidated
          Chicago, IL 60614                                           Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.735    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Natividad, Jasmine                                         Check all that apply.
          1119 San Ramon Valley Blvd.                                 Contingent
          Danville, CA 94526                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.736    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Nausid, Lisa M.                                            Check all that apply.
          4506 N. Bristol                                             Contingent
          Tacoma, WA 98407                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.737    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Navarro, Madeline                                          Check all that apply.
          1304 Tinley Terrace                                         Contingent
          Apt 304                                                     Unliquidated
          Sanford, FL 32773                                           Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.738    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Navarro, Michelle                                          Check all that apply.
          2607 Henry Ave.                                             Contingent
          Pinole, CA 94564                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.739    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Neal, Tanica                                               Check all that apply.
          2581 N.W. 15th St                                           Contingent
          Fort Lauderdale, FL 33311                                   Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.740    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Nelson, Annika L.                                          Check all that apply.
          1711 S. Ainsworth                                           Contingent
          Tacoma, WA 98405                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.741    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Nelson, Victoria                                           Check all that apply.
          713 Shepard Court                                           Contingent
          Gurnee, IL 60031                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.742    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Nelson-Sorby, Tanya N.                                     Check all that apply.
          3707 Clearview Ave.                                         Contingent
          Gurnee, IL 60031                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.743    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Neumann, Jennifer C.                                       Check all that apply.
          4053 53rd Ave. SW                                           Contingent
          Seattle, WA 98116                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.744    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          New Jersey Division of Taxation                            Check all that apply.
                                                                      Contingent
                                                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Taxing authority
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.745    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Newell, Teresa M.                                          Check all that apply.
          448 E Ontario                                               Contingent
          #301                                                        Unliquidated
          Chicago, IL 60611                                           Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.746    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Newhart, Alyshia                                           Check all that apply.
          7631 Verve Drive                                            Contingent
          Unit 101                                                    Unliquidated
          Raleigh, NC 27617                                           Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.747    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Newmyer, Frank K.                                          Check all that apply.
          4535 N. Magnolia Ave                                        Contingent
          1S                                                          Unliquidated
          Chicago, IL 60640                                           Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.748    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Nguyen, Aniela                                             Check all that apply.
          5829 Falls Ridge Ln                                         Contingent
          Charlotte, NC 28269                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.749    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Nieves, Ana M.                                             Check all that apply.
          1608 Clapton Dr.                                            Contingent
          Deland, FL 32720                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.750    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Nikkel, Deirdre                                            Check all that apply.
          12716 E. 39th Ln.                                           Contingent
          Spokane, WA 99206                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.751    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Nitschmann, Monica J.                                      Check all that apply.
          200 N Jefferson St                                          Contingent
          Apt 1401                                                    Unliquidated
          Chicago, IL 60611                                           Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.752    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Noble, Jessica A.                                          Check all that apply.
          2 Old Sawmill Drive                                         Contingent
          Bluffton, SC 29910                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.753    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          North Carolina Department of                               Check all that apply.
          Revenue                                                     Contingent
                                                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Taxing authority
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.754    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Nylund, Brittany L.                                        Check all that apply.
          4621 SE 58th Ave                                            Contingent
          Portland, OR 97206                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.755    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          O'Brien, Leigh Ann                                         Check all that apply.
          903 Main Street                                             Contingent
          No. 2                                                       Unliquidated
          Evanston, IL 60202                                          Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.756    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          O'Brien, Sue                                               Check all that apply.
          4212 Oldfield Rd                                            Contingent
          Charlotte, NC 28226                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.757    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          O'Doughty, Janet M.                                        Check all that apply.
          10605 SE 240th St.                                          Contingent
          #745                                                        Unliquidated
          Kent, WA 98031                                              Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.758    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          O'Neil, Sara K.                                            Check all that apply.
          2807 47th St. NE                                            Contingent
          Tacoma, WA 98422                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.759    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Ocampo, Sara                                               Check all that apply.
          13118 Lost Lake Rd. Trlr 14                                 Contingent
          Snohomish, WA 98296                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.760    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Ojeda, Olga L.                                             Check all that apply.
          7905 NW 19st                                                Contingent
          Margate, FL 33063                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.761    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Oliveira, Analia C.                                        Check all that apply.
          12120 Alt. A-1-A                                            Contingent
          Apt H-7                                                     Unliquidated
          Palm Beach Gardens, FL 33410                                Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.762    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Olsson, Jorgen                                             Check all that apply.
          843 Ivy Trail Way                                           Contingent
          Fort Mill, SC 29715                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.763    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Ople, Tiffany                                              Check all that apply.
          9325 Kenneth Ave.                                           Contingent
          Skokie, IL 60076                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.764    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Oregon Department of Revenue                               Check all that apply.
                                                                      Contingent
                                                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Taxing authority
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.765    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Orozco, Cynthia                                            Check all that apply.
          1821 S. Bascom Ave. #362                                    Contingent
          Campbell, CA 95008                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.766    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Orozco, Nicole                                             Check all that apply.
          5938 Hyde Park Blvd                                         Contingent
          Niagara Falls, NY 14305                                     Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.767    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Pace, Martyna K.                                           Check all that apply.
          13330 Baker Mills Rd                                        Contingent
          Pineville, NC 28134                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.768    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Padilla, Rebecca A.                                        Check all that apply.
          8507 Filbert Lane                                           Contingent
          Charlotte, NC 28215                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.769    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Palazzo, Stacy                                             Check all that apply.
          4309 N. Osceola Ave.                                        Contingent
          Harwood Heights, IL 60706                                   Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.770    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Palermo, Cheryl A.                                         Check all that apply.
          1815 Palmer Avenue, pt 3L                                   Contingent
          Larchmont, NY 10538                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.771    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Palladino, Donna A.                                        Check all that apply.
          8720 Shadow Wood Blvd                                       Contingent
          Apt. 504                                                    Unliquidated
          Coral Springs, FL 33071                                     Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.772    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Palmtak, Erica                                             Check all that apply.
          1463 NE Chardon Street                                      Contingent
          Jensen Beach, FL 34957                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.773    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Pantos, Marianna                                           Check all that apply.
          620 Sheridan Sq                                             Contingent
          Unit G                                                      Unliquidated
          Evanston, IL 60202                                          Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.774    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Parus, Allison                                             Check all that apply.
          899 S Plymouth Ct                                           Contingent
          Apt 1101                                                    Unliquidated
          Chicago, IL 60605                                           Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.775    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Passley, Jhanelle                                          Check all that apply.
          3900 W Broward Blvd                                         Contingent
          APT 204                                                     Unliquidated
          Fort Lauderdale, FL 33312                                   Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.776    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Patafio, Nicole                                            Check all that apply.
          19 Colonial Road                                            Contingent
          Unit 6                                                      Unliquidated
          Stamford, CT 06906                                          Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.777    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Patrick, Jennifer                                          Check all that apply.
          10421 Watoga Way                                            Contingent
          Cornelius, NC 28031                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.778    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Patterson, Jennifer J                                      Check all that apply.
          1114-A Willow Street                                        Contingent
          Alameda, CA 94501                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.779    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Patton, Lena H.                                            Check all that apply.
          201 N. McDowell St                                          Contingent
          #30654                                                      Unliquidated
          Charlotte, NC 28230                                         Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.780    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Paz Ubera, Mariana                                         Check all that apply.
          1512 Leslie Ave                                             Contingent
          Round Lake, IL 60073                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.781    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Pearson, Jewel, B.                                         Check all that apply.
          171 Country Ln.                                             Contingent
          Mobile, AL 36608                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.782    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Pease, Caitlin                                             Check all that apply.
          6179 Snell Avenue                                           Contingent
          San Jose, CA 95123                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.783    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Pena, Briana                                               Check all that apply.
          1416 W Huron St                                             Contingent
          2R                                                          Unliquidated
          Chicago, IL 60642                                           Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.784    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Peregrino619, Noelle Lynn                                  Check all that apply.
          2233 NW 58th St                                             Contingent
          Unit                                                        Unliquidated
          Seattle, WA 98107                                           Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.785    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Perez, Crystal L.                                          Check all that apply.
          29324 Dixon St. #4                                          Contingent
           CA 94554                                                   Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.786    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Persaud, Vieanna                                           Check all that apply.
          81 Saint James Terrace                                      Contingent
           NY 10744                                                   Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.787    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Peter, Audrey G.                                           Check all that apply.
          11424 NE 67th Street                                        Contingent
          Apt 8                                                       Unliquidated
          Kirkland, WA 98033                                          Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.788    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Petrusich, Judith                                          Check all that apply.
          1510 Dempster                                               Contingent
          Apt 306                                                     Unliquidated
          Mount Prospect, IL 60056                                    Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.789    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Phelps, Myung J.                                           Check all that apply.
          600 W. Washington                                           Contingent
          Unit 2Q                                                     Unliquidated
          Lake Bluff, IL 60044                                        Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.790    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Phommatheth, Misty                                         Check all that apply.
          1000 N La Salle Dr                                          Contingent
          Apt 511                                                     Unliquidated
          Chicago, IL 60610                                           Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       IntegraMed America, Inc.                                                                        Case number (if known)   20-11170 (LSS)
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 2.791    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Piccione, Melissa J.                                       Check all that apply.
          Apt 201                                                     Contingent
          Sunrise, FL 33351                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.792    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Piedrahita Gil, Cindy M.                                   Check all that apply.
          2607 Flamango Lake Drive                                    Contingent
          West Palm Beach, FL 33406                                   Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.793    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Pieprznik, Marianne J.                                     Check all that apply.
          7817 W. Summerdale Ave.                                     Contingent
          Chicago, IL 60656                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.794    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Pimentel, Victoria                                         Check all that apply.
          2062 Norwich Ct.                                            Contingent
          Glenview, IL 60026                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.795    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Pisto, Rachel A.                                           Check all that apply.
          2030 NW Mullridge PL                                        Contingent
          Unit S201                                                   Unliquidated
          Issaquah, WA 98027                                          Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.796    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Plante, Kristen D.                                         Check all that apply.
          10229 NW 48th Ct.                                           Contingent
          Coral Springs, FL 33076                                     Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.797    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Platt, Samantha                                            Check all that apply.
          10519 NW 36th St                                            Contingent
          Coral Springs, FL 33065                                     Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.798    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Pletikosic, Breeann L.                                     Check all that apply.
          1390 Arlington Road                                         Contingent
          Livermore, CA 94551                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.799    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Plotnick, Samantha                                         Check all that apply.
          360 West Illinois Street Unit                               Contingent
          Chicago, IL 60654                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.800    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Poe, Stephanie A.                                          Check all that apply.
          45515 SE 140th Street                                       Contingent
          North Bend, WA 98045                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.801    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Poerio, Heather S.                                         Check all that apply.
          22530 Sw 56th Ave                                           Contingent
          Boca Raton, FL 33433                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.802    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Pollack, Haley B.                                          Check all that apply.
          112 Longwood Dr.                                            Contingent
          Savannah, GA 31405                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.803    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Pons, Katherine                                            Check all that apply.
          1109 Cheetah Trail                                          Contingent
          Winter Springs, FL 32708                                    Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.804    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Popp, Brittany A.                                          Check all that apply.
          2511 N. Milwaukee Ave. #2S                                  Contingent
          Chicago, IL 60647                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.805    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Prada, Marlene                                             Check all that apply.
          8425 SW 120 St                                              Contingent
          Miami, FL 33156                                             Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.806    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Precup, Georgeta E.                                        Check all that apply.
          65 Michael Rd                                               Contingent
          Stamford, CT 06903                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.807    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Premerlani, Karina R.                                      Check all that apply.
          1558 SE Minorca Ave                                         Contingent
          Port Saint Lucie, FL 34952                                  Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.808    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Pretto, Yolimar                                            Check all that apply.
          609 Woodland Creek Blvd.                                    Contingent
          Kissimmee, FL 34744                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.809    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Pugh, James B.                                             Check all that apply.
          32 General Canby Dr.                                        Contingent
          Spanish Fort, AL 36527                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.810    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Pugh, Samantha H.                                          Check all that apply.
          23-20 Bell Blvd                                             Contingent
          Apt. 3A                                                     Unliquidated
          Bayside, NY 11360                                           Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.811    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Quigley, Mary J.                                           Check all that apply.
          419 N. Humphrey Ave.                                        Contingent
          Oak Park, IL 60302                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.812    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Quinn, Alexa                                               Check all that apply.
          1222 Goldenrod Ln                                           Contingent
          Hoffman Estates, IL 60192                                   Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.813    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Quinones, Joy                                              Check all that apply.
          634 Bittern Ct.                                             Contingent
          Kissimmee, FL 34759                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.814    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Rabara, Fleurdeliza                                        Check all that apply.
          2577 Nordell Ave                                            Contingent
          Castro Valley, CA 94546                                     Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.815    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Rainveill, Megan C.                                        Check all that apply.
          16232 Birchwood Way                                         Contingent
          Orlando, FL 32828                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.816    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Ramirez Sigala, Elisa                                      Check all that apply.
          5 Linden Rd                                                 Contingent
          Watsonville, CA 95076                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.817    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Ramirez, Maritza                                           Check all that apply.
          2932 W. 25th Street                                         Contingent
          Chicago, IL 60623                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.818    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Ramirez, Suzanna                                           Check all that apply.
          10136 Regent Square Dr.                                     Contingent
          Orlando, FL 32825                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.819    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Ramos, Angie                                               Check all that apply.
          3420 NW 1st St                                              Contingent
          Apt 635                                                     Unliquidated
          Pompano Beach, FL 33069                                     Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.820    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Ramos, Emma                                                Check all that apply.
          1372 Ct Marguerite                                          Contingent
          Hanover Park, IL 60133                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.821    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Ramos, Francisca M.                                        Check all that apply.
          3900 Wesley Way                                             Contingent
          El Sobrante, CA 94803                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.822    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Rapp, Ashlie                                               Check all that apply.
          4055 North Wolcott Ave                                      Contingent
          Unit 1N                                                     Unliquidated
          Chicago, IL 60613                                           Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.823    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Razzani, Roxanne                                           Check all that apply.
          1881 Carollee Lane                                          Contingent
          Winter Park, FL 32789                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.824    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Redd, Leigh                                                Check all that apply.
          7531 Coastal Way                                            Contingent
          Huntersville, NC 28078                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.825    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Reed, Ruth A.                                              Check all that apply.
          3122 206th PL SW                                            Contingent
          Lynnwood, WA 98036                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.826    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Reed, Yolanda C.                                           Check all that apply.
          8644 Niles Center Rd.                                       Contingent
          Apt. 2                                                      Unliquidated
          Skokie, IL 60077                                            Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       IntegraMed America, Inc.                                                                        Case number (if known)   20-11170 (LSS)
              Name

 2.827    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Reid, Carlette L.                                          Check all that apply.
          9529 Brackenview Court                                      Contingent
          Charlotte, NC 28214                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.828    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Reijm, Hannah A.                                           Check all that apply.
          16124 81st Ave E                                            Contingent
          Puyallup, WA 98375                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.829    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Renda, Christian                                           Check all that apply.
          450 Orange Ave.                                             Contingent
          Saint Cloud, FL 34769                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.830    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Rettinger, Sabrina                                         Check all that apply.
          6565 Brooklyn Heights Street                                Contingent
          Las Vegas, NV 89166                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       IntegraMed America, Inc.                                                                        Case number (if known)   20-11170 (LSS)
              Name

 2.831    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Reveron, Jennifer                                          Check all that apply.
          508 Roy Blvd.                                               Contingent
          Altamonte Springs, FL 32701                                 Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.832    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Reynolds-Johnson, Toi A.                                   Check all that apply.
          8425 River Birch Drive                                      Contingent
          Apt. 206                                                    Unliquidated
          Charlotte, NC 28210                                         Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.833    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Ribeiro, Allison W.                                        Check all that apply.
          1628 Ellsworth St                                           Contingent
          Mount Pleasant, SC 29466                                    Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.834    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Richardson, Lauren                                         Check all that apply.
          161 West Kinzie St. #1503                                   Contingent
          Chicago, IL 60654                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       IntegraMed America, Inc.                                                                        Case number (if known)   20-11170 (LSS)
              Name

 2.835    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Richey, Suzanne W.                                         Check all that apply.
          5622 Silverstar Ct.                                         Contingent
          Milton, FL 32583                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.836    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       $0.00
          Riego, Darlyng V.                                          Check all that apply.
          2706 Arrowwood Ct.                                          Contingent
          Pembroke Pines, FL 33328                                    Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.837    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Riego, Darlyng V.                                          Check all that apply.
          2706 Arrowwood Ct.                                          Contingent
          Davie, FL 33328                                             Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.838    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Rinehardt, Amy K.                                          Check all that apply.
          13932 Connor Rd                                             Contingent
          Gold Hill, NC 28071                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       IntegraMed America, Inc.                                                                        Case number (if known)   20-11170 (LSS)
              Name

 2.839    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Riordan, Carina L.                                         Check all that apply.
          7309 Sand Point Way NE                                      Contingent
          Apt B721                                                    Unliquidated
          Seattle, WA 98115                                           Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.840    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Rios, Iris M.                                              Check all that apply.
          3039 N. Honore St.                                          Contingent
          Chicago, IL 60657                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.841    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Rios, Marie A.                                             Check all that apply.
          4671 SW 70th Terrace                                        Contingent
          Fort Lauderdale, FL 33314                                   Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.842    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Rios, Mercedes                                             Check all that apply.
          38446 Creek Ct.                                             Contingent
          Waukegan, IL 60087                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       IntegraMed America, Inc.                                                                        Case number (if known)   20-11170 (LSS)
              Name

 2.843    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Ripoli, Kelly                                              Check all that apply.
          508 Bristol Dr.                                             Contingent
          Altamonte Springs, FL 32714                                 Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.844    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                             $0.00     $0.00
          Ritchey, Michael                                           Check all that apply.
          3108 Pacific Avenue                                         Contingent
          Manhattan Beach, CA 90266                                   Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.845    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Rivas, Jessica                                             Check all that apply.
          526 Algonquin                                               Contingent
          Joliet, IL 60432                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.846    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Rivera Reyes, Sheila                                       Check all that apply.
          4325 Hector Court                                           Contingent
          Apt 7                                                       Unliquidated
          Orlando, FL 32822                                           Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       IntegraMed America, Inc.                                                                        Case number (if known)   20-11170 (LSS)
              Name

 2.847    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Rivera, Charlene                                           Check all that apply.
          5266 NE 6th Ave                                             Contingent
          28F                                                         Unliquidated
          Oakland Park, FL 33334                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.848    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Rivera, Elisha                                             Check all that apply.
          609 Deer Run Ct.                                            Contingent
          Casselberry, FL 32707                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.849    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Rivera, Lizandra                                           Check all that apply.
          3420 N. Kildare Ave.                                        Contingent
          Chicago, IL 60641                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.850    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Rivera, Yolanda G.                                         Check all that apply.
          41777 Grimmer Boulevard                                     Contingent
          Apt. C4                                                     Unliquidated
          San Ramon, CA 94538                                         Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       IntegraMed America, Inc.                                                                        Case number (if known)   20-11170 (LSS)
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 2.851    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Rizo, Dnieta                                               Check all that apply.
          109 Seabreeze Circle                                        Contingent
          Kissimmee, FL 34743                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.852    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Rizzato, Susan M.                                          Check all that apply.
          3150 N. Sheridan                                            Contingent
          #3c                                                         Unliquidated
          Chicago, IL 60657                                           Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.853    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Roa, Carla                                                 Check all that apply.
          612 Escalona Drive                                          Contingent
          Santa Cruz, CA 95060                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.854    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Roa, Carla                                                 Check all that apply.
          612 Escalona Drive                                          Contingent
          Santa Cruz, CA 95060                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       IntegraMed America, Inc.                                                                        Case number (if known)   20-11170 (LSS)
              Name

 2.855    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Roberts, Logan, S.                                         Check all that apply.
          176 Red Knot Ln                                             Contingent
          Mount Pleasant, SC 29464                                    Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.856    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Roberts, Patrice                                           Check all that apply.
          6641 Leyland Park Dr.                                       Contingent
          San Jose, CA 95120                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.857    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Roberts, Sharon M.                                         Check all that apply.
          339 Clayton Dr.                                             Contingent
          Charleston, SC 29414                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.858    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Robinson, Dale-Earle A.                                    Check all that apply.
          40 East Sidney Ave                                          Contingent
          Apt 11h                                                     Unliquidated
          Mount Vernon, NY 10550                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.859    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Robinson, Jacqueline                                       Check all that apply.
          4006 Colleen St.                                            Contingent
          Moss Point, MS 39563                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.860    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Robinson, Ryan                                             Check all that apply.
          11657 Wesntwood Ct.                                         Contingent
          Daphne, AL 36526                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.861    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Rock, Jennifer L.                                          Check all that apply.
          11118 S. Sacramento Ave                                     Contingent
          Chicago, IL 60655                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.862    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Rodreiguez, Glenda L.                                      Check all that apply.
          2913 Western Willow Ter                                     Contingent
          Orlando, FL 32808                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       IntegraMed America, Inc.                                                                        Case number (if known)   20-11170 (LSS)
              Name

 2.863    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Rodriguez, Brian M                                         Check all that apply.
          4111 N. Maplewood                                           Contingent
          Chicago, IL 60618                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.864    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Rodriguez, Brittany N.                                     Check all that apply.
          6040 SW 35th St                                             Contingent
          Rear Apt                                                    Unliquidated
          Miramar, FL 33023                                           Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.865    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Rodriguez, Eudenys                                         Check all that apply.
          830 Hendry Dr.                                              Contingent
          Orlando, FL 32822                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.866    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Rodriguez, Kimberly M.                                     Check all that apply.
          1806 Congressional W                                        Contingent
          Deerfield Beach, FL 33442                                   Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       IntegraMed America, Inc.                                                                        Case number (if known)   20-11170 (LSS)
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 2.867    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Rodriguez, Nairobi                                         Check all that apply.
          5469 Wiles Road                                             Contingent
          APT 104                                                     Unliquidated
          Coconut Creek, FL 33073                                     Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.868    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Rodriguez-Montolio, Giselle                                Check all that apply.
          30 Lake Terrace                                             Contingent
          Tarrytown, NY 10591                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.869    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Roe, Sophia                                                Check all that apply.
          2375 Repoll Rd.                                             Contingent
          Mobile, AL 36695                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.870    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Rohaiem, Raga                                              Check all that apply.
          22065 Palms Way, Apt 201                                    Contingent
          Boca Raton, FL 33433                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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              Name

 2.871    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Rojas, Evelyn                                              Check all that apply.
          4954 N. Bell Ave.                                           Contingent
          Chicago, IL 60625                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.872    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Rollins, Kristine                                          Check all that apply.
          28061 Thorup Lane                                           Contingent
          Hayward, CA 94542                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.873    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Roman, Tracy L.                                            Check all that apply.
          205 Anson St.                                               Contingent
          Stratford, CT 06614                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.874    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Romine, Lori A.                                            Check all that apply.
          10411 10th Avenue SW                                        Contingent
          Seattle, WA 98146                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.875    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Ropski, Jennifer                                           Check all that apply.
          205 W Pine Ave                                              Contingent
          Roselle, IL 60172                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.876    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Rorke, Danielle L.                                         Check all that apply.
          23430 97th PL W                                             Contingent
          Edmonds, WA 98020                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.877    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Rosales, Janet                                             Check all that apply.
          619 Bayview Point                                           Contingent
          Schaumburg, IL 60194                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.878    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Rosecrans, Susan S.                                        Check all that apply.
          1111 Greenwood Ave.                                         Contingent
          Deerfield, IL 60015                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.879    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Rosensteel, Christina M.                                   Check all that apply.
          640 Dorothy Dr                                              Contingent
          Charlotte, NC 28203                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.880    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Ross, Breanne M.                                           Check all that apply.
          6226 33rd Ave NE                                            Contingent
          Seattle, WA 98115                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.881    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Rossi, Rosa                                                Check all that apply.
          4401 N. Ottawa                                              Contingent
          Harwood Heights, IL 60706                                   Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.882    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Rotter, Krista                                             Check all that apply.
          2213 Hastings Drive                                         Contingent
          #67                                                         Unliquidated
          Belmont, CA 94002                                           Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.883    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Rowe, Katherine M.                                         Check all that apply.
          2427 NW 59th Street - 202                                   Contingent
          Seattle, WA 98108                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.884    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Rowland, Shannon                                           Check all that apply.
          1458 Nantahala Blvd.                                        Contingent
          Mount Pleasant, SC 29464                                    Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.885    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Rozler, Yana M.                                            Check all that apply.
          720 Ballantrae Dr                                           Contingent
          Unit B                                                      Unliquidated
          Northbrook, IL 60062                                        Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.886    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Rueckheim, Laura A.                                        Check all that apply.
          808 Park Ave                                                Contingent
          Collingswood, NJ 08108                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.887    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Rugusa, Pamela C.                                          Check all that apply.
          225 Ballentine St.                                          Contingent
          Fuquay Varina, NC 27526                                     Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.888    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Ruhl, Samantha A.                                          Check all that apply.
          PO Box 33011                                                Contingent
          Seattle, WA 98133                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.889    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Ruhl, Suzanne E.                                           Check all that apply.
          PO Box 33011                                                Contingent
          Seattle, WA 98133                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.890    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Ruiz, Elizabeth                                            Check all that apply.
          3724 Hardwood Ct                                            Contingent
          Melbourne, FL 32935                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.891    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Rupczynski, Ashley                                         Check all that apply.
          329 Bristol Lane                                            Contingent
          Fox River Grove, IL 60021                                   Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.892    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Rustick, Tracey                                            Check all that apply.
          2398 Walters Way                                            Contingent
          Apt. 22                                                     Unliquidated
          Concord, CA 94520                                           Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.893    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Sachdev, Mala V.                                           Check all that apply.
          7482 Stoneleaf Road                                         Contingent
          San Ramon, CA 94582-2000                                    Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.894    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Sadler, Frances                                            Check all that apply.
          216 Pecan Ave.                                              Contingent
          Fairhope, AL 36532                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.895    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Sadorf, Dawn                                               Check all that apply.
          408 Eagle Point Dr.                                         Contingent
          Chapin, SC 29036                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.896    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Saffioti, Stephanie L.                                     Check all that apply.
          5800 SW 87th Way                                            Contingent
          Cooper City, FL 33328                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.897    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Salazar, Brian                                             Check all that apply.
          2617 Arf Avenue                                             Contingent
          Hayward, CA 94545                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.898    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Sanchez, Cynthia                                           Check all that apply.
          2021 Sierra Road                                            Contingent
          Unit C                                                      Unliquidated
          Concord, CA 94518                                           Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.899    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Sanchez, Melinda                                           Check all that apply.
          4229 S. Fairfield                                           Contingent
          Chicago, IL 60632                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.900    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Santiago, Jennifer L.                                      Check all that apply.
          2677 Camden Street                                          Contingent
          Geneva, IL 60134                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.901    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Sanz, Juan S.                                              Check all that apply.
          2117 Stafford Ct                                            Contingent
          Plainfield, IL 60586                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.902    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Saucier, Tiffany L.                                        Check all that apply.
          712 Champagne Dr.                                           Contingent
          Biloxi, MS 39532                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.903    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Sauls, Mary L.                                             Check all that apply.
          2800 Elliott Ave                                            Contingent
          Apt 226                                                     Unliquidated
          Seattle, WA 98121                                           Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.904    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Sawyer, Christine                                          Check all that apply.
          121829 102nd NE                                             Contingent
          Kirkland, WA 98034                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.905    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Sawyer, Tina M.                                            Check all that apply.
          10610 Westgate Club Drive                                   Contingent
          #403                                                        Unliquidated
          Raleigh, NC 27617                                           Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.906    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Schall Maria Ruby                                          Check all that apply.
          16 N. Oxalis Ave.                                           Contingent
          Orlando, FL 32807                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.907    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Schall, Maria Ruby                                         Check all that apply.
          16 N. Oxalis Avenue                                         Contingent
          Orlando, FL 32807                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.908    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Scharnhorst, Jodene C.                                     Check all that apply.
          19206 SE 43rd Place                                         Contingent
          Issaquah, WA 98027                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.909    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Schmitz, Michael J.                                        Check all that apply.
          91 Bullet Hole Road                                         Contingent
          Mahopac, NY 10541                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.910    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Schneider, Kimberly D.                                     Check all that apply.
          11461 Kenley Cir                                            Contingent
          Orlando, FL 32824                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.911    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Schoenthaler, Macy                                         Check all that apply.
          60 Kenwood court                                            Contingent
          Oakley, CA 94561                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.912    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Schulz, Courtney, L                                        Check all that apply.
          7 SE Highway 450                                            Contingent
          Umatilla, FL 32784                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.913    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Sciandra, Susan                                            Check all that apply.
          5338 NW 58th Terrace                                        Contingent
          Coral Springs, FL 33067                                     Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.914    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Segroves, Jamie                                            Check all that apply.
          137 RIdge Top Rd.                                           Contingent
          Lexington, SC 29072                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.915    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Seipel, Noelle                                             Check all that apply.
          #2                                                          Contingent
          Chicago, IL 60618                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.916    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Senstra, Bradley J.                                        Check all that apply.
          1333 N. 79th St.                                            Contingent
          Seattle, WA 98103                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.917    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Sepcoski, John                                             Check all that apply.
          859 West Ave.                                               Contingent
          Wilkes Barre, PA 18702                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.918    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Serrano, Nizza                                             Check all that apply.
          58 Belshaw Street                                           Contingent
          Antioch, CA 94509                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.919    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Shadzi, Lindsay M.                                         Check all that apply.
          2738 Silveraddo Lane                                        Contingent
          Livermore, CA 94550                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.920    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Shah, Lesha                                                Check all that apply.
          1890 Lucille Lane                                           Contingent
          Hanover Park, IL 60133                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.921    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Shah, Mila H.                                              Check all that apply.
          1603 Della Drive                                            Contingent
          Hoffman Estates, IL 60169                                   Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.922    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Shah, Tejal                                                Check all that apply.
          8140 Paddington Rd                                          Contingent
          Woodridge, IL 60517                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.923    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Shamoun, Carmen                                            Check all that apply.
          2878 Curtis St.                                             Contingent
          Des Plaines, IL 60018                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.924    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Sharp, Joy C.                                              Check all that apply.
          205 Concord Lane                                            Contingent
          Carol Stream, IL 60188                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.925    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       $0.00
          Shechter, Judah                                            Check all that apply.
          4 Linda Road                                                Contingent
          East Brunswick, NJ 08816                                    Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.926    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Shekhler, Helen                                            Check all that apply.
          7108 Niles                                                  Contingent
          Niles, IL 60714                                             Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.927    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Shelton, Ashlie N.                                         Check all that apply.
          1417 8th Stree NE                                           Contingent
          Apt R-1                                                     Unliquidated
          Auburn, WA 98002                                            Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.928    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Shifflett, Tammie                                          Check all that apply.
          1461 NE 57 Place                                            Contingent
          Fort Lauderdale, FL 33334                                   Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.929    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Shijo, Sara                                                Check all that apply.
          5508 33rd Ave NE                                            Contingent
          Seattle, WA 98105                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.930    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Shuster, Margarita                                         Check all that apply.
          3056 Glenway Dr.                                            Contingent
          Northbrook, IL 60062                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.931    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Sieber, Leslie E.                                          Check all that apply.
          1310 Briarfield Ave                                         Contingent
          Charleston, SC 29412                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.932    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Silva, Marcos M.                                           Check all that apply.
          5637 Lincoln St.                                            Contingent
          Hollywood, FL 33021                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.933    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Simmons, Jessica A.                                        Check all that apply.
          9242 Edgevale Dr                                            Contingent
          Charlotte, NC 28216                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.934    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Simpson, Amy E.                                            Check all that apply.
          175 Davidson Court                                          Contingent
          Brentwood, CA 94513                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.935    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Sinishtaj, Angelina                                        Check all that apply.
          5240 NE 14th Way                                            Contingent
          Unit #5                                                     Unliquidated
          Fort Lauderdale, FL 33334                                   Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.936    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Sinkler, Maria E.                                          Check all that apply.
          1281 Blue Sky Lane                                          Contingent
          Charleston, SC 29492                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.937    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Sinkova, Natalya                                           Check all that apply.
          7239 Sand Point Way NE                                      Contingent
          Apt 409                                                     Unliquidated
          Seattle, WA 98115                                           Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.938    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Skinner, Alexa N.                                          Check all that apply.
          10900 Warren Rd. NW                                         Contingent
          Silverdale, WA 98383                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.939    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Slack, Nicole R.                                           Check all that apply.
          17060 113th Ter N                                           Contingent
          Jupiter, FL 33478                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.940    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Smith, Amy                                                 Check all that apply.
          8634 184th St. SW                                           Contingent
          Edmonds, WA 98026                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.941    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Smith, Lindsay                                             Check all that apply.
          840 Plaza Drive                                             Contingent
          San Jose, CA 95125                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.942    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Smith, Marcia A.                                           Check all that apply.
          4926 NW 52nd Ct                                             Contingent
          Tamarac, FL 33319                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.943    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Smith, Monica                                              Check all that apply.
          21837 Jeffery Ave                                           Contingent
          3B                                                          Unliquidated
          Chicago Heights, IL 60411                                   Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.944    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Smith, Samantha                                            Check all that apply.
          1623 Fortmann Way                                           Contingent
          Alameda, CA 94501                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.945    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Smith, Sandra                                              Check all that apply.
          5000 Bayside Look                                           Contingent
          Apt 215                                                     Unliquidated
          Oviedo, FL 32765                                            Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.946    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Smith, Sarah                                               Check all that apply.
          5708 NW 47th Ln                                             Contingent
          Tamarac, FL 33319                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       IntegraMed America, Inc.                                                                        Case number (if known)   20-11170 (LSS)
              Name

 2.947    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Smith, Scott K.                                            Check all that apply.
          11879 Sweetbriar Ln                                         Contingent
          San Diego, CA 92131                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.948    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Smith-Miller, Beverley A.                                  Check all that apply.
          1749 NW 80th Avenue                                         Contingent
          #36-I                                                       Unliquidated
          Margate, FL 33063                                           Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.949    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Sneed, Norma                                               Check all that apply.
          116 Waterleaf Place                                         Contingent
          Clayton, NC 27527                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.950    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Snyder, Alyson T.                                          Check all that apply.
          112 Mill Wheel Drive                                        Contingent
          Lexington, SC 29072                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       IntegraMed America, Inc.                                                                        Case number (if known)   20-11170 (LSS)
              Name

 2.951    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Snyder, Wendy A.                                           Check all that apply.
          101 Sunset Oaks Drive                                       Contingent
          Holly Springs, NC 27540                                     Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.952    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Sokolova, Anna                                             Check all that apply.
          12647 River Creek Dr.                                       Contingent
          Fairhope, AL 36532                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.953    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Sokolowski, Sabrina                                        Check all that apply.
          7191 Oak Briar Dr N                                         Contingent
          Mobile, AL 36619                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.954    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Solano, Rodrigo A.                                         Check all that apply.
          373 Atherton Ave                                            Contingent
          Pittsburg, CA 94565                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       IntegraMed America, Inc.                                                                        Case number (if known)   20-11170 (LSS)
              Name

 2.955    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Soucy, Melinda                                             Check all that apply.
          9245 Shallcross Way                                         Contingent
          Raleigh, NC 27617                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.956    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          South Carolina Department of                               Check all that apply.
          Revenue                                                     Contingent
                                                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Taxing authority
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.957    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Spadaccino, Thomas                                         Check all that apply.
          43 Red Fox Ln                                               Contingent
          Brewster, NY 10509                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.958    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Spatz, Jill M.                                             Check all that apply.
          804 Kimballwood Ln                                          Contingent
          Highland Park, IL 60035                                     Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       IntegraMed America, Inc.                                                                        Case number (if known)   20-11170 (LSS)
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 2.959    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Spencer, Chelsea                                           Check all that apply.
          211 Jewel Terrace                                           Contingent
          San Ramon, CA 94583                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.960    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Sphar, Danielle                                            Check all that apply.
          4017 Kingsgate Place                                        Contingent
          Apt E                                                       Unliquidated
          Charlotte, NC 28211                                         Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.961    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Spolarich, Emily                                           Check all that apply.
          10640 S. Seeley Ave.                                        Contingent
          Chicago, IL 60643                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.962    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Stanton, Amanda N.                                         Check all that apply.
          355 Raleigh Pl                                              Contingent
          Oviedo, FL 32765                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       IntegraMed America, Inc.                                                                        Case number (if known)   20-11170 (LSS)
              Name

 2.963    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Stephens, Camerron L.                                      Check all that apply.
          2907 N. Hamilton Street                                     Contingent
          Spokane, WA 99207                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.964    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Stephens, Tochara                                          Check all that apply.
          5540 Monte Carlo Ln                                         Contingent
          Margate, FL 33068                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.965    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Stern, Jordan                                              Check all that apply.
          2838 Crestscene Trail                                       Contingent
          Raleigh, NC 27603                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.966    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Still, Sarah E.                                            Check all that apply.
          12305 109th Ave Ct E                                        Contingent
          Puyallup, WA 98374                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       IntegraMed America, Inc.                                                                        Case number (if known)   20-11170 (LSS)
              Name

 2.967    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Stimson, Tanna M.                                          Check all that apply.
          7077 Kentfield Drive                                        Contingent
          Shingle Springs, CA 95682                                   Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.968    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Stocks, Scarlet                                            Check all that apply.
          82 Plantation Pointe                                        Contingent
          No. 249                                                     Unliquidated
          Fairhope, AL 36532                                          Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.969    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Stouffer, Carol                                            Check all that apply.
          9 Courtney Lane                                             Contingent
          Danville, CA 94506                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.970    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Streely, Linda                                             Check all that apply.
          3918 Meridian Point Ct.                                     Contingent
          Las Vegas, NV 89147                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.971    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Strong, Heidi M.                                           Check all that apply.
          9936 Orchard Ave SE                                         Contingent
          Olalla, WA 98359                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.972    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Suansing, Heidi                                            Check all that apply.
          1618 Rio Cove Court                                         Contingent
          Orlando, FL 32825                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.973    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Suarez, Lauren A.                                          Check all that apply.
          8336 Dundee Terrace                                         Contingent
          Miami Lakes, FL 33016                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.974    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Subramani, Christina                                       Check all that apply.
          3723 Coral Tree Circle                                      Contingent
          Coconut Beach, FL 33073                                     Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.975    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Sully, Linda                                               Check all that apply.
          4201 NW 34th St.                                            Contingent
          Apt. 213                                                    Unliquidated
          Lauderdale Lakes, FL 33319                                  Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.976    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Surali, Sunanda N.                                         Check all that apply.
          4325 Ivy Lane                                               Contingent
          Glenview, IL 60026                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.977    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Swafford-Abalos, Connie L                                  Check all that apply.
          13551 Byron Hwy                                             Contingent
          Byron, CA 94514                                             Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.978    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Swanson, Anneleise                                         Check all that apply.
          1741 Matheson Avenue                                        Contingent
          Charlotte, NC 28205                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       IntegraMed America, Inc.                                                                        Case number (if known)   20-11170 (LSS)
              Name

 2.979    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Swanson, Janet                                             Check all that apply.
          1348 Pinehurst Dr                                           Contingent
          Glenview, IL 60025                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.980    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Swiniuch, Jennifer L.                                      Check all that apply.
          7814 Sunset Drive                                           Contingent
          Elmwood Park, IL 60707                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.981    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Szacilo, Dominika                                          Check all that apply.
          1503 W George St                                            Contingent
          Chicago, IL 60657                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.982    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Ta, Anh                                                    Check all that apply.
          1557 Aborn Road                                             Contingent
          San Jose, CA 95121                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       IntegraMed America, Inc.                                                                        Case number (if known)   20-11170 (LSS)
              Name

 2.983    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Tacheny, Robert R.                                         Check all that apply.
          24 N. Altamont Ave                                          Contingent
          Thurmont, MD 21788                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.984    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Taghi Zadeh, Sima                                          Check all that apply.
          282 S. Overlook D                                           Contingent
          San Ramon, CA 94582                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.985    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Tait, Michelle M.                                          Check all that apply.
          1316 E. Hawthorne Circle                                    Contingent
          Hollywood, FL 33021                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.986    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Taylor, Healther M.                                        Check all that apply.
          1192 Aruba Circle                                           Contingent
          Charleston, SC 29412                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       IntegraMed America, Inc.                                                                        Case number (if known)   20-11170 (LSS)
              Name

 2.987    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Taylor, Tyl H.                                             Check all that apply.
          13925 Daltrey Ln.                                           Contingent
          Charlotte, NC 28277                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.988    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Teres, Rishona S.                                          Check all that apply.
          1570 Grove Ter                                              Contingent
          Winter Park, FL 32789                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.989    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Teresi, Stuart                                             Check all that apply.
          10 Shaker Lane                                              Contingent
          Stormville, NY 12582                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.990    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Thach, Beauletta                                           Check all that apply.
          14109 Springwater Dr                                        Contingent
          Matthews, NC 28105                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       IntegraMed America, Inc.                                                                        Case number (if known)   20-11170 (LSS)
              Name

 2.991    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Thacker, Julie                                             Check all that apply.
          2049 SE Dranson Circle                                      Contingent
          Port Saint Lucie, FL 34952                                  Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.992    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Thompson, Erica B.                                         Check all that apply.
          9180 Oak Alley Drive                                        Contingent
          Lake Worth, FL 33467                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.993    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Thompson, Sara A.                                          Check all that apply.
          9750 NW 45th Manor                                          Contingent
          Coral Springs, FL 33065                                     Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.994    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Thompson, Sarah M.                                         Check all that apply.
          911 N. 47th Street                                          Contingent
          Seattle, WA 98103                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       IntegraMed America, Inc.                                                                        Case number (if known)   20-11170 (LSS)
              Name

 2.995    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Thompson-Wrench, Stacia                                    Check all that apply.
          7318 35th Ave NE                                            Contingent
          Apt 1A                                                      Unliquidated
          Seattle, WA 98115                                           Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.996    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Thomson, Heather                                           Check all that apply.
          1169 Aspen Drive                                            Contingent
          Concord, CA 94520                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.997    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Tibbetts, Amber J.                                         Check all that apply.
          583 Brantley Terrace Way                                    Contingent
          Unite 309                                                   Unliquidated
          Altamonte Springs, FL 32714                                 Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.998    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Tiemeyer, Molly J.                                         Check all that apply.
          1365 N. Tanzanite St                                        Contingent
          Post Falls, ID 83854                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       IntegraMed America, Inc.                                                                        Case number (if known)   20-11170 (LSS)
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 2.999    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Tierney, Brian                                             Check all that apply.
          1750 N. Walnut Rd.                                          Contingent
          No. 43                                                      Unliquidated
          Las Vegas, NV 89115                                         Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1000   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Tobias, Tamara M.                                          Check all that apply.
          16307 Reserrve Drive SE                                     Contingent
          North Bend, WA 98045                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1001   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Tomchak, Emily R.                                          Check all that apply.
          809 Olive Way, 1605                                         Contingent
          Seattle, WA 98101                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1002   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Toppo, Susan                                               Check all that apply.
          39 Tower Hill Drive                                         Contingent
          Port Chester, NY 10573                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       IntegraMed America, Inc.                                                                        Case number (if known)   20-11170 (LSS)
              Name

 2.1003   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Torres Ocegueda, Maria E.                                  Check all that apply.
          211 Elm St                                                  Contingent
          San Mateo, CA 94401                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1004   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Torres, Adrianna M.                                        Check all that apply.
          1403 Park Avenue                                            Contingent
          Winthrop Harbor, IL 60096                                   Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1005   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Tosli, Natalie                                             Check all that apply.
          3154 W, Grace St.                                           Contingent
          Unit 2                                                      Unliquidated
          Chicago, IL 60618                                           Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1006   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Towe, Sarah                                                Check all that apply.
          20410 Southshore Drive                                      Contingent
          Cornelius, NC 28031                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       IntegraMed America, Inc.                                                                        Case number (if known)   20-11170 (LSS)
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 2.1007   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Tra-Cole, Shadae                                           Check all that apply.
          2006 Castleton Ct                                           Contingent
          Apt. E                                                      Unliquidated
          Belmont, NC 28012                                           Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1008   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Tracy, Cynthia L.                                          Check all that apply.
          6401 S. Harlem                                              Contingent
          Chicago, IL 60638                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1009   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Tran, Tien T.                                              Check all that apply.
          7629 199th St. SW                                           Contingent
          Lynnwood, WA 98036                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1010   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Trashani, Gabriella                                        Check all that apply.
          2331 Bellaire Court                                         Contingent
          Des Plaines, IL 60016                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.1011   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Treasure, Mesha                                            Check all that apply.
          19721 NE 1st Ave.                                           Contingent
          Miami, FL 33179                                             Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1012   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Trezise, Laura J.                                          Check all that apply.
          6809 N. Olmsted #4                                          Contingent
          Chicago, IL 60631                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1013   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Troike, Abigail                                            Check all that apply.
          355 E Ohio St                                               Contingent
          Apt. 4905                                                   Unliquidated
          Chicago, IL 60611                                           Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1014   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Turner, Lauri D.                                           Check all that apply.
          602 Armadillo Dr                                            Contingent
          Deltona, FL 32725                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.1015   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Ulmer-Charles, Isunual                                     Check all that apply.
          34391 Old Walnut Circle                                     Contingent
          Gurnee, IL 60031                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1016   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Urbick, Julia                                              Check all that apply.
          1274 Hammrick Lane                                          Contingent
          Johns Island, SC 29455                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1017   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Uribe, Leticia                                             Check all that apply.
          637 N Colcannon Drive                                       Contingent
          Mountain House, CA 95391                                    Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1018   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Uslmul, Angela R.                                          Check all that apply.
          7 S Windsor Place                                           Contingent
          Mundelein, IL 60060                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.1019   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Utah Department of Revenue                                 Check all that apply.
                                                                      Contingent
                                                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Taxing authority
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.1020   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Valdez, Aliana D.                                          Check all that apply.
          8877 SW 27th Street                                         Contingent
          Miami, FL 33165                                             Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1021   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Valdez, Michelle                                           Check all that apply.
          25 NW 152 St                                                Contingent
          Miami, FL 33169                                             Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1022   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Valencia, Manuela                                          Check all that apply.
          662 Glades Cir                                              Contingent
          Apt. 228                                                    Unliquidated
          Altamonte Springs, FL 32714                                 Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.1023   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Valenzuela-Garcia, Blanca                                  Check all that apply.
          6254 Bayview Ave                                            Contingent
          San Pablo, CA 94806                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1024   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Van Steen, Carrie A.                                       Check all that apply.
          9 Stonebrooke Drive                                         Contingent
          New Fairfield, CT 06812                                     Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1025   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Vang, Kasey G.                                             Check all that apply.
          13912 Cedar Farm Rd                                         Contingent
          Charlotte, NC 28278                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1026   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Vapion, Michelle R.                                        Check all that apply.
          8662 Beverly Lane                                           Contingent
          Dublin, CA 94568                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.1027   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Vargas Torres, Andrea F.                                   Check all that apply.
          5825 Toscana Pl                                             Contingent
          APT 211                                                     Unliquidated
          Margate, FL 33063                                           Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1028   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Vargas, Jennifer                                           Check all that apply.
          1445 S. Hart Drive                                          Contingent
          Mountain House, CA 95391                                    Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1029   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Vasquez, Justina M.                                        Check all that apply.
          21220 11th Dr. SE                                           Contingent
          Bothell, WA 98021                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1030   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Vazquez, Josephine                                         Check all that apply.
          738 W. Streamwood Blvd.                                     Contingent
          Unite A                                                     Unliquidated
          Streamwood, IL 60107                                        Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.1031   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Vazquez, Patricia M.                                       Check all that apply.
          6081 Fair Ave                                               Contingent
          Newark, CA 94560                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1032   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Vazquez, Sandra                                            Check all that apply.
          1805 Standing Rock Circle                                   Contingent
          Winter Garden, FL 34787                                     Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1033   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Vazquez, Venus C.                                          Check all that apply.
          1235 Creek Woods Cir                                        Contingent
          Saint Cloud, FL 34772                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1034   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Vega, Isabelle                                             Check all that apply.
          2021 W ATLANTIC BLVD APT 111                                Contingent
          Pompano Beach, FL 33317                                     Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.1035   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Vela, Adalicia                                             Check all that apply.
          12713 W. Grove Ave.                                         Contingent
          Waukegan, IL 60085                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1036   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Velasquez-Herrera, Diana                                   Check all that apply.
          2518 N.Parkside                                             Contingent
          Chicago, IL 60639                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1037   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Vickers, Derek A.                                          Check all that apply.
          4606 N. Bemis St.                                           Contingent
          Spokane, WA 99205                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1038   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Vidal, Sheila A.                                           Check all that apply.
          13011 Merridian East                                        Contingent
          Apt W105                                                    Unliquidated
          Puyallup, WA 98373                                          Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.1039   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Villa, Irma                                                Check all that apply.
          2132 N. Menard                                              Contingent
          Chicago, IL 60639                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1040   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Villamonte, Janelle M.                                     Check all that apply.
          5162 Amberwood Circle                                       Contingent
          Fairfield, CA 94534                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1041   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Virginia Department of Revenue                             Check all that apply.
                                                                      Contingent
                                                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Taxing authority
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.1042   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Vonasek, Salina                                            Check all that apply.
          1153 Lucero Drive                                           Contingent
          Hollister, CA 95023                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.1043   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Vu, Catherine                                              Check all that apply.
          7829 118th Ave SE                                           Contingent
          Renton, WA 98056                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1044   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Wachewicz, Rita                                            Check all that apply.
          2 Red Oak Court                                             Contingent
          Buffalo Grove, IL 60089                                     Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1045   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Wade, Natalia                                              Check all that apply.
          7223 N. Claremont Ave                                       Contingent
          Chicago, IL 60645                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1046   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Waibel, Laura L.                                           Check all that apply.
          1749 NE 150th Street                                        Contingent
          Seattle, WA 98155                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.1047   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Walker, Kelly                                              Check all that apply.
          7220 N. Fotheringham St                                     Contingent
          Spokane, WA 99208                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1048   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Wallace, Georgina                                          Check all that apply.
          4012 W 192nd Place                                          Contingent
          Lansing, IL 60438                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1049   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Walsh, Nora M.                                             Check all that apply.
          2430 N. Kennicott Dr                                        Contingent
          Unit 2A                                                     Unliquidated
          Arlington Heights, IL 60004                                 Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1050   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Walters, Brian N.                                          Check all that apply.
          416 228th St. SW                                            Contingent
          Unit G101                                                   Unliquidated
          Bothell, WA 98021                                           Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.1051   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Walthour, Krystal-Marie H                                  Check all that apply.
          1795 NE 205th Street                                        Contingent
          Apt 212                                                     Unliquidated
          Shoreline, WA 98155                                         Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1052   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Wang, Angela                                               Check all that apply.
          9534 48th Ave NE                                            Contingent
          Seattle, WA 98115                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1053   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Wang, Jiarui                                               Check all that apply.
          286 Rockwood Court                                          Contingent
          Yorktown Heights, NY 10598                                  Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1054   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Wardak, Farida                                             Check all that apply.
          27734 Fallen Leaf Court                                     Contingent
          Hayward, CA 94542                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.1055   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Washington D.C. Department of                              Check all that apply.
          Revenue                                                     Contingent
                                                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Taxing authority
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.1056   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Washington, Christina                                      Check all that apply.
          430 Union Ave                                               Contingent
          Peekskill, NY 10566                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1057   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Waters, Philip E.                                          Check all that apply.
          2320 Middle Street                                          Contingent
          Sullivans Island, SC 29482                                  Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1058   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Watson, Tiffany D.                                         Check all that apply.
          2565 Greenlawn Dr                                           Contingent
          Mobile, AL 36605                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.1059   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Waz, Anna                                                  Check all that apply.
          1406 W. Superior St.                                        Contingent
          Apt. 3R                                                     Unliquidated
          Chicago, IL 60642                                           Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1060   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Webber, Valeri                                             Check all that apply.
          140 Uwapo Rd 39-101                                         Contingent
          Kilauea, HI 96754                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1061   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                             $0.00     $0.00
          Weinberg, Mark H.                                          Check all that apply.
          12341 E. Altadena Ave.                                      Contingent
          Scottsdale, AZ 85259                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1062   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Welborn, Holly                                             Check all that apply.
          18621 Explorer Dr.                                          Contingent
          Loxley, AL 36551                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.1063   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Welch, Rebecca                                             Check all that apply.
          2804 Pyracantha Court                                       Contingent
          Mount Pleasant, SC 29466                                    Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1064   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Welsh, Jessica G.                                          Check all that apply.
          12321 55th Dr. SE                                           Contingent
          Snohomish, WA 98296                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1065   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Wheeler, Kenyatta                                          Check all that apply.
          14718 Bannock Hills Drive                                   Contingent
          Charlotte, NC 28278                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1066   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          White, Alanna N.                                           Check all that apply.
          1801 Indigo Market Dr                                       Contingent
          No. 114                                                     Unliquidated
          Mount Pleasant, SC 29464                                    Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.1067   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          White, Amanda                                              Check all that apply.
          878 NW 107th Lane                                           Contingent
          Coral Springs, FL 33071                                     Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1068   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Whitfield, Jenna                                           Check all that apply.
          229 Westmoreland Dr                                         Contingent
          Wilmette, IL 60091                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1069   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Wifler, Amanda                                             Check all that apply.
          602 S. Milwaukee Ave.                                       Contingent
          Apt. B                                                      Unliquidated
          Libertyville, IL 60048                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1070   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Wiles, John                                                Check all that apply.
          PO Box 427                                                  Contingent
          Elkin, NC 28621                                             Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.1071   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Wilkerson, Jessica                                         Check all that apply.
          2727 Seastrand Lane                                         Contingent
          Mount Pleasant, SC 29466                                    Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1072   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Williams, Jazmin A.                                        Check all that apply.
          1125 12th Ave Unit 127                                      Contingent
          Seattle, WA 98122                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1073   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Williams, Jennifer                                         Check all that apply.
          3923 Pemberly Pines Circle                                  Contingent
          Saint Cloud, FL 34769                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1074   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Williams, Jessica                                          Check all that apply.
          2700 Balboa Ct.                                             Contingent
          Antioch, CA 94509                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.1075   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Williams, Nadia M.                                         Check all that apply.
          12226 Nw 30th St.                                           Contingent
          Coral Springs, FL 33065                                     Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1076   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Williams, Sandra                                           Check all that apply.
          10849 McDavid Road                                          Contingent
          Wilmer, AL 36587                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1077   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Williams, Staisha                                          Check all that apply.
          Thunderbird Parkway SW                                      Contingent
          Apt 307                                                     Unliquidated
          Lakewood, WA 98498                                          Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1078   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Williams, Stephanie D.                                     Check all that apply.
          595 Turnburry Lane                                          Contingent
          Antioch, IL 60002                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.1079   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Williamson, Marcus                                         Check all that apply.
          52 Brookhill Circle                                         Contingent
          Nashville, TN 37215                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1080   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Windham, Richard                                           Check all that apply.
          109 NE 20th St                                              Contingent
          Wilton Manors, FL 33305                                     Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1081   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Wineke, Kenzi                                              Check all that apply.
          4715 42nd Ave SW                                            Contingent
          Apt 316                                                     Unliquidated
          Seattle, WA 98116                                           Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1082   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Winkelman, Bryce E.                                        Check all that apply.
          12636 100th Ln NE                                           Contingent
          F227                                                        Unliquidated
          Kirkland, WA 98034                                          Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.1083   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Winkler, Joanne                                            Check all that apply.
          625 Kirkstone Court                                         Contingent
          San Ramon, CA 94582                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1084   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Winkler, Shamaila                                          Check all that apply.
          15403 West 102nd Place                                      Contingent
          Dyer, IN 46311                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1085   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Winroth, Ashley                                            Check all that apply.
          880D. Sherman Ave                                           Contingent
          Apt 1                                                       Unliquidated
          Corona, CA 92882                                            Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1086   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Woelfle, Kyle D.                                           Check all that apply.
          10207 Sweet Place                                           Contingent
          Charleston, SC 29492                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.1087   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Wolfe, Mariah R.                                           Check all that apply.
          570 Commercial Ave                                          Contingent
          South San Francisco, CA 94080                               Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1088   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Wolfe, Stacy L.                                            Check all that apply.
          334 Deep River Road                                         Contingent
          Summerville, SC 29486                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1089   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Wood, Bailey D.                                            Check all that apply.
          1013 E. Harrison                                            Contingent
          Tacoma, WA 98404                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1090   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Woodgeard, Jessica R.                                      Check all that apply.
          1014 E. Sanson                                              Contingent
          Spokane, WA 99207                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.1091   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Worku, Ewnet                                               Check all that apply.
          12045 Greenwood Ave N                                       Contingent
          Seattle, WA 98133                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1092   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Worthen, Sarah M.                                          Check all that apply.
          1255 Harrison St.                                           Contingent
          Apt 322                                                     Unliquidated
          Seattle, WA 98109                                           Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1093   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Wright, Paulette                                           Check all that apply.
          9390 Burnt Tree Drive                                       Contingent
          Mobile, AL 36695                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1094   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Wroblewski, Carol                                          Check all that apply.
          5340 NW 32nd Ct.                                            Contingent
          Margate, FL 33063                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.1095   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Wurst Kimberly A.                                          Check all that apply.
          1428 Dingens Ave.                                           Contingent
          Windermere, FL 34786                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1096   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Xavier, Pedro A.                                           Check all that apply.
          30 Hartsdale Ave                                            Contingent
          Apt. 2A                                                     Unliquidated
          Hartsdale, NY 10530                                         Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1097   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Yahiro-Leibowitz, Alana S.                                 Check all that apply.
          222 Rosa Corte                                              Contingent
          Walnut Creek, CA 94598                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1098   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Yarnell II, Michael H.                                     Check all that apply.
          378 Allen Way                                               Contingent
          Benicia, CA 94510                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.1099   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Yoo, Jaehoon                                               Check all that apply.
          22623 84th Ave W.                                           Contingent
          Edmonds, WA 98026                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1100   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Young, Cindy J.                                            Check all that apply.
          1225 Prescott Ln                                            Contingent
          Hampshire, IL 60140                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1101   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Zainea, Cristina                                           Check all that apply.
          6308 W. Gunnison St.                                        Contingent
          Chicago, IL 60630                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1102   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Zakrajsek, Tanya                                           Check all that apply.
          9332 318h PL NE                                             Contingent
          Carnation, WA 98014                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       IntegraMed America, Inc.                                                                        Case number (if known)   20-11170 (LSS)
              Name

 2.1103   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Zambrano-Hernandez, Leonor E.                              Check all that apply.
          3223 Oak Ave.                                               Contingent
          Brookfield, IL 60513                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1104   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Zamilpa, Yuri                                              Check all that apply.
          5748 S. Massaoit Ave.                                       Contingent
          Chicago, IL 60638                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1105   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Zaragoza, Cristina B.                                      Check all that apply.
          2250 Vegas Ave                                              Contingent
          Castro Valley, CA 94546                                     Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1106   Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown       Unknown
          Zenone, Mistie R.                                          Check all that apply.
          6100 Soundview Drive                                        Contingent
          Apt 15G                                                     Unliquidated
          Gig Harbor, WA 98335                                        Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       IntegraMed America, Inc.                                                                        Case number (if known)   20-11170 (LSS)
              Name

 2.1107    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                         Unknown          Unknown
           Zherebnenkov, Irina                                       Check all that apply.
           1208 Livorna Road                                          Contingent
           Alamo, CA 94507                                            Unliquidated
                                                                      Disputed
           Date or dates debt was incurred                           Basis for the claim:
                                                                     Wages
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                        No
           unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1108    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                         Unknown          Unknown
           Zielinski, Elizabeth A.                                   Check all that apply.
           24631 W. Rollins Rd.                                       Contingent
           Round Lake, IL 60073                                       Unliquidated
                                                                      Disputed
           Date or dates debt was incurred                           Basis for the claim:
                                                                     Wages
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                        No
           unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1109    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                         Unknown          Unknown
           Zilar, Leanne M.                                          Check all that apply.
           52050 Eagleview Lane E                                     Contingent
           Ford, WA 99013                                             Unliquidated
                                                                      Disputed
           Date or dates debt was incurred                           Basis for the claim:
                                                                     Wages
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                        No
           unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.1110    Priority creditor's name and mailing address              As of the petition filing date, the claim is:                         Unknown          Unknown
           Zornow, Alisa J.                                          Check all that apply.
           8305 Coral Drive                                           Contingent
           Harwood Heights, IL 60706                                  Unliquidated
                                                                      Disputed
           Date or dates debt was incurred                           Basis for the claim:
                                                                     Wages
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                        No
           unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes


 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
      3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
         out and attach the Additional Page of Part 2.
                                                                                                                                                     Amount of claim




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 Debtor       IntegraMed America, Inc.                                                                Case number (if known)            20-11170 (LSS)
              Name

 3.1      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,415.33
          1 Touch Office Technology                                           Contingent
          370 Amapola Ave.                                                    Unliquidated
          Torrance, CA 90501                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.2      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,411.03
          9W Halo Opco LP dba Angelica                                        Contingent
          PO Box 532268                                                       Unliquidated
          Atlanta, GA 30353                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.3      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $393.67
          A Courteous Communications, Corp                                    Contingent
          2810 East Robinson Corp                                             Unliquidated
          Orlando, FL 32803                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.4      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $168.50
          A Treehouse Exotic Plants & Trees Inc.                              Contingent
          PO Box 140024                                                       Unliquidated
          Garden City, ID 83714                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $175.18
          A-B Communciations                                                  Contingent
          PO Box 1165                                                         Unliquidated
          Novato, CA 94948                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $26.11
          ABC Imaging of Washington Inc.                                      Contingent
          PO Box 2345                                                         Unliquidated
          West Chester, PA 19380                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $96.67
          ABC Stamp                                                           Contingent
          407 N. Orchard St.                                                  Unliquidated
          Boise, ID 83706                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       IntegraMed America, Inc.                                                                Case number (if known)            20-11170 (LSS)
              Name

 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $6,705.00
          ABM Parking Services                                                Contingent
          6330 San Vicente Blvd                                               Unliquidated
          Parking Office                                                      Disputed
          Los Angeles, CA 90048
                                                                             Basis for the claim:    Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $17,440.00
          ABM Parking Services                                                Contingent
          180 N. LaSalle St.                                                  Unliquidated
          Suite 1700                                                          Disputed
          North Granby, CT 06060-1000
                                                                             Basis for the claim:    Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,297.40
          ABS Communications Inc.                                             Contingent
          PO Box 35612                                                        Unliquidated
          Seattle, WA 98125                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,800.00
          Absolute Performance, Inc.                                          Contingent
          12303 Airport Way                                                   Unliquidated
          Suite 100                                                           Disputed
          Broomfield, CO 80021
                                                                             Basis for the claim:    Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $528.08
          ACC Business                                                        Contingent
          PO Box 105306                                                       Unliquidated
          Atlanta, GA 30348                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $591.03
          Access                                                              Contingent
          PO Box 101048                                                       Unliquidated
          Atlanta, GA 30392                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $300.00
          Accounting For You, LLC                                             Contingent
          139 W. Frostad Rd.                                                  Unliquidated
          Oak Harbor, WA 98277                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       IntegraMed America, Inc.                                                                Case number (if known)            20-11170 (LSS)
              Name

 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,382.50
          Active Cyber, LLC                                                   Contingent
          1600 Dallas Parkway                                                 Unliquidated
          Suite 550                                                           Disputed
          Dallas, TX 75248
                                                                             Basis for the claim:    Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $62.60
          ADT Security Services                                               Contingent
          PO Box 371878                                                       Unliquidated
          Pittsburgh, PA 15250                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $18,770.00
          Advagenix                                                           Contingent
          9430 Key West Ave.                                                  Unliquidated
          Suite 130                                                           Disputed
          Rockville, MD 20850
                                                                             Basis for the claim:    Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $16,902.90
          Aerotex                                                             Contingent
          3689 Collection Ctr Dr.                                             Unliquidated
          Chicago, IL 60693                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $70.00
          Affinity Systems, LLC                                               Contingent
          Security 101                                                        Unliquidated
          Pine Blvd.                                                          Disputed
          Charlotte, NC 28273
                                                                             Basis for the claim:    Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $10,694.34
          AFLAC                                                               Contingent
          Services Road                                                       Unliquidated
          Columbus, GA 31999                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $70.35
          Agiliti Health, Inc.                                                Contingent
          PO Box 851313                                                       Unliquidated
          Minneapolis, MN 55485                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.22     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $177.00
          Air Source Industries Inc.                                          Contingent
          3976 Cherry Ave.                                                    Unliquidated
          Long Beach, CA 90807                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.23     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $389.60
          Air-Tite                                                            Contingent
          565 Central Drive                                                   Unliquidated
          Virginia Beach, VA 23454                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.24     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $13,065.14
          Airgas East                                                         Contingent
          PO Box 734445                                                       Unliquidated
          Chicago, IL 60673                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.25     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,877.11
          Airgas Puritan Medical                                              Contingent
          PO Box 734672                                                       Unliquidated
          Dallas, TX 75373                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.26     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,258.46
          Airgas USA, LLC                                                     Contingent
          PO Box 734671                                                       Unliquidated
          Dallas, TX 75373                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.27     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $5,285.67
          Airgas USA, LLC                                                     Contingent
          PO Box 102289                                                       Unliquidated
           CA 91189                                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.28     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $537.94
          Airgas USA, LLC                                                     Contingent
          PO Box 532609                                                       Unliquidated
          Atlanta, GA 30353                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.29     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,721.97
          Airgas, Inc.                                                        Contingent
          PO Box 734672                                                       Unliquidated
          Dallas, TX 75373                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.30     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $9,219.90
          Airgas, USA, LLC                                                    Contingent
          PO Box 102289                                                       Unliquidated
          Pasadena, CA 91189                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.31     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $275.00
          Alexander Thompson Arnold PLLC                                      Contingent
          909 Harpeth Valley Place                                            Unliquidated
          Nashville, TN 37221                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.32     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $269.00
          Alford Leasing Company                                              Contingent
          PO Box 90755                                                        Unliquidated
          Raleigh, NC 27675                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.33     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $110.00
          All Physician's Exchange                                            Contingent
          3817 Atlantic Ave.                                                  Unliquidated
          Long Beach, CA 90807                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.34     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $119.43
          Allegra Design Marketing & Print                                    Contingent
          1205 Two Island Court                                               Unliquidated
          Suite 202                                                           Disputed
          Mount Pleasant, SC 29466
                                                                             Basis for the claim:    Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.35     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,045.95
          Alliant Insurance Services                                          Contingent
          PO Box 840919                                                       Unliquidated
          Dallas, TX 75284                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       IntegraMed America, Inc.                                                                Case number (if known)            20-11170 (LSS)
              Name

 3.36     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,000.00
          Allison Kay Rodgers, MD                                             Contingent
          1520 Gordon Terrace                                                 Unliquidated
          Deerfield, IL 60015                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.37     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $732.54
          Allscripts                                                          Contingent
          24630 Network Place                                                 Unliquidated
          Chicago, IL 60673                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.38     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $204.00
          Alton Self Storage                                                  Contingent
          2215 Alton Parkway                                                  Unliquidated
          Irvine, CA 92606                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.39     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $772.51
          Amazon Capital Services, Inc.                                       Contingent
          PO Box 035184                                                       Unliquidated
          Seattle, WA 98124                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.40     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,998.67
          Amazon Capital Services, Inc.                                       Contingent
          PO Box 035184                                                       Unliquidated
          Seattle, WA 98124                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.41     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $44,616.50
          Amazon Web Services, Inc.                                           Contingent
          PO Box 84023                                                        Unliquidated
          Seattle, WA 98124                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.42     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $6,000.00
          Amber Vazquez                                                       Contingent
          4995 Lambs Road                                                     Unliquidated
          Apt 14-C                                                            Disputed
          North Charleston, SC 29418
                                                                             Basis for the claim:    Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 3.43     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $6,000.00
          Amber Vazquez                                                       Contingent
          4995 Lambs Road                                                     Unliquidated
          Apt 14-C                                                            Disputed
          North Charleston, SC 29418
                                                                             Basis for the claim:    Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.44     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $8,500.00
          Amedia LLC                                                          Contingent
          4948 Saint Elmo Ave.                                                Unliquidated
          Bethesda, MD 20814                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.45     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $919.00
          American Association of Bioanalysts                                 Contingent
          5615 Kirby Dr.                                                      Unliquidated
          Suite 870                                                           Disputed
          Houston, TX 77005
                                                                             Basis for the claim:    Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.46     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,192.00
          American Bankers Insurance                                          Contingent
          PO Box 731178                                                       Unliquidated
          Dallas, TX 75373                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.47     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $5,253.75
          American Expediting                                                 Contingent
          801 N. Primos Ave.                                                  Unliquidated
          Folcroft, PA 19032                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.48     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,473.85
          American Express                                                    Contingent
          PO Box 1270                                                         Unliquidated
          Newark, NJ 07101                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.49     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $61,772.85
          American Express                                                    Contingent
          PO Box 0001                                                         Unliquidated
          Los Angeles, CA 90096                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.50     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $220.00
          American Pond & Fountain Works                                      Contingent
          9985 Avenida Magnifica                                              Unliquidated
          San Diego, CA 92131                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.51     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $150.00
          American Society for Repro Medicine                                 Contingent
          1209 Montgomery Highway                                             Unliquidated
          Birmingham, AL 35216                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.52     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,275.52
          American Systems                                                    Contingent
          999 Harbor Dr.                                                      Unliquidated
          West Columbia, SC 29169                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.53     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $10,834.50
          American University Wamu 88.5                                       Contingent
          PO Box 98252                                                        Unliquidated
          Washington, DC 20090                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.54     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,660.00
          Ameripark LLC                                                       Contingent
          5445 Meridian Park Dr. NE P100                                      Unliquidated
          Atlanta, GA 30342                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.55     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,500.00
          Andrew Young                                                        Contingent
          1149 W. 250 N                                                       Unliquidated
          Springville, UT 84663                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.56     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $20,800.00
          Anesthesia Connections Virginia LLC                                 Contingent
          12613 CHESDIN LANDING DRIVE                                         Unliquidated
          Chesterfield, VA 23838                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.57     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,219.92
          Anexeon, LLC                                                        Contingent
          8704 Spanish Ridge Ave.                                             Unliquidated
          Suite 100                                                           Disputed
          Las Vegas, NV 89148
                                                                             Basis for the claim:    Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.58     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $982.99
          Angelica Corporation                                                Contingent
          PO Box 51669                                                        Unliquidated
          Los Angeles, CA 90051                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.59     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $256.06
          Angelica Textile Services                                           Contingent
          PO Box 532268                                                       Unliquidated
          Atlanta, GA 30353                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.60     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $178.00
          Anthony Lee Asso.                                                   Contingent
          7828 Beechcraft Ave.                                                Unliquidated
          Gaithersburg, MD 20879                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.61     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $178.00
          Anthony Lee Associates, Inc.                                        Contingent
          7828 Beechcraft Ave.                                                Unliquidated
          Gaithersburg, MD 20879                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.62     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,115.32
          Anti-Crime Lock & Alarm                                             Contingent
          PO Box 6084                                                         Unliquidated
          Silver Spring, MD 20916                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.63     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $51,423.75
          Apatoff, Peters, LLC                                                Contingent
          9600 Blackwell Rd                                                   Unliquidated
          Suite 250                                                           Disputed
          Rockville, MD 20850
                                                                             Basis for the claim:    Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 3.64     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $19,026.18
          APC II
          HEALTHCARE PROPERTY MGRS. OF                                        Contingent
          AMERICA,LLC                                                         Unliquidated
          29126 NETWORK PLACE                                                 Disputed
          Chicago, IL 60673
                                                                             Basis for the claim:    Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.65     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,130.97
          Apex Medical Technologies Inc.                                      Contingent
          10064 Mesa Ridge Court                                              Unliquidated
          Suite 202                                                           Disputed
          San Diego, CA 92121
                                                                             Basis for the claim:    Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.66     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $129.00
          Apothecary Services Inc.                                            Contingent
          Rosemont Pharmacy                                                   Unliquidated
          PO Box 282                                                          Disputed
          Newtown Square, PA 19073
                                                                             Basis for the claim:    Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.67     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $300.29
          Aqua Pennsylvania Inc.                                              Contingent
          PO Box 70279                                                        Unliquidated
          Philadelphia, PA 19176                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.68     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,303.00
          Arch Advertising Inc.                                               Contingent
          8 W Monroe St.                                                      Unliquidated
          Suite 700                                                           Disputed
          Chicago, IL 60603
                                                                             Basis for the claim:    Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.69     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $450.80
          Around the Clock Answering Service                                  Contingent
          PO Box 3361                                                         Unliquidated
          Kalamazoo, MI 49003                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.70     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $19,516.96
          Aspen Ridge 165 LLC                                                 Contingent
          7420 Hayward Road, Suite 203                                        Unliquidated
          Frederick, MD 21702                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.71     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $200.00
          ASRM_CV                                                             Contingent
          1209 Montgomery Highway                                             Unliquidated
          Birmingham, AL 35216                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.72     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $171.29
          AT&T                                                                Contingent
          PO Box 105262                                                       Unliquidated
          Atlanta, GA 30348                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.73     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,825.80
          AT&T                                                                Contingent
          PO Box 5025                                                         Unliquidated
          Carol Stream, IL 60197                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.74     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $58.85
          AT&T                                                                Contingent
          PO Box 105251                                                       Unliquidated
          Atlanta, GA 30348                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.75     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $127,073.33
          Atul Karkhanis Architects Ltd                                       Contingent
          2514 W. Peterson Ave.                                               Unliquidated
          Chicago, IL 60659                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.76     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,692.36
          Audi Financial Services                                             Contingent
          PO Box 5215                                                         Unliquidated
          Carol Stream, IL 60197                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.77     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $213.00
          Audit Micro Controls Inc.                                           Contingent
          PO Box 3369                                                         Unliquidated
          Cave Spring, GA 30124                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.78     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $71,397.45
          Autho Inc.                                                          Contingent
          10800 NE 8th St.                                                    Unliquidated
          Suite 700                                                           Disputed
          Bellevue, WA 98004
                                                                             Basis for the claim:    Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.79     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,500.00
          Autotask Corporation                                                Contingent
          PO Box 21921                                                        Unliquidated
          New York, NY 10087                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.80     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,080.00
          Avella of St. Louis, Inc.                                           Contingent
          450 N. New Ballas Rod                                               Unliquidated
          Ste 256                                                             Disputed
          63141
                                                                             Basis for the claim:    Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.81     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $15,900.00
          Axiom Global, Inc.                                                  Contingent
          PO Box 8439                                                         Unliquidated
          Pasadena, CA 91109                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.82     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,955.81
          Aztec Leasing Inc.                                                  Contingent
          PO Box 98813                                                        Unliquidated
          Las Vegas, NV 89193                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.83     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $579.00
          Backflow Technology LLC                                             Contingent
          PO Box 1575                                                         Unliquidated
          Sterling, VA 20167                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.84     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $23,075.80
          Ballston Metro Center LLC                                           Contingent
          PO Box 536662                                                       Unliquidated
          Pittsburgh, PA 15253                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.85     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,051.19
          Bank of America                                                     Contingent
          PO Box 15220                                                        Unliquidated
          Wilmington, DE 19886                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.86     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $7,841.37
          Barnes & Thornburg LLP                                              Contingent
          One North Wacker Drive                                              Unliquidated
          Suite 44000                                                         Disputed
          Chicago, IL 60606
                                                                             Basis for the claim:    Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.87     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,550.00
          Barnett Medical Services LLC                                        Contingent
          PO Box 4436                                                         Unliquidated
          Hayward, CA 94540                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.88     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $19,838.50
          Barry Mirkin                                                        Contingent
          542 Lakeside Dr                                                     Unliquidated
          No. 2                                                               Disputed
          Sunnyvale, CA 94085
                                                                             Basis for the claim:    Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.89     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,025.64
          Bates Electric, Inc.                                                Contingent
          7901 Hopi Place                                                     Unliquidated
          Tampa, FL 33634                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.90     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,381.94
          Bates Landscaping Ltd                                               Contingent
          815 Lincoln Ave.                                                    Unliquidated
          West Chester, PA 19380                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.91     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,894.04
          BB&B Inc.                                                           Contingent
          929 W. Street, Suite 106                                            Unliquidated
          Annapolis, MD 21401                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.92     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $20,200.00
          BDO USA LLP                                                         Contingent
          PO Box 642743                                                       Unliquidated
          Pittsburgh, PA 15264                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.93     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $17,302.29
          BEACHLEY BUSINESS & MEDICAL FORMS,                                  Contingent
          INC                                                                 Unliquidated
          Po Box 987                                                          Disputed
          Bel Air, MD 21014
                                                                             Basis for the claim:    Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.94     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $560.00
          Beacon Medaes LLC                                                   Contingent
          Dept 3234                                                           Unliquidated
          PO Box 123234                                                       Disputed
           TX 75512
                                                                             Basis for the claim:    Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.95     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $12,259.85
          Beco Management
          WACHOVIA BANK/BRIT- CENTURY PLAZA                                   Contingent
          LLC                                                                 Unliquidated
          PO Box 768817                                                       Disputed
          Baltimore, MD 21275
                                                                             Basis for the claim:    Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.96     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,636.27
          Benchmark Systems Inc.                                              Contingent
          1112 Church St.                                                     Unliquidated
          Lynchburg, VA 24504                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.97     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,313.00
          Benefitplan Manager                                                 Contingent
          100 Valley Road, Suite 202                                          Unliquidated
          Mount Arlington, NJ 07856                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.98     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,025.33
          Berkeley Medevices                                                  Contingent
          1330 South 51st Street                                              Unliquidated
          Richmond, CA 94804                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.99     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $4,162.04
          Berton N. Ring, P.C.                                                Contingent
          123 W. Madison Street                                               Unliquidated
          15th Floor                                                          Disputed
          Chicago, IL 60602
                                                                             Basis for the claim:    Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.100    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $991.16
          Best Office Coffee Service                                          Contingent
          13130 SW Terrace                                                    Unliquidated
          Miami, FL 33186                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.101    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $29.81
          BETHANY BONNE                                                       Contingent
          461 W. 13490 S                                                      Unliquidated
          APT. B219                                                           Disputed
          DRAPER, UT 84020
                                                                             Basis for the claim:    Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.102    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,480.61
          Bio Rad Laboratories                                                Contingent
          PO BOx 849740                                                       Unliquidated
          Los Angeles, CA 90084                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.103    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,839.00
          Block Imaging Parts and Service Inc.                                Contingent
          1845 Cedar St                                                       Unliquidated
          Holt, MI 48842                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.104    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $57,595.72
          Blum Shapiro & Company                                              Contingent
          Acct Rec Dept 106067                                                Unliquidated
          PO Box 150489                                                       Disputed
          Hartford, CT 06115
                                                                             Basis for the claim:    Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.105    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $230.00
          Boland                                                              Contingent
          PO Box 223862                                                       Unliquidated
          Chantilly, VA 20153                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.106    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,075.00
          Borderlan, Inc.                                                     Contingent
          950 Boardwalk                                                       Unliquidated
          Suite 300                                                           Disputed
          San Marcos, CA 92078
                                                                             Basis for the claim:    Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.107    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,000.00
          BRIAN KAPLAN, MD                                                    Contingent
          77 E. WALTON ST. # 27B                                              Unliquidated
          CHICAGO, IL 60611                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.108    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $838.09
          Brighthouse Networks                                                Contingent
          PO Box 790450                                                       Unliquidated
          Saint Louis, MO 63179                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.109    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,700.00
          Brio Benefit Consulting, Inc.                                       Contingent
          30 Broad St. 35th Fl.                                               Unliquidated
          New York, NY 10004                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.110    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,037.89
          Callsource                                                          Contingent
          5601 Lindero Canyon Rd.                                             Unliquidated
          Suite 200                                                           Disputed
          Thousand Oaks, CA 91362
                                                                             Basis for the claim:    Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.111    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $6,611.50
          Candler Hospital                                                    Contingent
          PO Box 407                                                          Unliquidated
          Birmingham, AL 35246                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.112    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $643.75
          Cantey Technology Consulting LLC                                    Contingent
          2702 Azalea Dr                                                      Unliquidated
          North Charleston, SC 29405                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.113    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,840.00
          Capstar Radio Operating                                             Contingent
          iHeartmedia Raleigh                                                 Unliquidated
          PO Box 406372                                                       Disputed
          Atlanta, GA 30384
                                                                             Basis for the claim:    Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.114    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,818.85
          Captial One Bank                                                    Contingent
          PO Box 71083                                                        Unliquidated
          Charlotte, NC 28272                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.115    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $50,850.00
          Carilion Clinic
          DEPT. OG OB/GYN, 13TH FLOOR                                         Contingent
          ATTN:TERESA                                                         Unliquidated
          1906 Bellevuew Ave. SE                                              Disputed
          Roanoke, VA 24014
                                                                             Basis for the claim:    Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.116    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $85.02
          Carolina Office Systems, Inc.                                       Contingent
          PO Box 936730                                                       Unliquidated
          Atlanta, GA 31193                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.117    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $138.00
          Carolina Waste & Recyling Inc.                                      Contingent
          5264 B International Blvd.                                          Unliquidated
          Suite 100                                                           Disputed
          North Charleston, SC 29418
                                                                             Basis for the claim:    Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.118    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $180.00
          Cascade Healthcare Services LLC                                     Contingent
          PO Box 7333                                                         Unliquidated
          San Francisco, CA 94120                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.119    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $8,563.75
          Caton's Ridge Office Park LLC                                       Contingent
          13580 Group Dr.                                                     Unliquidated
          Suite 100                                                           Disputed
          Woodbridge, VA 22192
                                                                             Basis for the claim:    Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 3.120    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $30,040.31
          CCB Kitzzato LLC                                                    Contingent
          11915 Lagrange Ave.                                                 Unliquidated
          Los Angeles, CA 90025                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.121    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $70.00
          CCF Inc.                                                            Contingent
          500 Arnold Mill Way                                                 Unliquidated
          Suite B                                                             Disputed
          Woodstock, GA 30188
                                                                             Basis for the claim:    Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.122    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $180.00
          Central Parking System                                              Contingent
          PO Box 790401                                                       Unliquidated
          Saint Louis, MO 63179                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.123    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $194.14
          Centurylink                                                         Contingent
          PO Box 52187                                                        Unliquidated
          Phoenix, AZ 85075                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.124    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $36.83
          Centurylink                                                         Contingent
          PO Box 91155                                                        Unliquidated
          Seattle, WA 98111                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.125    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $17,041.34
          Chang Kuo Realty LLC                                                Contingent
          200 West 24th St.                                                   Unliquidated
          Apt 4B                                                              Disputed
          New York, NY 10011
                                                                             Basis for the claim:    Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.126    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $89.52
          Change Healthcare                                                   Contingent
          PO Box 572490                                                       Unliquidated
          Salt Lake City, UT 84157                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.127    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $32,375.39
          Charles Dunn Re Svc Inc. Trust Account                              Contingent
          PROSPECT ONE MED. OFFICE BLDG 3253,                                 Unliquidated
          800W                                                                Disputed
          Los Angeles, CA 90017
                                                                             Basis for the claim:    Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.128    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,166.87
          Chase Auto Finance                                                  Contingent
          PO Box 9001801                                                      Unliquidated
          Louisville, KY 40290                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.129    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $49,706.87
          Chase Card Services                                                 Contingent
          PO Box 6294                                                         Unliquidated
          Carol Stream, IL 60197                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.130    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $96,181.54
          Chicago Kingsbury LLC                                               Contingent
          1040 W. Randolph St.                                                Unliquidated
          Chicago, IL 60607                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.131    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,000.00
          Christopher Sheldon Sipe, M.D.                                      Contingent
          1300 Oxford Lane                                                    Unliquidated
          Glenview, IL 60025                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.132    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $43,917.31
          Cigna                                                               Contingent
          PO Box 644546                                                       Unliquidated
          Pittsburgh, PA 15264                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.133    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $101,812.67
          Cigna                                                               Contingent
          Dept 59                                                             Unliquidated
          Denver, CO 80291                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.134    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,377.53
          Cigna of New York                                                   Contingent
          PO Box 41499                                                        Unliquidated
          Philadelphia, PA 19101                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.135    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $7,340.63
          Cintra Sofrware & Services Inc.                                     Contingent
          Murray Hill Station                                                 Unliquidated
          PO Box 1864                                                         Disputed
          New York, NY 10156
                                                                             Basis for the claim:    Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.136    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $981.21
          Cisco Systems Capital Crp                                           Contingent
          PO Box 41602                                                        Unliquidated
          Philadelphia, PA 19101                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.137    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $84,718.88
          Citrix Systems Inc.                                                 Contingent
          PO Box 931686                                                       Unliquidated
          Atlanta, GA 31193                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.138    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $24.93
          City of Savannah                                                    Contingent
          Utility Services Div.                                               Unliquidated
          PO Box 1968                                                         Disputed
          Savannah, GA 31402
                                                                             Basis for the claim:    Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.139    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $55.37
          City of Warrenville                                                 Contingent
          PO Box 4703                                                         Unliquidated
          Carol Stream, IL 60197                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Taxing Authorigy
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.140    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $10,187.12
          City of Winter Park                                                 Contingent
          PO Box 1986                                                         Unliquidated
          Winter Park, FL 32790                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Taxing Authority
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.141    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,730.28
          Cogent Communications                                               Contingent
          PO Box 791087                                                       Unliquidated
          Baltimore, MD 21279                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.142    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $668.78
          Cole Parmer Instrument Co                                           Contingent
          13927 Collections Center Dr                                         Unliquidated
          Chicago, IL 60693                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.143    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $859.95
          Comcast                                                             Contingent
          PO Box 37601                                                        Unliquidated
          Philadelphia, PA 19101                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.144    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $20,641.12
          Comcast                                                             Contingent
          PO Box 37601                                                        Unliquidated
          Philadelphia, PA 19101                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.145    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,206.02
          Comcast - 34744                                                     Contingent
          PO Box 60533                                                        Unliquidated
          City of Industry, CA 91716                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.146    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $7,441.87
          Commerical Officer Interiors                                        Contingent
          300 Elliott Ave W.                                                  Unliquidated
          Suite 300                                                           Disputed
          Seattle, WA 98119
                                                                             Basis for the claim:    Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.147    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,993.00
          Compliance Control Inc.                                             Contingent
          1595 Cabin Branch Drive                                             Unliquidated
          Hyattsville, MD 20785                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.148    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $28,885.61
          Computer Design Integration, LLC                                    Contingent
          696 Route 46 West                                                   Unliquidated
          Teterboro, NJ 07608                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.149    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $21,543.73
          Concur Technologies, Inc.                                           Contingent
          62157 COLLECTIONS CENTER DRIVE                                      Unliquidated
          Sharon, CT 06069-3000                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    VEndor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.150    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $130,681.54
          Cook Medical LLC                                                    Contingent
          22988 Network Place                                                 Unliquidated
          Chicago, IL 60673                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.151    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $968.24
          Cooper Surgical                                                     Contingent
          PO Box 712280                                                       Unliquidated
          Cincinnati, OH 45271                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.152    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $13,256.91
          Corepoint Health, LLC                                               Contingent
          3010 Gaylord Parkway                                                Unliquidated
          Suite 320                                                           Disputed
          Frisco, TX 75034
                                                                             Basis for the claim:    Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.153    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $296.40
          Corodata Records Management, Inc.                                   Contingent
          PO Box 842638                                                       Unliquidated
          Los Angeles, CA 90084                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.154    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $581.00
          Corporation Service Company                                         Contingent
          PO Box 13397                                                        Unliquidated
          Philadelphia, PA 19101                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.155    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $725.00
          Cosmopolitan Building Services, Inc.                                Contingent
          11 Eton Ct.                                                         Unliquidated
          Barrington, IL 60010                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.156    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,405.00
          Courier Express                                                     Contingent
          PO Box 7058                                                         Unliquidated
          Marietta, GA 30065                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.157    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,137.17
          Cousins Properties LP                                               Contingent
          Meridian Mark Plaza LLC                                             Unliquidated
          3344 PEACHTREE RD NE, STE 1800                                      Disputed
          Atlanta, GA 30326
                                                                             Basis for the claim:    Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.158    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $4,884.59
          Coverall Central Florida                                            Contingent
          2955 Momentum Place                                                 Unliquidated
          Chicago, IL 60689                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.159    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $39,884.20
          Covidien                                                            Contingent
          4642 Collection Center Drive                                        Unliquidated
          Chicago, IL 60693                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.160    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $382.51
          Cox Communications                                                  Contingent
          PO Box 53280                                                        Unliquidated
          Phoenix, AZ 85072                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.161    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $661.00
          CP Technology Group LLC                                             Contingent
          2105 Dabney Road                                                    Unliquidated
          Richmond, VA 23230                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.162    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,043.64
          Cprice Solutions, LLC                                               Contingent
          PO Box 64014                                                        Unliquidated
          Cincinnati, OH 45264                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.163    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $171.10
          Crystal and Sierra Springs                                          Contingent
          PO Box 660579                                                       Unliquidated
          Dallas, TX 75266                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.164    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $131.25
          Culligan Spokane                                                    Contingent
          3728 E. Longfellow Ave.                                             Unliquidated
          Spokane, WA 99217                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.165    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $52.64
          Culligan Water                                                      Contingent
          10817 Courthouse Road                                               Unliquidated
          Fredericksburg, VA 22408                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.166    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $95.00
          Custom Aquarium                                                     Contingent
          226 Lexington Lane                                                  Unliquidated
          Grayslake, IL 60030                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.167    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $33,285.42
          Cyxtera                                                             Contingent
          Savvis Communications, LLC                                          Unliquidated
          13322 COLLECTION CENTER DRIVE                                       Disputed
          Chicago, IL 60693
                                                                             Basis for the claim:    Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.168    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $350.00
          D O Brothers Inc.                                                   Contingent
          PO Box 830                                                          Unliquidated
          Clarcona, FL 32710                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.169    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $326.01
          D Square Energy LLC                                                 Contingent
          201 W North Bend Way                                                Unliquidated
          North Bend, WA 98045                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.170    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $515.44
          Daichs Use, Inc.                                                    Contingent
          DBA FIRST CHOICE COFFEE SERVICES                                    Unliquidated
          3535 COMMERCIAL AVE                                                 Disputed
          Northbrook, IL 60062
                                                                             Basis for the claim:    Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.171    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $340.39
          Dash Courier Service, LLC                                           Contingent
          PO Box 11049                                                        Unliquidated
          Charlotte, NC 28220                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.172    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $32,819.46
          Data Innovations LLC                                                Contingent
          PO Box 101978                                                       Unliquidated
          Atlanta, GA 30392                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.173    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $34,305.45
          Dataprise                                                           Contingent
          PO Box 62550                                                        Unliquidated
          Baltimore, MD 21264                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.174    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $8,229.91
          Datawatch Systems Inc.                                              Contingent
          PO Box 79845                                                        Unliquidated
          Baltimore, MD 21279                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.175    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $90.00
          David E. Ziegler                                                    Contingent
          1703 Southbound Road                                                Unliquidated
          Swansea, SC 29160                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.176    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $731.40
          DCMV Service Corporation                                            Contingent
          JAN-PRO OF DC MD AND VA                                             Unliquidated
          10801 MAIN STREET STE 200                                           Disputed
          Fairfax, VA 22030
                                                                             Basis for the claim:    Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.177    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $11,020.00
          De Lage Landen Financial Services, Inc.                             Contingent
          PO Box 41602                                                        Unliquidated
          Philadelphia, PA 19101                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.178    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $37,313.65
          Dearborn Life Insurance Company                                     Contingent
          36788 Eagle Way                                                     Unliquidated
          Chicago, IL 60678                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.179    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $10,424.78
          Delivery Express                                                    Contingent
          405 Evans Black Drive                                               Unliquidated
          Seattle, WA 98188                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.180    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,237.65
          Dell Financial Services                                             Contingent
          PO Box 5292                                                         Unliquidated
          Carol Stream, IL 60197                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.181    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $5,715.70
          Dell Marketing LP                                                   Contingent
          cDell USA LP                                                        Unliquidated
          PO Box 643561                                                       Disputed
          Pittsburgh, PA 15264
                                                                             Basis for the claim:    Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.182    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $28,320.45
          Denstar, LLC                                                        Contingent
          8310 Bandford Way                                                   Unliquidated
          Raleigh, NC 27615                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.183    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,978.18
          Devine's Pharmacy                                                   Contingent
          1949 Oak Tree Road                                                  Unliquidated
          Edison, NJ 08820                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.184    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $260.50
          Dex Media                                                           Contingent
          PO Box 79167                                                        Unliquidated
          Phoenix, AZ 85062                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.185    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $589.62
          Dialogtech                                                          Contingent
          PO Box 775936                                                       Unliquidated
          Chicago, IL 60677                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.186    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $62.66
          Diamond Springs                                                     Contingent
          PO Box 38668                                                        Unliquidated
          Henrico, VA 23231                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.187    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $4,480.00
          Digital Third Coast Internet Marketing                              Contingent
          2540 W. North Ave.                                                  Unliquidated
          Chicago, IL 60647                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.188    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $7,328.44
          Direct Energy Business                                              Contingent
          PO Box 70220                                                        Unliquidated
          Philadelphia, PA 19176                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.189    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $87.03
          Dish Network                                                        Contingent
          Dept. 0063                                                          Unliquidated
          Palatine, IL 60055                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.190    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $117.00
          Diversified Alarm Service                                           Contingent
          PO Box 777                                                          Unliquidated
          Monterey Park, CA 91754                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.191    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $150.00
          Docugreen Corp                                                      Contingent
          401 E. Las Olas Blvd                                                Unliquidated
          Suite 1400                                                          Disputed
          Fort Lauderdale, FL 33301
                                                                             Basis for the claim:    Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.192    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,430.40
          Dominion Energy                                                     Contingent
          PO Box 100255                                                       Unliquidated
          Columbia, SC 29202                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.193    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,705.50
          Dorsey & Whitney                                                    Contingent
          Po Box 1680                                                         Unliquidated
          Minneapolis, MN 55480                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.194    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $24,781.79
          Douglas Emmett Realty Fund                                          Contingent
          6330 SAN VINCENTE BLVD. STE 220                                     Unliquidated
          Los Angeles, CA 90048                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.195    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $200.00
          DR. ELIE HOBEIKA                                                    Contingent
          9715 WOOD DRIVE, #910                                               Unliquidated
          SKOKIE, IL 60077                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.196    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $833.33
          Dr. Lisa Tucker                                                     Contingent
          8501 Punta Lora                                                     Unliquidated
          Pensacola, FL 32514                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.197    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $46.96
          DS Waters of America, Inc.                                          Contingent
          dba Crystal Springs                                                 Unliquidated
          PO Box 660579                                                       Disputed
          Dallas, TX 75266
                                                                             Basis for the claim:    Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.198    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $16,611.82
          Dxnow Inc.                                                          Contingent
          401 Professional Dr.                                                Unliquidated
          Suite 130                                                           Disputed
          Gaithersburg, MD 20879
                                                                             Basis for the claim:    Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.199    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,015.33
          Dympash Global Inc.                                                 Contingent
          PO Box 61377                                                        Unliquidated
          Harrisburg, PA 17106                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.200    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $600.00
          East Idaho News                                                     Contingent
          390 W Sunnyside Ave.                                                Unliquidated
          Idaho Falls, ID 83402                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.201    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $14,814.19
          East West Bank                                                      Contingent
          PO Box 60021                                                        Unliquidated
          City of Industry, CA 91716                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.202    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $211.40
          EBSCO Reception Room                                                Contingent
          Subscription Services                                               Unliquidated
          PO Box 830460                                                       Disputed
          Birmingham, AL 35283
                                                                             Basis for the claim:    Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.203    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,988.00
          Ecoast Networks                                                     Contingent
          2436 N. Federal Highway No. 406                                     Unliquidated
          Pompano Beach, FL 33064                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.204    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,000.00
          EDWARD MARUT, MD                                                    Contingent
          790 ASH ST.                                                         Unliquidated
          WINNETKA, IL 60093                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.205    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $152,880.00
          Eisneramper LLP                                                     Contingent
          PO Box 360635                                                       Unliquidated
          Pittsburgh, PA 15251                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.206    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $11,732.50
          Ellenoff Grossman & Schole LLP                                      Contingent
          1345 AVENUE OF THE AMERICAS                                         Unliquidated
          New York, NY 10105                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.207    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $12,150.00
          EMILY AND CHRISTOPHER GILMORE                                       Contingent
          3561 CEDAR SPRINGS DR SW                                            Unliquidated
          CONCORD, NC 28027                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.208    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $81.49
          Empire Water                                                        Contingent
          46 Cain Drive                                                       Unliquidated
          Plainview, NY 11803                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.209    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $44.52
          Encompass Group LLC                                                 Contingent
          Dept. 40254                                                         Unliquidated
          PO Box 2153                                                         Disputed
          Birmingham, AL 35287
                                                                             Basis for the claim:    Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.210    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $8,153.33
          Energy Management Systems                                           Contingent
          PO Box 646                                                          Unliquidated
          Exton, PA 19341                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.211    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $36,331.67
          Engagedmd LLC                                                       Contingent
          PO Box 4668                                                         Unliquidated
          No. 39776                                                           Disputed
          New York, NY 10163
                                                                             Basis for the claim:    Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.212    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,428.00
          Entercom Communications Corp                                        Contingent
          PO Box 92911                                                        Unliquidated
          Cleveland, OH 44194                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.213    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,290.00
          Env Services Inc.                                                   Contingent
          PO Box 37836                                                        Unliquidated
          Baltimore, MD 21297                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.214    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $105.00
          Environmental Futures, Inc.                                         Contingent
          2210 W. Irving Park Road                                            Unliquidated
          Chicago, IL 60618                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.215    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $9,074.00
          Environmental Mngmt Services                                        Contingent
          1688 East Gude Dr.                                                  Unliquidated
          SUite 301                                                           Disputed
          Rockville, MD 20850
                                                                             Basis for the claim:    Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.216    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $5,000.00
          ERIN FERGUSON                                                       Contingent
          1235 ASHLEY GARDENS                                                 Unliquidated
          UNIT 1125                                                           Disputed
          CHARLESTON, SC 29414
                                                                             Basis for the claim:    Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.217    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,632.78
          Everbank Commercial Finance                                         Contingent
          PO BOx 911608                                                       Unliquidated
          Denver, CO 80291                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.218    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,084.00
          Evergreen Business Solutions Inc.                                   Contingent
          2863 S West Temple                                                  Unliquidated
          Salt Lake City, UT 84115                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.219    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $130.00
          Everliving Greenery, Inc.                                           Contingent
          740 E. Northwest Highway                                            Unliquidated
          Palatine, IL 60074                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.220    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $5,430.00
          Eversana                                                            Contingent
          24740 Network Place                                                 Unliquidated
           CO 80673                                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.221    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $313.62
          Evoqua Water Technologies LLC                                       Contingent
          28563 Network Place                                                 Unliquidated
          Chicago, IL 60673                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.222    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $4,056.00
          EXCEL PARTNERS INC                                                  Contingent
          535 CONNECTICUT AVE                                                 Unliquidated
          SUITE 105                                                           Disputed
          NORWALK, CT 06854
                                                                             Basis for the claim:    Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.223    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $650.00
          EXCELL CONTRACTORS INC                                              Contingent
          927 S WALTER REED DR                                                Unliquidated
          STE 16                                                              Disputed
          Arlington, VA 22204
                                                                             Basis for the claim:    Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.224    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $13,087.22
          EXECUTECH                                                           Contingent
          1314 W 11400 S                                                      Unliquidated
          SUITE 200                                                           Disputed
          SOUTH JORDAN, UT 84095
                                                                             Basis for the claim:    Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 3.225    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $221.00
          EXPRESS LAB                                                         Contingent
          3910 WASHINGTON PARKWAY, STE B                                      Unliquidated
          IDAHO FALLS, ID 83404-7596                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.226    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $783.51
          Faultless Linen                                                     Contingent
          P.O. Box 779022                                                     Unliquidated
          Chicago, IL 60677-9022                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.227    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,005.37
          Fed Ex                                                              Contingent
          P O Box 94515                                                       Unliquidated
          Palatine, IL 60094                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.228    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $622.51
          Fed-Ex Corporation 7221                                             Contingent
          PO Box 7221                                                         Unliquidated
          Pasadena, CA 91109                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.229    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $8,906.07
          FEDERAL EXPRESS                                                     Contingent
          PO BOX 371461                                                       Unliquidated
          PITTSBURGH, PA 15250                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.230    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $15,401.00
          FERTILITY PHARMACY OF AMERICA                                       Contingent
          1911 CHURCH ST                                                      Unliquidated
          NASHVILLE, TN 37203                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.231    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $70,058.10
          FIDELITY ENGINEERING                                                Contingent
          25 LOVETON CIRCLE                                                   Unliquidated
          SPARKS, MD 21152                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.232    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $7,090.00
          FINN DIXON & HERLING                                                Contingent
          SIX LANDMARK SQUARE                                                 Unliquidated
          STAMFORD, CT 06901                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.233    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $7,272.07
          FIRST BUSINESS EQUIPMENT FINANCE                                    Contingent
          LLC                                                                 Unliquidated
          401 CHARMANY DRIVE                                                  Disputed
          MADISON, WI 53719
                                                                             Basis for the claim:    Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.234    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $4,480.94
          FIRST COMMUNICATIONS LLC                                            Contingent
          SB 781115                                                           Unliquidated
          PO BOX 7800                                                         Disputed
          DETROIT, MI 48278-1115
                                                                             Basis for the claim:    Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.235    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,252.64
          FISHER HEALTH CARE                                                  Contingent
          13551 COLLECTIONS CENTER DR                                         Unliquidated
          CHICAGO, IL 60693                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.236    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $14,180.18
          FISHER HEALTHCARE                                                   Contingent
          PO BOX 404705                                                       Unliquidated
          ATLANTA, GA 30384                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number       8001
                                                                             Is the claim subject to offset?    No  Yes
 3.237    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $195.75
          FISHER HEALTHCARE                                                   Contingent
          PO BOX 404705                                                       Unliquidated
          ATLANTA, GA 30384                                                   Disputed
          Date(s) debt was incurred ACCT# 944287-001
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.238    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $4,758.24
          FISHER HEALTHCARE                                                   Contingent
          PO BOX 404705                                                       Unliquidated
          ATLANTA, GA 30384-4705                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       IntegraMed America, Inc.                                                                Case number (if known)            20-11170 (LSS)
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 3.239    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $53.63
          FISHER HEALTHCARE                                                   Contingent
          P.O. BOX 404705                                                     Unliquidated
          ATLANTA, GA 30384                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number       0001
                                                                             Is the claim subject to offset?    No  Yes
 3.240    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,773.97
          Fisher HealthCare                                                   Contingent
          13551 COLLECTIONS CENTER DR                                         Unliquidated
          CHICAGO, IL 60693                                                   Disputed
          Date(s) debt was incurred ACCT # 938497-001
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.241    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $296.59
          FISHER SCIENTIFIC                                                   Contingent
          PO BOX 3648                                                         Unliquidated
          BOSTON, MA 02241                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.242    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $4,780.11
          FISHER SCIENTIFIC COMPANY LLC                                       Contingent
                                                                              Unliquidated
          LOS ANGELES, CA 90074                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number       0129
                                                                             Is the claim subject to offset?    No  Yes
 3.243    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,600.00
          FLAIR MARKETING & ADVERTISING                                       Contingent
          C/O HOLLY CLAYSON                                                   Unliquidated
          2313 MOUNT PLEASANT STREET                                          Disputed
          CHARLESTON, SC 29403
                                                                             Basis for the claim:    Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.244    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $49.28
          FLORAL IMAGE LOS ANGELES                                            Contingent
          1732 AVIATION BLVD                                                  Unliquidated
          STE. 221                                                            Disputed
          REDONDO BEACH, CA 90278
                                                                             Basis for the claim:    Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.245    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $250.00
          FLORIDA HIGH SPEED INTERNET                                         Contingent
          1311 BEDFORD DR                                                     Unliquidated
          MELBOURNE, FL 32940                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.246    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,182.98
          FLUENT LANGUAGE SOLUTIONS, INC                                      Contingent
          PO BOX 602995                                                       Unliquidated
          CHARLOTTE, NC 28260                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.247    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $468.00
          FLYNN PLUMBING                                                      Contingent
          1870 ARNOLD PLACE                                                   Unliquidated
          SUITE 1030                                                          Disputed
          CONCORD, CA 94520
                                                                             Basis for the claim:    Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.248    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $9,933.37
          FREEDOM DELIVERY & LOGISTICS                                        Contingent
          15705 POINTER RIDGE DR                                              Unliquidated
          BOWIE, MD 20716                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.249    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $13,178.40
          FROEDTERT MEMORIAL LUTHERAN                                         Contingent
          HOSPITAL                                                            Unliquidated
          DRAWER 385                                                          Disputed
          MILWAUKEE, WI 53278
                                                                             Basis for the claim:    Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.250    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $131.55
          FRONTIER                                                            Contingent
          PO BOX 740407                                                       Unliquidated
          CINCINNATI, OH 45274-0407                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.251    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $185,325.96
          FUJIFILM IRVINE SCIENTIFIC                                          Contingent
          1830 EAST WARNER AVE                                                Unliquidated
          SANTA ANA, CA 92705                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.252    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $294.00
          FUTURE FAMILY, INC                                                  Contingent
          655 MONTGOMERY ST, 7TH FLR                                          Unliquidated
          SAN FRANCISCO, CA 94111                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.253    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,275.00
          G.T. ANESTHESIA                                                     Contingent
          3480 YARMOUTH DR                                                    Unliquidated
          MOUNT PLEASANT, SC 29466                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.254    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,162.86
          GAHC4 TINLEY PARK IL MOB LLC
          C/O GAHC4 GREAT NORD MOB PORTFOLIO                                  Contingent
          LLC                                                                 Unliquidated
          PO BOX 74008256                                                     Disputed
          CHICAGO, IL 60674-8256
                                                                             Basis for the claim:    Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.255    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $8,636.50
          GALLAGHER BASSETT SERVICES,INC                                      Contingent
          1900 W. LOOP S. SUITE 1500                                          Unliquidated
          HOUSTON, TX 77027                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.256    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,101.45
          GARDA CL WEST-LOCKBOX # 233209                                      Contingent
          3209 MOMENTUM PLACE                                                 Unliquidated
          CHICAGO, IL 60689-5332                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.257    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $10,402.52
          GE HEALTHCARE                                                       Contingent
          P.O. BOX 96483                                                      Unliquidated
          CHICAGO, IL 60693                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.258    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $6,393.71
          GE PRECISON HEALTHCARE LLC                                          Contingent
          PO BOX 96483                                                        Unliquidated
          CHICAGO, IL 60693                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.259    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $7,075.00
          GENESCREEN CONSULTING LLC                                           Contingent
          75 CLAREMONT RD                                                     Unliquidated
          SUITE 305                                                           Disputed
          BERNARDSVILLE, NJ 07924
                                                                             Basis for the claim:    Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 3.260    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $579.00
          GETTY IMAGES US INC                                                 Contingent
          PO BOX 953604                                                       Unliquidated
          SAINT LOUIS, MO 63195                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.261    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $37,811.69
          Ghanima Maassarani                                                  Contingent
          3745 Pacific Street                                                 Unliquidated
          Las Vegas, NV 89121                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.262    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,517.80
          GOLDBERG KOHN LTD                                                   Contingent
          55 EAST MONROE STREET                                               Unliquidated
          SUITE 3300                                                          Disputed
          CHICAGO, IL 60603-3000
                                                                             Basis for the claim:    Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.263    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $505.00
          GOLDEN TRIANGLE STORAGE                                             Contingent
          10345 SORRENTO VALLEY RD                                            Unliquidated
          SAN DIEGO, CA 92121                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.264    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $738.33
          GORDON FOOD SERVICE, INC                                            Contingent
          PO BOX 88029                                                        Unliquidated
          CHICAGO, IL 60680-1029                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.265    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $65,827.50
          GOSA GROUP                                                          Contingent
          5600 N RIVER RD                                                     Unliquidated
          STE 800                                                             Disputed
          ROSEMONT, IL 60018
                                                                             Basis for the claim:    Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.266    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $590.08
          GRAINGER                                                            Contingent
          DEPT 867992950                                                      Unliquidated
          PO BOX 419267                                                       Disputed
          KANSAS CITY, MO 64141-6267
                                                                             Basis for the claim:    Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 3.267    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $90.40
          GRAND FLOW - 10217                                                  Contingent
          P.O. BOX 10217                                                      Unliquidated
          PLEASANTON, CA 94588                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.268    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $5,432.97
          GRANITE PROPERTIES                                                  Contingent
          205 GRANITE RUN DRIVE                                               Unliquidated
          LANCASTER, PA 17601                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.269    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,843.06
          GREATAMERICA FINANCIAL SVCS.                                        Contingent
          PO BOX 660831                                                       Unliquidated
          DALLAS, TX 75266                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.270    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,778.00
          GREEN MEDICAL                                                       Contingent
          PO BOX 628328                                                       Unliquidated
          ORLANDO, FL 32862-8328                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.271    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,305.00
          GREENBERG TRAURIG, LLP                                              Contingent
          77 WEST WACKER DRIVE , STE 3100                                     Unliquidated
          CHICAGO, IL 60601                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.272    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $17,917.80
          GUARDIAN REALTY FUND II DULANEY LLC                                 Contingent
          DULANEY CENTER BUSINESS TRUST                                       Unliquidated
          PO BOX 76005                                                        Disputed
          BALTIMORE, MD 21275-6005
                                                                             Basis for the claim:    Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.273    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $16,667.12
          HALL EQUITIES GROUP                                                 Contingent
          1855 OLYMPIC BLVD. SUITE 300                                        Unliquidated
          WALNUT CREEK, CA 94596                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.274    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,873.03
          HAMILTON PARTNERS, INC.                                             Contingent
          1130 LAKE COOK ROAD                                                 Unliquidated
          SUITE 190                                                           Disputed
          BUFFALO GROVE, IL 60089
                                                                             Basis for the claim:    Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.275    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $257.00
          HAMILTON THORNE INC                                                 Contingent
          100 CUMMINGS CENTER                                                 Unliquidated
          STE 465E                                                            Disputed
          BEVERLY, MA 01915-4000
                                                                             Basis for the claim:    Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.276    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,343.97
          HANDCRAFT CLEANERS & LAUNDERERS                                     Contingent
          INC                                                                 Unliquidated
          2810 COFER ROAD                                                     Disputed
          RICHMOND, VA 23224
                                                                             Basis for the claim:    Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.277    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $119.50
          HCA HEALTH SERVICES OF VIRGINIA INC                                 Contingent
          HENRICO DOCTORS HOSPITAL                                            Unliquidated
          1602 SKIPWITH ROAD                                                  Disputed
          RICHMOND, VA 23229
                                                                             Basis for the claim:    Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.278    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $15,237.36
          HCP DR MCD, LLC                                                     Contingent
          P.O. Box 840597                                                     Unliquidated
          DALLAS, TX 75284-0597                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.279    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $19,827.00
          HEALTHCARE EQUIPMENT FINANCE                                        Contingent
          PO BOX 645811                                                       Unliquidated
          PITTSBURGH, PA 15264                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.280    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $83.21
          HEALTHCARE INSURANCE
          PROFESSIONALS                                                       Contingent
          THE CURTIS CENTER                                                   Unliquidated
          601 WALNUT STREET SUITE 275W                                        Disputed
          PHILADELPHIA, PA 19106
                                                                             Basis for the claim:    Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 3.281    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $19,826.20
          HEALTHCARE REALTY SERVICES INC                                      Contingent
          PO BOX 843866                                                       Unliquidated
          DALLAS, TX 75284-3866                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.282    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $279.95
          HELLO INC                                                           Contingent
          PO BOX 26846                                                        Unliquidated
          RICHMOND, VA 23261-6846                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.283    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $485.00
          HENINGER ENTERPRISES, LLC                                           Contingent
          2561 SOUTH 1560 WEST                                                Unliquidated
          SUITE B                                                             Disputed
          WOODS CROSS, UT 84087
                                                                             Basis for the claim:    Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.284    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,725.00
          Henry Schein                                                        Contingent
          Dept Ch 10241                                                       Unliquidated
          Palatine, IL 60055-0241                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.285    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $640.60
          HEPPS RX PHARMACY                                                   Contingent
          240 S. LA CIENEGA                                                   Unliquidated
          STE 100                                                             Disputed
          BEVERLY HILLS, CA 92011
                                                                             Basis for the claim:    Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.286    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,234.58
          HERMANSON COMPANY LLP                                               Contingent
          1221 2ND AVE NORTH                                                  Unliquidated
          KENT, WA 98032                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.287    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $147.43
          HF ACQUISITION CO LLC                                               Contingent
          DEPT CH 14330                                                       Unliquidated
          PALATINE, IL 60055-4330                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       IntegraMed America, Inc.                                                                Case number (if known)            20-11170 (LSS)
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 3.288    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $347.68
          HI TECH COLOR                                                       Contingent
          1115 GROVE ST                                                       Unliquidated
          BOISE, ID 83702                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.289    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $122.25
          HINCKLEY SPRING WATER COMPANY                                       Contingent
          PO BOX 660579                                                       Unliquidated
          DALLAS, TX 75266                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.290    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,872.87
          HIRERIGHT LLC                                                       Contingent
          PO BOX 847891                                                       Unliquidated
          DALLAS, TX 75284-7891                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.291    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $54,945.76
          HORIZON MARKETING GROUP                                             Contingent
          PO BOX 628281                                                       Unliquidated
          ORLANDO, FL 32862-8281                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendorf
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.292    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $56,227.87
          HSRE CAPMED LLC                                                     Contingent
          HSRE CAPMED WOODBURN I, LLC                                         Unliquidated
          PO BOX 71538                                                        Disputed
          CHICAGO, IL 60694-1538
                                                                             Basis for the claim:    Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.293    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $23,651.82
          HSRE CAPMED OPPORTUNITY HOLDING,
          LLC                                                                 Contingent
          C/O AVISON YOUNG                                                    Unliquidated
          11921 ROCKVILLE PIKE,SUITE 200                                      Disputed
          ROCKVILLE, MD 20852
                                                                             Basis for the claim:    Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.294    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $9,501.89
          HTA- CELEBRATION HOSPITAL MOB, LLC                                  Contingent
          PO BOX 80256                                                        Unliquidated
          DENVER, CO 80256                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       IntegraMed America, Inc.                                                                Case number (if known)            20-11170 (LSS)
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 3.295    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $4,620.00
          HUBBARD RADIO WEST PALM BEACH, LLC                                  Contingent
          PO BOX 645703                                                       Unliquidated
          CINCINNATI, OH 45264-5703                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.296    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $800.00
          IDAHO STATE PUBLISHING                                              Contingent
          PO BOX 1570                                                         Unliquidated
          POCATELLO, ID 83204                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.297    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,750.00
          IGENOMIX LA                                                         Contingent
          383 VAN NESS AVE                                                    Unliquidated
          TORRANCE, CA 90501                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.298    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,100.00
          IGENOMIX USA                                                        Contingent
          7955 NW 12TH ST                                                     Unliquidated
          SUITE 415                                                           Disputed
          Miami, FL 33126
                                                                             Basis for the claim:    Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.299    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $93,402.32
          IHEARTMEDIA                                                         Contingent
          PO BOX 419499                                                       Unliquidated
          BOSTON, MA 02241-9499                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.300    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,900.56
          IMAGE FIRST MEDICAL WEAR                                            Contingent
          PO BOX 61323                                                        Unliquidated
          KING OF PRUSSIA, PA 19406                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.301    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,302.22
          IMAGEFIRST UNIFORM RENTAL SVCS.INC                                  Contingent
          PO BOX 61323                                                        Unliquidated
          KING OF PRUSSIA, PA 19406                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       IntegraMed America, Inc.                                                                Case number (if known)            20-11170 (LSS)
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 3.302    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $65,364.14
          INDEPENDENT HOLDINGS,LLC                                            Contingent
          C/O PARK PLACE MEDICAL BLDG                                         Unliquidated
          608 N. EL CAMINO REAL                                               Disputed
          SAN MATEO, CA 94401
                                                                             Basis for the claim:    Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.303    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $290.46
          INFECTION CONTOL SOLUTIONS, LLC                                     Contingent
          5586 SOUTH FORT APACHE                                              Unliquidated
          STE 100                                                             Disputed
          LAS VEGAS, NV 89148
                                                                             Basis for the claim:    Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.304    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $250.00
          INFLOW CIMMUNICATIONS INC                                           Contingent
          PO BOX 4120 # 5424                                                  Unliquidated
          PORTLAND, OR 97208                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.305    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $754.50
          INFORMS BUSINESS PRINTING                                           Contingent
          3860 EAGLE DRIVE                                                    Unliquidated
          ANAHEIM, CA 92807                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.306    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $63.94
          INHEALTH RECORD SYSTEMS                                             Contingent
          5076 WINTERS CHAPEL RD                                              Unliquidated
          STE 200                                                             Disputed
          ATLANTA, GA 30360
                                                                             Basis for the claim:    Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.307    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $16,567.84
          INNER HARBOR EAST GARAGE, LLC                                       Contingent
          650 SOUTH EXETER ST.                                                Unliquidated
          SUITE 200                                                           Disputed
          BALTIMORE, MD 21202
                                                                             Basis for the claim:    Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.308    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $6,750.00
          INNOVATIVE HEALTHCARE SYSTEMS                                       Contingent
          3205 LAKESIDE DR                                                    Unliquidated
          CUMMING, GA 30041                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.309    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $8.17
          INTEGRATED ID SYSTEMS, INC                                          Contingent
          1150 E CREWS ROAD                                                   Unliquidated
          MATTHEWS, NC 28105                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.310    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $144.84
          INTERIOR GARDENS BMG                                                Contingent
          ATTN; KEVIN KING                                                    Unliquidated
          1629 EAST 18TH AVE                                                  Disputed
          SPOKANE, WA 99203
                                                                             Basis for the claim:    Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.311    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $236.19
          INTERMOUNTAIN GAS CO.                                               Contingent
          P.O. BOX 5600                                                       Unliquidated
          BISMARK, ND 58506-5600                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.312    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $115.00
          Internet Health Resources                                           Contingent
          1133 Garden Lane                                                    Unliquidated
          LAFAYETTE, CA 94549                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.313    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,050.00
          INVITAE CORPORATION                                                 Contingent
          PO BOX 206240                                                       Unliquidated
          DALLAS, TX 75320                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.314    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $8,375.85
          IRON MOUNTAIN                                                       Contingent
          PO BOX 27128                                                        Unliquidated
          NEW YORK, NY 10087                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.315    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,396.34
          Iron Mountain                                                       Contingent
          P.O. Box 915004                                                     Unliquidated
          DALLAS, TX 75391-5004                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.316    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $845.03
          IRON MOUNTAIN RECORDS                                               Contingent
          PO BOX 601002                                                       Unliquidated
          PASADENA, CA 91189                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.317    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $984.74
          IT'S MY COOLER LLP                                                  Contingent
          PO BOX 476                                                          Unliquidated
          POOLESVILLE, MD 20837                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.318    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $516.60
          ITEDIUM,INC                                                         Contingent
          PO BOX 504265                                                       Unliquidated
          SAINT LOUIS, MO 63150-4265                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.319    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $13,400.00
          ITENTIVE CORPORATION                                                Contingent
          1 PIERCE PLACE                                                      Unliquidated
          400E                                                                Disputed
          ITASCA, IL 60143
                                                                             Basis for the claim:    Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.320    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $13,411.39
          IVF STORE LLC                                                       Contingent
          5975 SHILOH RD                                                      Unliquidated
          SUITE 101                                                           Disputed
          ALPHARETTA, GA 30005
                                                                             Basis for the claim:    Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.321    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $777,934.62
          IVIGEN, LLC/IGENOMIX USA                                            Contingent
          7955 NW 12TH STREET                                                 Unliquidated
          SUITE 415                                                           Disputed
          DORAL, FL 33126
                                                                             Basis for the claim:    Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.322    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $600.00
          J L.OPTICAL, INC                                                    Contingent
          6618 S. ATLANTIC AVENUE                                             Unliquidated
          NEW SMYRNA BEACH 32169                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.323    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,734.08
          J2 CLOUD SERVICES                                                   Contingent
          PO BOX 102011                                                       Unliquidated
          PASADENA, CA 91189-2011                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.324    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,000.00
          JACOBS MEDICAL, LLC.                                                Contingent
                                                                              Unliquidated
          Date(s) debt was incurred                                           Disputed
          Last 4 digits of account number                                    Basis for the claim:    Vendor
                                                                             Is the claim subject to offset?    No  Yes
 3.325    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,325.09
          JAF Station                                                         Contingent
          P.O. Box 1702                                                       Unliquidated
          NEW YORK, NY 10116-1702                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.326    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,000.00
          JANE NANI, MD                                                       Contingent
          1461 GLENVIEW RD                                                    Unliquidated
          GLENVIEW, IL 60025                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.327    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $555.00
          JANIKING OF ILLINOIS, INC.                                          Contingent
          OPPORTUNITY FRANCHISING INC                                         Unliquidated
          2791 MOMENTUM PLACE                                                 Disputed
          CHICAGO, IL 60689
                                                                             Basis for the claim:    Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.328    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $361.96
          Java Works Enterprises, Inc.                                        Contingent
          6818 Benjamin Rd                                                    Unliquidated
          Tampa, FL 33634                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.329    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,298.53
          JEFFERSON MEDICAL & IMAGING INC                                     Contingent
          PO BOX 254                                                          Unliquidated
          OAK RIDGE, NJ 07438                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.330    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $5,000.00
          Jennifer Dias                                                       Contingent
          3422 Fletton Way                                                    Unliquidated
          Summerville, SC 29485                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.331    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $60.00
          JENNIFER HART                                                       Contingent
          141 MONTANA DRIVE                                                   Unliquidated
          ST. CHARLES, MO 63304                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.332    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,000.00
          JENNIFER HIRSHFELD-CYTRON, M.D.                                     Contingent
          851 NORTHWOODS DR                                                   Unliquidated
          DEERFIELD, IL 60015                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.333    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $584.83
          JK MOVING & STORAGE INC                                             Contingent
          44112 MERCURE CIRCLE                                                Unliquidated
          STERLING, VA 20166                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.334    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,600.00
          John Gililland                                                      Contingent
          5320 S RAINBOW BLVD STE 300                                         Unliquidated
          LAS VEGAS, NV 89118                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.335    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,000.00
          John J. Rapisarda, MD                                               Contingent
          2714 Sheridan Road                                                  Unliquidated
          Evanston, IL 60201                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.336    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $190.24
          JOHN MINI                                                           Contingent
          250 BRENNER DRIVE                                                   Unliquidated
          CONGERS, NY 10920                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       IntegraMed America, Inc.                                                                Case number (if known)            20-11170 (LSS)
              Name

 3.337    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,252.77
          JOHNSON CONTROLS INC.                                               Contingent
          75373                                                               Unliquidated
          DALLAS, TX 75373                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.338    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $14,010.00
          JONES WALKER LLP                                                    Contingent
          201 ST. CHARLES AVE - 50TH FLOOR                                    Unliquidated
          NEW ORLEANS, LA 70170-5100                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.339    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,400.00
          Joy Anne Aker                                                       Contingent
          Joy Aker CRNA LLC                                                   Unliquidated
          Trumpet Dr                                                          Disputed
          Columbia, MD 21045
                                                                             Basis for the claim:    Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.340    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,450.00
          JOYCE MURTY                                                         Contingent
          344 PREBLE STREET                                                   Unliquidated
          SOUTH PORTLAND, ME 04106                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.341    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $130.00
          Julie V> Douglass, M.D.                                             Contingent
          20911 Earl St. Suite 100                                            Unliquidated
          Torrance, CA 90503                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.342    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $480.49
          KAESER & BLAIR, INC                                                 Contingent
          4236 GRISSOM DRIVE                                                  Unliquidated
          BATAVIA, OH 45103                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.343    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $4,391.54
          KARL STORZ ENDOSCOPY - AMERICA INC                                  Contingent
          FILE NO 53514                                                       Unliquidated
          LOS ANGELES, CA 90074-3514                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       IntegraMed America, Inc.                                                                Case number (if known)            20-11170 (LSS)
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 3.344    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,194.10
          KATZ DIGITAL GROUP                                                  Contingent
          12019 COLLECTION CENTER DR                                          Unliquidated
          CHICAGO, IL 60693-0001                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.345    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $149.05
          KENTWOOD SPRINGS                                                    Contingent
          PO BOX 660579                                                       Unliquidated
          DALLAS, TX 75266-0579                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.346    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $28,750.00
          Kia Xiong and Yer Vue                                               Contingent
          9284 Compass Pointe Cir                                             Unliquidated
          Borup, MN 56519                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.347    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $4,466.62
          KONICA MINOLTA BUSINESS SOLUTIONS                                   Contingent
          DEPT. CH 19188                                                      Unliquidated
          PALATINE, IL 60055-9188                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.348    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,725.48
          KONICA MINOLTA PREMIER FINANCE                                      Contingent
          PO BOX 030310                                                       Unliquidated
          LOS ANGELES, CA 90030-0310                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.349    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,322.16
          KONICA MINOLTA PREMIER FINANCE                                      Contingent
          PO BOX 105743                                                       Unliquidated
          ATLANTA, GA 30348                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.350    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $731.00
          Kristi Rodgerson                                                    Contingent
          1446 W. Pleasant Grove Blvd.                                        Unliquidated
          Pleasant Grove, UT 84062                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       IntegraMed America, Inc.                                                                Case number (if known)            20-11170 (LSS)
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 3.351    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $579.05
          KRUEGER-GILBERT HEALTH PHYSICS INC                                  Contingent
          809 Gleneagles Court, Suite 100                                     Unliquidated
          TOWSON, MD 21286                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.352    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $240.00
          L.E.C. SERVICE INC                                                  Contingent
          1865 W 222ND ST                                                     Unliquidated
          SUITE A                                                             Disputed
          TORRANCE, CA 90501
                                                                             Basis for the claim:    Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.353    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $133.20
          LA JOLLA DISCOUNT PHARMACY                                          Contingent
          9850 GENESEE AVE # 160                                              Unliquidated
          LA JOLLA, CA 92037                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.354    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $192,536.30
          LAB CORP                                                            Contingent
          PO BOX 12140                                                        Unliquidated
          BURLINGTON, NC 27216                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.355    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,308.98
          LAB DISPOSABLE PRODUCTS INC                                         Contingent
          PO BOX 2239                                                         Unliquidated
          WAYNE, NJ 07474                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.356    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $457.00
          LABELS DIRECT INC                                                   Contingent
          664 TRADE CENTER BLVD                                               Unliquidated
          CHESTERFIELD, MO 63005                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.357    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $5,000.00
          Laci Spencer                                                        Contingent
          296 Ceasar Place                                                    Unliquidated
          Hilton Head Island, SC 29926                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       IntegraMed America, Inc.                                                                Case number (if known)            20-11170 (LSS)
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 3.358    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $6,516.38
          LAKE COUNTY PRESS, INC.                                             Contingent
          PO BOX 9209                                                         Unliquidated
          WAUKEGAN, IL 60079-9209                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.359    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $6,182.69
          LAKE WHITNEY PHASE II, LLC                                          Contingent
          1860 SW FOUNTAINVIEW BLVD.                                          Unliquidated
          SUITE 100                                                           Disputed
          PORT SAINT LUCIE, FL 34986
                                                                             Basis for the claim:    Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.360    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $28.75
          Land Dynamics Inc.                                                  Contingent
          7800 Forsyth Blvd                                                   Unliquidated
          Suite 800                                                           Disputed
          Saint Louis, MO 63105
                                                                             Basis for the claim:    Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.361    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $9,720.85
          LANGTREE OFFICE CENTER , LLC                                        Contingent
          C/O RL WEST                                                         Unliquidated
          401 LANGTREE RD                                                     Disputed
          MOORESVILLE, NC 28117
                                                                             Basis for the claim:    Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.362    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $151.75
          LANGUAGE LINE SERVICES                                              Contingent
          PO BOX 202564                                                       Unliquidated
          DALLAS, TX 75320                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.363    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $336.79
          LARSON-MILLER INC.                                                  Contingent
          3414 E GREENHURST                                                   Unliquidated
          NAMPA, ID 83686                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.364    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $7,437.29
          LASER LINE INC                                                      Contingent
          1025 W. NURSERY RD STE 122                                          Unliquidated
          LINTHICUM HEIGHTS, MD 21090                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.365    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $18,000.00
          LAUREN HEATWOLE AND RAY WITKINS                                     Contingent
          5375 CHISWICK CIRCLE                                                Unliquidated
          ORLANDO, FL 32812                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.366    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $17,500.00
          LAWRENCE FRIEDMAN                                                   Contingent
          205 EAST SADDLE RIVER RD                                            Unliquidated
          SADDLE RIVER, NJ 07458                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.367    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $510.00
          LAZ PARKING                                                         Contingent
          PO BOX 933911                                                       Unliquidated
          ATLANTA, GA 31193-3911                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendorf
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.368    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $240.00
          LAZ PARKING LTD                                                     Contingent
          PO BOX 759228                                                       Unliquidated
          BALTIMORE, MD 21275                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.369    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $18,654.37
          LEASING ASSOCIATES OF BARRINGTON                                    Contingent
          BARRINGTON, INC.                                                    Unliquidated
          220 NORTH RIVER STREET                                              Disputed
          DUNDEE, IL 60118
                                                                             Basis for the claim:    Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.370    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $82.80
          LEMAY MOBILE SHREDDING                                              Contingent
          PO BOX 7428                                                         Unliquidated
          PASADENA, CA 91109                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.371    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $10,522.95
          LENDING CLUB PATIENT SOLUTIONS                                      Contingent
          SUITE 310                                                           Unliquidated
          WESTBOROUGH, MA 01581                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.372    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,957.06
          LENOVO FINANCIAL SERVICES                                           Contingent
          21146 NETWORK PLACE                                                 Unliquidated
          CHICAGO, IL 60673-1211                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.373    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $8,370.00
          LIEBERMAN RESEARCH WORLDWIDE                                        Contingent
          1900 AVENUE OF THE STARS #1600                                      Unliquidated
          LOS ANGELES, CA 90067                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.374    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,714.12
          LIFE GAS                                                            Contingent
          LINDE GAS NORTH AMERICA LLC                                         Unliquidated
          24963 NETWORK PLACE                                                 Disputed
          CHICAGO, IL 60673-1249
                                                                             Basis for the claim:    Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.375    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,378.96
          LIFE INSURANCE COMPANY OF NORTH                                     Contingent
          AMERICA                                                             Unliquidated
          PO BOX 782447                                                       Disputed
          PHILADELPHIA, PA 19178-2447
                                                                             Basis for the claim:    Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.376    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $503.30
          LIGHTNING BOLT SOLUTIONS, INC                                       Contingent
          PO BOX 841448                                                       Unliquidated
          DALLAS, TX 75284-1448                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.377    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $47,204.54
          LINA                                                                Contingent
          PO BOX 13701                                                        Unliquidated
          PHILADELPHIA, PA 19101-3701                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.378    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,000.00
          LORNE HOLLAND                                                       Contingent
          3200 S. GARFIELD AVE                                                Unliquidated
          SIOUX FALLS, SD 57105                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.379    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $25,677.32
          LUCY WEBB HAYES NATIONAL TRAINING                                   Contingent
          c/o Avison Young                                                    Unliquidated
          11921 ROCKVILLE PIKE SUITE 200                                      Disputed
          ROCKVILLE, MD 20850
                                                                             Basis for the claim:    Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.380    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $132.00
          MAITLAND WINTER PARK PLUMBING                                       Contingent
          210 N. SWOOPE AVE                                                   Unliquidated
          MAITLAND, FL 32751                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.381    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $850.00
          MALECKI & BROOKS LAW GROUP ,LLC                                     Contingent
          205 E. BUTTERFIELD RD SUITE 225                                     Unliquidated
          ELMHURST, IL 60126                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.382    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $400.00
          MARJORIE HIDER                                                      Contingent
          260 RIPPLING LANE                                                   Unliquidated
          WINTER PARK, FL 32789                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.383    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,187.50
          Mark J. Sheppardd                                                   Contingent
          1622 W. Cornelia Ave #3                                             Unliquidated
          Chicago, IL 60657                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.384    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $169.73
          MARLIN BUSINESS BANK                                                Contingent
          PO BOX 13604                                                        Unliquidated
          PHILADELHIA, PA 19101                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.385    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,603.17
          MARLIN LEASING CORP 3604                                            Contingent
          PO BOX 13604                                                        Unliquidated
          PHILADELPHIA, PA 19101                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       IntegraMed America, Inc.                                                                Case number (if known)            20-11170 (LSS)
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 3.386    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,400.00
          MARTIN, DECRUZE & COMPANY LLP                                       Contingent
          2777 SUMMER ST                                                      Unliquidated
          4TH FLOOR                                                           Disputed
          STAMFORD, CT 06905
                                                                             Basis for the claim:    Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.387    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $74.55
          MASSEY SERVICES INC                                                 Contingent
          PO BOX 547668                                                       Unliquidated
          ORLANDO, FL 32854                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.388    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $354.55
          MCGUIRE PARK PHARMACY                                               Contingent
          2106 E MAIN STREET                                                  Unliquidated
          RICHMOND, VA 23223                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.389    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $325,379.93
          MCKESSON GENERAL MEDICAL CORP-GA                                    Contingent
          P.O. BOX 933027                                                     Unliquidated
          ATLANTA, GA 31193                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.390    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $51,146.66
          MCKESSON MEDICAL SURGICAL                                           Contingent
          PO BOX 634404                                                       Unliquidated
          CINCINNATI, OH 45263-4404                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.391    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $24,740.21
          McKesson Medical Surgical Inc                                       Contingent
          PO Box 634404                                                       Unliquidated
          Cincinnati, OH 45263                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.392    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $826.97
          MED WASTE MANAGEMENT LLC                                            Contingent
          5850 W. 3RD STREET                                                  Unliquidated
          STE 331                                                             Disputed
          LOS ANGELES, CA 90036
                                                                             Basis for the claim:    Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 Debtor       IntegraMed America, Inc.                                                                Case number (if known)            20-11170 (LSS)
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 3.393    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $4,072.18
          MED-ELECTRONICS, INC.                                               Contingent
          6608 VIRGINIA MANOR ROAD                                            Unliquidated
          BELTSVILLE, MD 20705                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.394    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,749.23
          MEDCLEAN-CLINIC                                                     Contingent
          4601 W. ADDISON ST                                                  Unliquidated
          SUITE 700                                                           Disputed
          CHICAGO, IL 60641
                                                                             Basis for the claim:    Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.395    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $296.73
          MEDELY INC                                                          Contingent
          1315 3RD STREET PROMENADE                                           Unliquidated
          SUITE 500                                                           Disputed
          SANTA MONICA, CA 90401
                                                                             Basis for the claim:    Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.396    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $21,200.00
          MEDICAL ANESTHESIA CONSULTANTS                                      Contingent
          MEDICAL G                                                           Unliquidated
          PO BOX 749088                                                       Disputed
          LOS ANGELES, CA 90074-9088
                                                                             Basis for the claim:    Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.397    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,381.36
          MEDICAL ARTS SUPPORT CORPORATION                                    Contingent
          25A DUBON CT                                                        Unliquidated
          SUITE 205                                                           Disputed
          FARMINGDALE, NY 11735
                                                                             Basis for the claim:    Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.398    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $13,178.40
          MEDICAL COLLEGE OF WISCONSIN                                        Contingent
          PO BOX 13308                                                        Unliquidated
          MILWAUKEE, WI 53213                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.399    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $900.00
          MEDICAL GAS SOLUTIONS                                               Contingent
          20 McDonald Blvd                                                    Unliquidated
          Suite 2                                                             Disputed
          ASTON, PA 19014
                                                                             Basis for the claim:    Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 3.400    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $5,400.49
          MEDICAL OXYGEN SERVICES                                             Contingent
          P.O. BOX 88666                                                      Unliquidated
          CHICAGO, IL 60680                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.401    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $6,345.09
          MEDICAL PURCHASING SOLUTIONS, LLC                                   Contingent
          15021 N. 74TH ST., STE. #300                                        Unliquidated
          SCOTTSDALE, AZ 85260                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.402    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,495.00
          MEDICAL STAFFING NETWORK                                            Contingent
          HEALTHCARE                                                          Unliquidated
          PO BOX 840292                                                       Disputed
          DALLAS, TX 75284-0292
                                                                             Basis for the claim:    Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.403    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,731.97
          MEDICAL SYSTEMS GROUP INC                                           Contingent
          4001 EVANGELINE TERRACE                                             Unliquidated
          OLNEY, MD 20832                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.404    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $5,375.26
          MEDIX STAFFING SOLUTIONS                                            Contingent
          7839 SOLUTION CENTER                                                Unliquidated
          CHICAGO, IL 60677-7008                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.405    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,707.16
          MEDIX STAFFING SOLUTIONS                                            Contingent
          7839 SOLUTION CENTER                                                Unliquidated
          CHICAGO, IL 60677-7008                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.406    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $45.66
          MEDLINE INDUSTRIES INC                                              Contingent
          DEPT CH 14400                                                       Unliquidated
          PALATINE, IL 60055-4400                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.407    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,000.00
          Meike Uhlerr, MD                                                    Contingent
          6417 Bobby Jones Lane                                               Unliquidated
          Woodridge, IL 60517                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.408    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $18,941.19
          MERCEDES TRANSCRIPTION, INC.                                        Contingent
          4007-F NORBECK ROAD                                                 Unliquidated
          ROCKVILLE, MD 20853                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.409    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,050.37
          MERCEDES- BENZ CREDIT                                               Contingent
          PO BOX 5209                                                         Unliquidated
          CAROL STREAM, IL 60197                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.410    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $800.42
          METTLER-TOLEDO RAININ, LLC                                          Contingent
          27006 NETWORK PLACE                                                 Unliquidated
          CHICAGO, IL 60673-1270                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.411    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $5,916.00
          MG HOSTING SERVICES LLC                                             Contingent
          3100 CARR 199                                                       Unliquidated
          SUITE 402                                                           Disputed
          SAN JUAN, PR 00926
                                                                             Basis for the claim:    Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.412    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $11.25
          MICHELLE MACFARLANE                                                 Contingent
          2336 E 2190 S.                                                      Unliquidated
          SAINT GEORGE, UT 84790                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.413    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $461.00
          MIDDLEBROOK LAND LLP DBS EZ                                         Contingent
          STORAGE                                                             Unliquidated
          12211 MIDDLEBROOK ROAD                                              Disputed
          Germantown, MD 28074
                                                                             Basis for the claim:    Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 3.414    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $6,652.39
          MILLENIUM SERVICES & SUPPLIES                                       Contingent
          102 NORTH EAST 2ND STREET                                           Unliquidated
          STE 343                                                             Disputed
          BOCA RATON, FL 33432
                                                                             Basis for the claim:    Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.415    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,981.88
          MILLIPORE CORP                                                      Contingent
          25760 NETWORK PLACE                                                 Unliquidated
          CHICAGO, IL 60673                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.416    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $151,770.20
          MINTZ, LEVIN,COHN,FERRIS,GLOVSKY,                                   Contingent
          AND PO                                                              Unliquidated
          PO BOX 4539                                                         Disputed
          BOSTON, MA 02212-4539
                                                                             Basis for the claim:    Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.417    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $900.00
          MK ASSET MANAGEMENT, LLC                                            Contingent
          ONE RIDESHIRE LANE                                                  Unliquidated
          LINCOLNSHIRE, IL 60069                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.418    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $6,339.13
          MOBILE INFIRMARY MEDICAL CENTER                                     Contingent
          PO BOX 2144                                                         Unliquidated
          MOBILE, AL 36652                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.419    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $129.00
          MONARCH MEDICAL SUPPLIES                                            Contingent
          5425 HEDGEWICK WAY                                                  Unliquidated
          CUMMING, GA 30040                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.420    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $50.88
          MOOD MEDIA NORTH AMERICA HOLDINGS                                   Contingent
          CORP                                                                Unliquidated
          PO BOX 71070                                                        Disputed
          CHARLOTTE, NC 28272-1010
                                                                             Basis for the claim:    Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 3.421    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $294.91
          MOUNT PLEASANT WATERWORKS                                           Contingent
          PO BOX 602832                                                       Unliquidated
          CHARLOTTE, NC 28260                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.422    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $196.75
          MOYER & SEN INC                                                     Contingent
          DBA MOYER INDOOR/OUTDOOR                                            Unliquidated
          PO BOX 64198                                                        Disputed
          SOUDERTON, PA 18964-0198
                                                                             Basis for the claim:    Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.423    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $4,752.04
          MSRH, LLC                                                           Contingent
          2600 W. HIGGINS RD.                                                 Unliquidated
          SUITE 101                                                           Disputed
          HOFFMAN ESTATES, IL 60169
                                                                             Basis for the claim:    Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.424    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Myles Greenberg                                                     Contingent
          Date(s) debt was incurred
                                                                              Unliquidated
                                                                              Disputed
          Last 4 digits of account number
                                                                             Basis for the claim:    Indemnification agreement
                                                                             Is the claim subject to offset?    No  Yes
 3.425    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $6,509.80
          NEIMAN GROUP                                                        Contingent
          2930 WESTWOOD BLVD # 100                                            Unliquidated
          LOS ANGELES, CA 90064                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.426    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $45.96
          NESTLE WATERS NORTH AMERICA                                         Contingent
          DBA READYREFRESH                                                    Unliquidated
          PO BOX 856680                                                       Disputed
          LOUISVILLE, KY 40285-6680
                                                                             Basis for the claim:    Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.427    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $898.08
          Nevada Linen Supply                                                 Contingent
          3960 W. Mesa Vista Avenue                                           Unliquidated
          Las Vegas, NV 89118                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.428    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $7,920.05
          NEW RELIC, INC.                                                     Contingent
          PO BOX 101812                                                       Unliquidated
          PASADENA, CA 91189                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.429    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,358.77
          NEXAIR LLC                                                          Contingent
          PO BOX 125                                                          Unliquidated
          MEMPHIS                                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.430    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,197.42
          NEXAIR, LLC                                                         Contingent
          PO BOX 125                                                          Unliquidated
          MEMPHIS, TN 38101                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.431    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $88,404.54
          NexGen Healthcare, Inc.                                             Contingent
          PO Box 809390                                                       Unliquidated
          Chicago, IL 60680                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.432    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $139,868.88
          NEXTGEN LIFELABS LLC                                                Contingent
          384 NINA WAY                                                        Unliquidated
          WARMINSTER, PA 18974                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.433    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $282.57
          NIXON POWER SERVICES LLC                                            Contingent
          PO BOX 934345                                                       Unliquidated
          ATLANTA, GA 31193-4345                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.434    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $37,682.52
          NIXON UNIFORM SVC. & MEDICAL WEAR                                   Contingent
          CORPORATE HEADQUARTERS                                              Unliquidated
          500 CENTERPOINT BLVD.                                               Disputed
          NEW CASTLE, DE 19720
                                                                             Basis for the claim:    Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 Debtor       IntegraMed America, Inc.                                                                Case number (if known)            20-11170 (LSS)
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 3.435    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,449.78
          NORCO, INC                                                          Contingent
          PO BOX 413124                                                       Unliquidated
          SALT LAKE CITY, UT 84141-3124                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.436    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $364.64
          NOREAST CAPITAL CORPORATION                                         Contingent
          PO BOX 4128                                                         Unliquidated
          ANNAPOLIS, MD 21403                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.437    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $6,988.20
          NORTHSIDE HOSPITAL INC                                              Contingent
          ATLANTA NS PROPERTY MANAGEMENT                                      Unliquidated
          PO BOX 932409                                                       Disputed
          ATLANTA, GA 30342-1611
                                                                             Basis for the claim:    Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.438    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $472.72
          NORTHWEST BIOMEDICAL ASSOCIATES                                     Contingent
          400 112TH AVE NE                                                    Unliquidated
          STE 300                                                             Disputed
          BELLEVUE, WA 98004
                                                                             Basis for the claim:    Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.439    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $14,673.31
          OAKS LIMITED PARTNERSHIP                                            Contingent
          PO BOX 76104                                                        Unliquidated
          BALTIMORE, MD 21275-6104                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.440    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,000.00
          OB HOSPITALS, INC                                                   Contingent
          PO BOX 29781                                                        Unliquidated
          RICHMOND, VA 23242                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.441    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $75,154.90
          OCC Purchase LLC                                                    Contingent
          PO Box 30296                                                        Unliquidated
          New York, NY 10087                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.442    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,584.72
          Ocean Drug, Inc. [d/b/a Encino Pharmacy]                            Contingent
          17071 Ventura Blvd.                                                 Unliquidated
          Ste. 100                                                            Disputed
          Encino, CA 91316
                                                                             Basis for the claim:    Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.443    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $993.26
          Office Basics, Inc.                                                 Contingent
          PO Box 2230                                                         Unliquidated
          Marcus Hook, PA 19061                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.444    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $29,866.10
          Office Depot                                                        Contingent
          PO Box 633204                                                       Unliquidated
          Cincinnati, OH 45263-3204                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.445    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $126.82
          Office Depot                                                        Contingent
          PO Box 29248                                                        Unliquidated
          Phoenix, AZ 85038-9248                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.446    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,500.00
          Oliver Sprinkler Co, Inc.                                           Contingent
          501 Feneley Drive                                                   Unliquidated
          King of Prussia, PA 19406                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.447    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $24.95
          On Hold Concepts                                                    Contingent
          5521 100th St. SW                                                   Unliquidated
          Lakewood, WA 98499                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.448    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $15,500.00
          OnTarget Group, Inc.                                                Contingent
          PO Box 602841                                                       Unliquidated
          Charlotte, NC 28260                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.449    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $402,015.60
          Origio                                                              Contingent
          PO BOx 712280                                                       Unliquidated
          Cincinnati, OH 45271                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.450    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $144.25
          OXARC                                                               Contingent
          PO Box 2605                                                         Unliquidated
           WA 99200                                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.451    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $357.00
          Pacific West Security Inc.                                          Contingent
          1587 Schallenberger Road                                            Unliquidated
          San Jose, CA 95131                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.452    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $827.50
          Palmetto Green Landscape and Design LLC                             Contingent
          PO Box 568                                                          Unliquidated
          Isle of Palms, SC 29451                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.453    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $14,515.16
          Pandora Media Inc.                                                  Contingent
          201 Network Place                                                   Unliquidated
          Chicago, IL 60673                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.454    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $95.94
          Paoli Company                                                       Contingent
          1564 E. Lancaster Ave                                               Unliquidated
          Paoli, PA 19301                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.455    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $11,301.69
          Park Center Properties, LLC                                         Contingent
          2630 E. Plateau Drive                                               Unliquidated
          Boise, ID 83712                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.456    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,200.00
          Parking Management, Inc.                                            Contingent
          1725 DeSales St. NW                                                 Unliquidated
          # 300                                                               Disputed
          Washington, DC 20036
                                                                             Basis for the claim:    Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.457    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $69,010.00
          PAS                                                                 Contingent
          1229 Madison                                                        Unliquidated
          Ste 1440                                                            Disputed
          Seattle, WA 98104
                                                                             Basis for the claim:    Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.458    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $49,256.00
          Patriot Consulting, Inc.                                            Contingent
          Dept. #390                                                          Unliquidated
          PO Box 1000                                                         Disputed
          Memphis, TN 38148-0390
                                                                             Basis for the claim:    Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.459    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,603.50
          Patty Stull                                                         Contingent
                                                                              Unliquidated
          Date(s) debt was incurred                                           Disputed
          Last 4 digits of account number                                    Basis for the claim:    Vendor
                                                                             Is the claim subject to offset?    No  Yes
 3.460    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $48,349.68
          Pavilion Park, Inc.                                                 Contingent
          PO Box 45752                                                        Unliquidated
          Baltimore, MD 21297-5752                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.461    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $24,535.37
          PC Connection                                                       Contingent
          PO Box 536472                                                       Unliquidated
          Pittsburgh, PA 15253                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.462    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $573.50
          PCVS                                                                Contingent
          120 West Saginaw St. East                                           Unliquidated
          East Lansing, MI 48823                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.463    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $210.00
          Peninsula Security Systerms Inc.                                    Contingent
          590 West 9th Street                                                 Unliquidated
          San Pedro, CA 90731                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.464    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $259.47
          PepCo                                                               Contingent
          PO Box 13608                                                        Unliquidated
          Philadelphia, PA 19101                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.465    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $421.83
          Perrfect Serve Inc.                                                 Contingent
          PO Box 841200                                                       Unliquidated
          Dallas, TX 75284-1200                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.466    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $22,405.40
          Perryville Avenue Associates                                        Contingent
          171 Route 173                                                       Unliquidated
          Suite 201                                                           Disputed
          Asbury, NJ 08802
                                                                             Basis for the claim:    Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.467    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,944.34
          PHC Medical Sales, Inc.                                             Contingent
          1919 Maybank Highway                                                Unliquidated
          Charleston, SC 29412                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.468    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,501.16
          Philips Healthcare                                                  Contingent
          PO Box 100355                                                       Unliquidated
          Atlanta, GA 30384                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.469    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $484.98
          Physicianswear                                                      Contingent
          2551 Forest Drive                                                   Unliquidated
          Columbia, SC 29204                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.470    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,457.50
          Pioneer Building Services, Inc.                                     Contingent
          12435 Park Potomac Ave                                              Unliquidated
          STE 200                                                             Disputed
          Potomac, MD 20854
                                                                             Basis for the claim:    Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.471    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,500.00
          Pitney Bowes                                                        Contingent
          PO Box 371874                                                       Unliquidated
          Pittsburgh, PA 15250-7874                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.472    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,471.18
          Pitney Bowes Global Financial Services                              Contingent
          PO Box 371887                                                       Unliquidated
          Pittsburgh, PA 15250                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.473    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $4,000.00
          Planit Advertising Inc.                                             Contingent
          1414 Key Highway                                                    Unliquidated
          Suite 100                                                           Disputed
          Baltimore, MD 21230
                                                                             Basis for the claim:    Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.474    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $39,767.68
          Plaza Members III, LLC                                              Contingent
          7800 Forsyth Blvd                                                   Unliquidated
          Suite 800                                                           Disputed
          Saint Louis, MO 63105
                                                                             Basis for the claim:    Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.475    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $10,305.15
          Plumtree Orthopaedic Associates, LLC                                Contingent
          8322 Bellona Ave.                                                   Unliquidated
          Suite 100                                                           Disputed
          Towson, MD 21204
                                                                             Basis for the claim:    Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.476    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,059.21
          Porsche Payment Center                                              Contingent
          75 Remittance Drive                                                 Unliquidated
          Suite 1738                                                          Disputed
          Chicago, IL 60675
                                                                             Basis for the claim:    Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 3.477    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $878.00
          Post Register                                                       Contingent
          PO Box 1800                                                         Unliquidated
          Idaho Falls, ID 83403                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.478    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $808.26
          Premier Mantenance, Inc.                                            Contingent
          855 Main Street                                                     Unliquidated
          9th Floor                                                           Disputed
          Bridgeport, CT 06604
                                                                             Basis for the claim:    Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.479    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $16,517.60
          Prim Bac Colonnade LLC
          Colliers International AEW Rent Deposits                            Contingent
          717 North Harwood St.                                               Unliquidated
          Suite 300                                                           Disputed
          Dallas, TX 75201
                                                                             Basis for the claim:    Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.480    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $248.86
          Prime Group Storage                                                 Contingent
          551 Pepper Street                                                   Unliquidated
          Monroe, CT 06468                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.481    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $676.35
          Priority Dispatch Service Inc.                                      Contingent
          PO Box 1512                                                         Unliquidated
          Stephens City, VA 22655                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.482    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $950.29
          Priority Express Courier, Inc.                                      Contingent
          5 Chelsea Parkway                                                   Unliquidated
          Marcus Hook, PA 19061                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.483    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,123.56
          ProForma                                                            Contingent
          P.O. Box 640814                                                     Unliquidated
          Cincinnati, OH 45264                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       IntegraMed America, Inc.                                                                Case number (if known)            20-11170 (LSS)
              Name

 3.484    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $60.36
          ProShred Security                                                   Contingent
          803 Pressley Road                                                   Unliquidated
          Charlotte, NC 28217                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.485    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $121.00
          ProShred Security                                                   Contingent
          25 Industrial Blvd.                                                 Unliquidated
          Paoli, PA 19301                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.486    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $187.06
          Protection 1/ADT                                                    Contingent
          PO Box 219044                                                       Unliquidated
          Kansas City, MO 64121-9044                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.487    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,871.72
          Provider Trust, Inc.                                                Contingent
          PO Box 306121                                                       Unliquidated
          Nashville, TN 37203-6121                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.488    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $28.00
          Public Storage 08161                                                Contingent
          12425 NE 124th Street                                               Unliquidated
          Kirkland, WA 98034                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.489    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $273.40
          Pulitz Records MGT LV                                               Contingent
          3833 Octagon Road                                                   Unliquidated
          North Las Vegas, NV 89030                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.490    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $255.50
          Quadient Inc.                                                       Contingent
          PO Box 123689                                                       Unliquidated
          Dept 3689                                                           Disputed
          Dallas, TX 75312-3689
                                                                             Basis for the claim:    Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 Debtor       IntegraMed America, Inc.                                                                Case number (if known)            20-11170 (LSS)
              Name

 3.491    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $728.31
          Quadient Leasing USA, Inc.                                          Contingent
          PO Box 123682                                                       Unliquidated
          Dept 3682                                                           Disputed
          Dallas, TX 75312-3682
                                                                             Basis for the claim:    Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.492    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $253.47
          Quench USA Inc.                                                     Contingent
          PO Box 781393                                                       Unliquidated
          Philadelphia, PA 19178-1393                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.493    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,957.61
          Quick Connections Answering Service Inc                             Contingent
          7713 Belle Point Drive                                              Unliquidated
          Greenbelt, MD 20770                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.494    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $282.30
          Quick International Courier                                         Contingent
          PO Box 35417                                                        Unliquidated
          Newark, NJ 07193-5417                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.495    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $109.82
          Quill Corp                                                          Contingent
          PO Box 37600                                                        Unliquidated
          Philadelphia, PA 19101                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.496    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,995.65
          R&S Communications                                                  Contingent
          2448 S. Pinehurst Place                                             Unliquidated
          Ontario, CA 91761                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.497    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $10,247.39
          Rackspace US Inc.                                                   Contingent
          PO Box 730759                                                       Unliquidated
          Dallas, TX 75373-0759                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.498    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,800.00
          RadioMD LLC                                                         Contingent
          1600 Golf Road                                                      Unliquidated
          Suite 1200                                                          Disputed
          Rolling Meadows, IL 60008
                                                                             Basis for the claim:    Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.499    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $11,312.50
          Rarx LLC                                                            Contingent
          1911 Church Street Suite 202                                        Unliquidated
          Nashville, TN 37203                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.500    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $998.64
          RCN                                                                 Contingent
          PO Box 11816                                                        Unliquidated
          Newark, NJ 07101                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.501    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $135.44
          Ready Refresh by Nestle                                             Contingent
          PO Box 856192                                                       Unliquidated
          Louisville, KY 40285-6192                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.502    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $945.00
          Recordsforce                                                        Contingent
          124 Heritage Ave                                                    Unliquidated
          Suite 202                                                           Disputed
          Portsmouth, NH 03801
                                                                             Basis for the claim:    Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.503    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $150.00
          Red Lion MedGas Consultants Inc.                                    Contingent
                                                                              Unliquidated
          123-A Sandy Drive                                                   Disputed
          Newark, DE 19713
                                                                             Basis for the claim:    Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.504    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,765.00
          Redwood Productions, Inc.                                           Contingent
          1784 Heritage Center Drive                                          Unliquidated
          Suite 202                                                           Disputed
          Wake Forest, NC 27587
                                                                             Basis for the claim:    Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 Debtor       IntegraMed America, Inc.                                                                Case number (if known)            20-11170 (LSS)
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 3.505    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $82,319.25
          Reproductive Medicine Group                                         Contingent
          5425 East Fletcher Ave                                              Unliquidated
          Ste 1                                                               Disputed
          Tampa, FL 33617
                                                                             Basis for the claim:    Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.506    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $65,240.00
          Reproductive Medicine of NJ                                         Contingent
          Attn: Lena Mignone/Finance Dept                                     Unliquidated
          140Allen Road                                                       Disputed
          Basking Ridge, NJ 07920
                                                                             Basis for the claim:    Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.507    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,781.00
          Reprosource Fertility Diagnostics Inc.                              Contingent
          200 Forest Street                                                   Unliquidated
          2nd Floor, Suite B                                                  Disputed
          Marlborough, MA 01752
                                                                             Basis for the claim:    Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.508    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $413.00
          ReproTech                                                           Contingent
          14820 Kivett Ln                                                     Unliquidated
          Reno, NV 89521                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.509    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $30,000.00
          Resolve the National Infertility Assoc                              Contingent
          7918 Jones Branch Drive                                             Unliquidated
          Suite 300                                                           Disputed
          Mc Lean, VA 22102
                                                                             Basis for the claim:    Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.510    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $334.02
          Response Tap Inc.                                                   Contingent
          Dept LA 24462                                                       Unliquidated
          Pasadena, CA 91185-4462                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.511    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,556.20
          Rialya Tech LLC                                                     Contingent
          1437 Payne Road                                                     Unliquidated
          Schaumburg, IL 60173                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.512    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,320.74
          Richard Wolf Medical                                                Contingent
          2573 Momentum Place                                                 Unliquidated
          Chicago, IL 60689                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.513    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $221.25
          Richmond Express Inc.                                               Contingent
          PO Box 663                                                          Unliquidated
          Richmond, VA 23218                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.514    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $84,666.27
          RingCentral Inc.                                                    Contingent
          Dept Ch 19585                                                       Unliquidated
          Palatine, IL 60055-9585                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.515    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,918.17
          RingCentral, Inc.                                                   Contingent
          20 Davis Drive                                                      Unliquidated
          Belmont, CA 94002                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.516    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $16,115.54
          RMS Associates Inc                                                  Contingent
          1850 Lake Park Dr. SE                                               Unliquidated
          Suite 200                                                           Disputed
          Smyrna, GA 30080
                                                                             Basis for the claim:    Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.517    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,391.55
          Roberts Oxygen Company                                              Contingent
          PO Box 5507                                                         Unliquidated
          Derwood, MD 20855                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.518    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $34,972.55
          Roche Diagnostics Corp                                              Contingent
          Mail Code 5021                                                      Unliquidated
          PO Box 60367                                                        Disputed
          Dallas, TX 75266-0367
                                                                             Basis for the claim:    Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 3.519    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $54,648.60
          Roche Diagnostics Corporation                                       Contingent
          Mail Code 5508                                                      Unliquidated
          P.O. Box 71209                                                      Disputed
          Charlotte, NC 28272-1209
                                                                             Basis for the claim:    Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.520    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $320.00
          Rocket Medical                                                      Contingent
          50 Corporate Park Dr.                                               Unliquidated
          Unit 890                                                            Disputed
          Pembroke, MA 02359
                                                                             Basis for the claim:    Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.521    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $15,638.38
          Rocket Medical, LLC                                                 Contingent
          50 Coporate Park Drive                                              Unliquidated
          Unit 890                                                            Disputed
          Pembroke, MA 02359
                                                                             Basis for the claim:    Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.522    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $21,736.39
          ROIC California, LLC                                                Contingent
          MS 631099                                                           Unliquidated
          PO Box 3953                                                         Disputed
          Seattle, WA 98124
                                                                             Basis for the claim:    Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.523    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $833.33
          RUSSELL FOULK                                                       Contingent
          6800 EVANS CREEK                                                    Unliquidated
          RENO, NV 89509                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.524    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $11,561.35
          Salt Creek Campus LLC
          C/O MedProperties Group                                             Contingent
          71 S. Wacker Drive                                                  Unliquidated
          Suite 3725                                                          Disputed
          Chicago, IL 60606
                                                                             Basis for the claim:    Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.525    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $4,735.24
          Samsung Financial Solutions                                         Contingent
          PO Box 911608                                                       Unliquidated
          Denver, CO 80291-1608                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.526    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $68.35
          Sara Downs                                                          Contingent
          82 S. 980 E.                                                        Unliquidated
          American Fork, UT 84003                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.527    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $34,577.00
          SC JUA                                                              Contingent
          Lock Box 932523                                                     Unliquidated
          Atlanta, GA 31193-2523                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.528    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $123.00
          Schuyler House                                                      Contingent
          27821 Freemont Court                                                Unliquidated
          Suite 8                                                             Disputed
          Valencia, CA 91355
                                                                             Basis for the claim:    Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.529    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $49,358.84
          Scripps/XiMed Medical Center                                        Contingent
          9850 Genesee Avenue                                                 Unliquidated
          Suite 900                                                           Disputed
          La Jolla, CA 92037
                                                                             Basis for the claim:    Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.530    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $253.75
          Search America, Inc.                                                Contingent
          PO Box 886133                                                       Unliquidated
          Los Angeles, CA 90088                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.531    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $138.00
          Secure On-Site Shredding                                            Contingent
          PO Box 357                                                          Unliquidated
          Dunedin, FL 34697                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.532    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $411.99
          Security Press                                                      Contingent
          2525 W. Commodore Way                                               Unliquidated
          Seattle, WA 98199                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.533    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $122.17
          Sentry Surgical Supply Inc.                                         Contingent
          117 Boro Lone Road                                                  Unliquidated
          King of Prussia, PA 19406                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.534    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $15,244.00
          Shady Grove Chesterbrook Lender L.P.                                Contingent
          9600 Blackwell Road                                                 Unliquidated
          Suite 500                                                           Disputed
          Rockville, MD 20850
                                                                             Basis for the claim:    Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.535    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $61.38
          Shamrock Scientific
          Specialty Systems Incc.                                             Contingent
          34 Davis Drive                                                      Unliquidated
          PO Box 143                                                          Disputed
          Bellwood, IL 60104
                                                                             Basis for the claim:    Vendor1.38
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.536    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $7,905.00
          Sharon Covington, LCSW-C                                            Contingent
          12912 Three Sisters Road                                            Unliquidated
          Potomac, MD 20854                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.537    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $73.68
          Sharps Compliance Inc.                                              Contingent
          PO Box 679502                                                       Unliquidated
          Dallas, TX 75367-9502                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.538    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $620.67
          Sheathing Technologies, Inc.                                        Contingent
          675 Jarvis Drive                                                    Unliquidated
          Morgan Hill, CA 95037                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.539    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $846.94
          Shi International Corp                                              Contingent
          PO Box 952121                                                       Unliquidated
          Dallas, TX 75395-2121                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.540    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,824.85
          Shred It US JV LLC                                                  Contingent
          CDD LLC                                                             Unliquidated
          28883 Network Place                                                 Disputed
          Chicago, IL 60673-1282
                                                                             Basis for the claim:    Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.541    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $58,844.82
          Siemens Healthcare Diagnostics                                      Contingent
          PO Box 121102                                                       Unliquidated
          Dallas, TX 75312                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.542    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,922.28
          Siemens Medical Solutions, USA Inc.                                 Contingent
          PO Box 120001                                                       Unliquidated
          Dept 0733                                                           Disputed
          Dallas, TX 75312
                                                                             Basis for the claim:    Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.543    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $920.58
          Siemens Medical Solutions, USA Inc.                                 Contingent
          Dept LA 21536                                                       Unliquidated
          Pasadena, CA 91185                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.544    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $754.03
          Sigma-Aldrich                                                       Contingent
          PO Box 535182                                                       Unliquidated
          Atlanta, GA 30353-5182                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.545    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $750.06
          Sigma-Aldrich, Inc.                                                 Contingent
          PO Box 535182                                                       Unliquidated
          Atlanta, GA 30353                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.546    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $750.00
          Sign Language USA LLC                                               Contingent
          PO Box 1246                                                         Unliquidated
          Mc Lean, VA 22101                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.547    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $9,744.00
          Silent Pictures                                                     Contingent
          6738 N. Hiawatha                                                    Unliquidated
          Chicago, IL 60646                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.548    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $4,800.00
          Sleep Safe Anesthesia Services LLC                                  Contingent
          1205 N. Garfield St. #308                                           Unliquidated
          Arlington, VA 22201                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.549    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $512.77
          Smart City-Telecom - 538412                                         Contingent
          PO Box 733082                                                       Unliquidated
          Dallas, TX 75373-3082                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.550    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $116,531.16
          SMB, LLC                                                            Contingent
          3745 Pacific Street                                                 Unliquidated
          Las Vegas, NV 89121                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.551    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $4,795.62
          So-Flo Venture, LLC                                                 Contingent
          CL600100                                                            Unliquidated
          PO Box 24620                                                        Disputed
          West Palm Beach, FL 33416
                                                                             Basis for the claim:    Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.552    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $10,057.59
          Solarwinds, Inc.                                                    Contingent
          PO Box 730720                                                       Unliquidated
          Dallas, TX 75373                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.553    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,086.00
          Sonitrol of Greater Richmond Inc.                                   Contingent
          PO Box 5728                                                         Unliquidated
          Glen Allen, VA 23058                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.554    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $329.97
          Sonitrol Security Systems of Charleston                             Contingent
          4455 Tile Drive                                                     Unliquidated
          North Charleston, SC 29405                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.555    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,499.00
          South Carolina Patients Compensation Fun
          SCPCF                                                               Contingent
          111 Executive Center Dr.                                            Unliquidated
          Ste. 103                                                            Disputed
          Columbia, SC 29210
                                                                             Basis for the claim:    Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.556    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $300.00
          South Miami Pharmacy                                                Contingent
          7425 SW 42 Street                                                   Unliquidated
          Miami, FL 33155                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.557    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,673.88
          Southeastern Press Inc.                                             Contingent
          PO Box 6127                                                         Unliquidated
          Mobile, AL 36660                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.558    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $467.63
          Southern Anesthesia & Surgical Inc.                                 Contingent
          One Southern Court                                                  Unliquidated
          West Columbia, SC 29169                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.559    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $432.57
          Southern Elevator                                                   Contingent
          PO Box 538596                                                       Unliquidated
          Atlanta, GA 30353-8596                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.560    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $280.40
          Sparkletts & Sierra Spring                                          Contingent
          PO Box 660579                                                       Unliquidated
          Dallas, TX 75266                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.561    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $461.12
          Spectrio, LLC                                                       Contingent
          PO Box 890271                                                       Unliquidated
          Charlotte, NC 28289                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.562    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $4,873.90
          Spectrum Technologies                                               Contingent
          1532 Chablis Road                                                   Unliquidated
          Suite 101                                                           Disputed
          Healdsburg, CA 95448
                                                                             Basis for the claim:    Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.563    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $41,942.37
          Spring Valley Medical Properties II, LLC                            Contingent
          4722 N. 24th Street                                                 Unliquidated
          Suite 400                                                           Disputed
          Phoenix, AZ 85016
                                                                             Basis for the claim:    Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.564    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,224.29
          Staples                                                             Contingent
          PO Box 660409                                                       Unliquidated
          Dallas, TX 75266-0409                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.565    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $857.74
          Staples Advantage                                                   Contingent
          PO Box 105748                                                       Unliquidated
          Atlanta, GA 30348-5748                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.566    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $231.17
          Star Imaging                                                        Contingent
          5333 Henneman Drive                                                 Unliquidated
          Norfolk, VA 23513                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.567    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $722.24
          State of Maryland                                                   Contingent
          Dept of Budget and Management 1516                                  Unliquidated
          Baltimore, MD 21203                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.568    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $715.00
          Stephenson General Contractors                                      Contingent
          PO Box 1187                                                         Unliquidated
          109 W. Market Street                                                Disputed
          Smithfield, NC 27577
                                                                             Basis for the claim:    Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.569    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $499.89
          Stericycle Inc.                                                     Contingent
          PO Box 6575                                                         Unliquidated
          Carol Stream, IL 60197-6575                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.570    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $12,182.46
          Stericycle, Inc.                                                    Contingent
          PO Box 6582                                                         Unliquidated
          Carol Stream, IL 60197                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.571    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,139.48
          Stericycle, Inc.                                                    Contingent
          PO Box 6578                                                         Unliquidated
          Carol Stream, IL 60197                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.572    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $29.00
          Sterling InfoSystems Inc.                                           Contingent
          PO Box 35626                                                        Unliquidated
          Newark, NJ 07193-5626                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.573    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $343.35
          Sterling Talent Solutions                                           Contingent
          PO Box 35626                                                        Unliquidated
          Newark, NJ 07193-5626                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.574    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $955.24
          STI Group LTD                                                       Contingent
          201 Rock Road                                                       Unliquidated
          Suite 2X                                                            Disputed
          Glen Rock, NJ 07452
                                                                             Basis for the claim:    Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 3.575    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,827.50
          Stone Point Consulting, Inc.                                        Contingent
          3078 E. Stone Point Drive                                           Unliquidated
          Boise, ID 83712                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.576    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,195.00
          Storquest-Torrance                                                  Contingent
          20428 Earl Street                                                   Unliquidated
          Torrance, CA 90503                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.577    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,926.55
          Straight Eight Properties, LLC                                      Contingent
          PO Box 9604                                                         Unliquidated
          Pensacola, FL 32503-3407                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.578    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,112.46
          Stryker Endoscopy                                                   Contingent
          c/o Stryker Sales Corp                                              Unliquidated
          PO Box 93276                                                        Disputed
          Chicago, IL 60673
                                                                             Basis for the claim:    Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.579    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $107.67
          Summit Transcription Services Inc.                                  Contingent
          PO Box 1431                                                         Unliquidated
          West Jordan, UT 84084                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.580    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $485.52
          Sundun, Inc. of Washington                                          Contingent
          PO Box 39                                                           Unliquidated
          Beltsville, MD 20705                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.581    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $729.96
          Sunset Linen                                                        Contingent
          3016 Dutton Ave                                                     Unliquidated
          Santa Rosa, CA 95407                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       IntegraMed America, Inc.                                                                Case number (if known)            20-11170 (LSS)
              Name

 3.582    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $975.00
          Supero Healthcare Solutions, LLC                                    Contingent
          PO Box 1937                                                         Unliquidated
          San Antonio, TX 78297-1937                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.583    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $484.32
          Tarheel Linen Service                                               Contingent
          PO Box 15028                                                        Unliquidated
          Durham, NC 27704                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.584    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $9,300.00
          Taylor Sparks and Kyle Sparks                                       Contingent
          136 Charlton Road                                                   Unliquidated
          Hubert, NC 28539                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.585    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $7,709.70
          TD Media                                                            Contingent
          PO Box 231927                                                       Unliquidated
          Encinitas, CA 92023                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.586    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $112.25
          Tel-Answer Inc.                                                     Contingent
          506 S. 5th Street                                                   Unliquidated
          Boise, ID 83702                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.587    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,775.50
          Teladoc Inc.                                                        Contingent
          Dept 3417                                                           Unliquidated
          PO Box 123417                                                       Disputed
          Dallas, TX 75312-3417
                                                                             Basis for the claim:    Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.588    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,575.00
          Tempdev Inc.                                                        Contingent
          2550 Sand Hill Road                                                 Unliquidated
          #100                                                                Disputed
          Menlo Park, CA 94025
                                                                             Basis for the claim:    Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 3.589    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $412.96
          Terminix                                                            Contingent
          Terminix Processing Center                                          Unliquidated
          PO Box 742592                                                       Disputed
          Cincinnati, OH 45274
                                                                             Basis for the claim:    Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.590    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,648.77
          Tesla Finance LLC                                                   Contingent
          PO Box 4387                                                         Unliquidated
          Portland, OR 97208                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.591    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $637.66
          The Certif-A-Gift Company Inc.                                      Contingent
          PO Box 1998                                                         Unliquidated
          Arlington Heights, IL 60006                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.592    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,083.04
          The Offices at Twelve Mile                                          Contingent
          4721 C Sunset Blvd                                                  Unliquidated
          Lexington, SC 29072                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.593    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $103,850.37
          The Ultimate Software Group, Inc.                                   Contingent
          PO Box 930953                                                       Unliquidated
          Atlanta, GA 31193                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.594    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $778.50
          Thermal Concepts Inc.                                               Contingent
          2201 College Ave                                                    Unliquidated
          Fort Lauderdale, FL 33317                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.595    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,582.43
          Thomas Medical Inc.                                                 Contingent
          PO Box 1627                                                         Unliquidated
          Indianapolis, IN 46278                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.596    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $12,092.14
          TIAA Commercial Finance, Inc.                                       Contingent
          PO Box 911608                                                       Unliquidated
          Denver, CO 80291-1608                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.597    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $243.83
          Time Warner Cable                                                   Contingent
          PO Box 70872                                                        Unliquidated
          Charlotte, NC 28272-0872                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.598    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $421.22
          Titus Medical LLC                                                   Contingent
          7000 Regent Parkway                                                 Unliquidated
          Suite 106                                                           Disputed
          Fort Mill, SC 29715
                                                                             Basis for the claim:    Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.599    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $6,362.34
          Tosoh BioScience Inc.                                               Contingent
          PO Box 712415                                                       Unliquidated
          Cincinnati, OH 45271                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.600    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $6,803.24
          Total Office Online, Inc.                                           Contingent
          18 Technology Drive                                                 Unliquidated
          Ste. 113                                                            Disputed
          Irvine, CA 92618
                                                                             Basis for the claim:    Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.601    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,174.73
          Trane U.S. Inc.                                                     Contingent
          PO Box 98167                                                        Unliquidated
          Chicago, IL 60693                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.602    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,995.74
          Trilogy Enterprises LLC
          c/o ACMI                                                            Contingent
          1110 Prodessional Court                                             Unliquidated
          Suite 300                                                           Disputed
          Hagerstown, MD 21740
                                                                             Basis for the claim:    Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 3.603    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,525.00
          Trilogy Medwaste Southeast LLC                                      Contingent
          PO Box 670650                                                       Unliquidated
          Dallas, TX 75267                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.604    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $51.67
          Tyl Taylor                                                          Contingent
                                                                              Unliquidated
          Date(s) debt was incurred                                           Disputed
          Last 4 digits of account number                                    Basis for the claim:    Vendor
                                                                             Is the claim subject to offset?    No  Yes
 3.605    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $217.57
          U-Haul                                                              Contingent
          PO Box 52128                                                        Unliquidated
          Phoenix, AZ 85072                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.606    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $264.24
          Uline                                                               Contingent
          Accts Receivable                                                    Unliquidated
          PO Box 88741                                                        Disputed
          Chicago, IL 60680-1741
                                                                             Basis for the claim:    Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.607    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $800.00
          Ulmen Anesthesia LLC                                                Contingent
          1740 Turk Road                                                      Unliquidated
          Doylestown, PA 18901                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.608    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,242.33
          Uniform Property Management LLC                                     Contingent
          8403 Westglen Dr.                                                   Unliquidated
          Houston, TX 77063                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.609    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $108.63
          United Imaging                                                      Contingent
          21201 Oxnard Street                                                 Unliquidated
          Woodland Hills, CA 91367                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.610    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $249.98
          Unitex Textile Rental                                               Contingent
          155 S. Terrace Ave.                                                 Unliquidated
          Mount Vernon, NY 10550                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.611    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $247.78
          Universal Building Services                                         Contingent
          3120 Pierce Street                                                  Unliquidated
          Richmond, CA 94804                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.612    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $40,993.60
          University Fertility Consultants                                    Contingent
          PO Box 3590                                                         Unliquidated
          Portland, OR 97208                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.613    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $20,000.00
          University Medical Service Asso.                                    Contingent
          PO Box 917492                                                       Unliquidated
          Orlando, FL 32891                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.614    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $20,000.00
          University Medical Service Association                              Contingent
          PO Box 917492                                                       Unliquidated
          Orlando, FL 32891-7492                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.615    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $10,416.67
          University of South Florida                                         Contingent
          USF Health Payment Center                                           Unliquidated
          PO Box 864300                                                       Disputed
          Orlando, FL 32886-4300
                                                                             Basis for the claim:    Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.616    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $13,963.87
          UPMC Pinnacle                                                       Contingent
          PO Box 8700                                                         Unliquidated
          Harrisburg, PA 17105                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.617    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $13,963.87
          UPMC Pinnacle                                                       Contingent
          Corporate Real Estate                                               Unliquidated
          PO Box 8700                                                         Disputed
          Harrisburg, PA 17105-8700
                                                                             Basis for the claim:    Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.618    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $124.00
          UPS                                                                 Contingent
          PO Box 7247-9244                                                    Unliquidated
          Philadelphia, PA 19170                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.619    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $124.00
          UPS                                                                 Contingent
          PO Box 7247-0244                                                    Unliquidated
          Philadelphia, PA 19170-0001                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendodr
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.620    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,122.58
          US Bank                                                             Contingent
          PO Box 790448                                                       Unliquidated
          Saint Louis, MO 63179                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.621    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,690.37
          US Bank                                                             Contingent
          PO Box 790448                                                       Unliquidated
          Saint Louis, MO 63179                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.622    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,690.37
          US Bank 790408                                                      Contingent
          PO Box 790408                                                       Unliquidated
          Saint Louis, MO 63179-0408                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.623    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,122.58
          US Bank 790448                                                      Contingent
          PO Box 790448                                                       Unliquidated
          Saint Louis, MO 63179                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.624    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,379.53
          US Linen & Uniform                                                  Contingent
          1106 Harding St.                                                    Unliquidated
          Richland, WA 99352                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.625    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $23,121.38
          US Messenger & USM Logistics, Inc.                                  Contingent
          7790 Quincy St.                                                     Unliquidated
          Willowbrook, IL 60527                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.626    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $23,121.38
          US Messengerr & USM Logistics, Inc.                                 Contingent
          7790 Quincy Street                                                  Unliquidated
          Willowbrook, IL 60527                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.627    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $40.26
          USA Scientific                                                      Contingent
          PO Box 30000                                                        Unliquidated
          Orlando, FL 32891                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.628    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $40.26
          USA Scientific                                                      Contingent
          Accounts Receivable                                                 Unliquidated
          PO Box 30000                                                        Disputed
          Orlando, FL 32891
                                                                             Basis for the claim:    Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.629    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $6,752.99
          Vanguard Communications                                             Contingent
          2400 Broadway                                                       Unliquidated
          Suite 3                                                             Disputed
          Denver, CO 80205
                                                                             Basis for the claim:    Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.630    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $6,752.99
          Vanguard Communications                                             Contingent
          2400 Broadway                                                       Unliquidated
          Suite 3                                                             Disputed
          Denver, CO 80205
                                                                             Basis for the claim:    Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 3.631    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $903.00
          Vasco Rx Specialty Pharmacy                                         Contingent
          4045 E. Bell Rd.                                                    Unliquidated
          Suite 163                                                           Disputed
          Phoenix, AZ 85032
                                                                             Basis for the claim:    Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.632    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $637.81
          Veolia Es Technical Solutions, LLC                                  Contingent
          PO Box 102296                                                       Unliquidated
          Pasadena, CA 91189                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.633    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $637.81
          Veolia ES Technical Solutions, LLC                                  Contingent
          PO Box 102296                                                       Unliquidated
          Pasadena, CA 91189-2296                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.634    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $192.56
          Verizon                                                             Contingent
          PO Box 16801                                                        Unliquidated
          Newark, NJ 07101                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.635    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $4,386.56
          Verizon Business                                                    Contingent
          PO Box 15043                                                        Unliquidated
          Albany, NY 12212                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.636    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,051.73
          Verizon Wireless                                                    Contingent
          PO Box 25505                                                        Unliquidated
          Lehigh Valley, PA 18002                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.637    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,121.91
          Verizon Wireless                                                    Contingent
          PO Box 660108                                                       Unliquidated
          Dallas, TX 75266                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       IntegraMed America, Inc.                                                                Case number (if known)            20-11170 (LSS)
              Name

 3.638    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $404.30
          Verizon Wireless                                                    Contingent
          PO Box 25505                                                        Unliquidated
          Lehigh Valley, PA 18002                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.639    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,121.91
          Verizon Wireless                                                    Contingent
          PO Box 660108                                                       Unliquidated
          Dallas, TX 75266                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.640    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $486.18
          Victorian Office LLC                                                Contingent
          250 S. Bobwhite Ct.                                                 Unliquidated
          Suite 230                                                           Disputed
          Boise, ID 83706
                                                                             Basis for the claim:    Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.641    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $486.18
          Victorian Office LLC                                                Contingent
          250 S. Bobwhite Court                                               Unliquidated
          Suite 230                                                           Disputed
          Boise, ID 83706
                                                                             Basis for the claim:    Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.642    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $801.24
          Vital Records Control of AL                                         Contingent
          Dept 5874                                                           Unliquidated
          PO Box 11407                                                        Disputed
          Birmingham, AL 35246
                                                                             Basis for the claim:    Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.643    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $801.24
          Vital Records Control of Alabama                                    Contingent
          Dept 5874                                                           Unliquidated
          PO Box 11407                                                        Disputed
          Birmingham, AL 35246-5874
                                                                             Basis for the claim:    Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.644    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $398.11
          Vital Records Control of South Carolina                             Contingent
          Dept 5874                                                           Unliquidated
          PO Box 11407                                                        Disputed
          Birmingham, AL 35246
                                                                             Basis for the claim:    Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 Debtor       IntegraMed America, Inc.                                                                Case number (if known)            20-11170 (LSS)
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 3.645    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $398.11
          Vital Records Control of South Carolina                             Contingent
          Dept 5874                                                           Unliquidated
          PO Box 11407                                                        Disputed
          Birmingham, AL 35246
                                                                             Basis for the claim:    Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.646    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $645.64
          Vital Records Holdings LLC                                          Contingent
          PO Box 11407                                                        Unliquidated
          Birmingham, AL 35246-5874                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.647    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $69,241.10
          Vitrolife                                                           Contingent
          1715 Solutions Center                                               Unliquidated
          Chicago, IL 60677                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.648    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $69,241.10
          Vitrolife                                                           Contingent
          1715 Solutions Center                                               Unliquidated
          Chicago, IL 60677                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.649    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $33,989.29
          VWR International                                                   Contingent
          PO Box 640169                                                       Unliquidated
          Pittsburgh, PA 15264                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.650    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $33,989.29
          VWR International                                                   Contingent
          PO Box 640169                                                       Unliquidated
          Pittsburgh, PA 15264                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.651    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $12,578.82
          W.B. Mason Company                                                  Contingent
          PO Box 981101                                                       Unliquidated
          Boston, MA 02298                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       IntegraMed America, Inc.                                                                Case number (if known)            20-11170 (LSS)
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 3.652    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $7,646.19
          Wageworks                                                           Contingent
          Corporate Office                                                    Unliquidated
          PO Box 45772                                                        Disputed
          San Francisco, CA 94145
                                                                             Basis for the claim:    Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.653    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $7,646.19
          Wageworks                                                           Contingent
          Corporate Office                                                    Unliquidated
          PO Box 45772                                                        Disputed
          San Francisco, CA 94145
                                                                             Basis for the claim:    Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.654    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,525.00
          Wal-Mark Contracting Group LLC
          NATIONAL CONSTRUCTION ENTERPRISES                                   Contingent
          INC                                                                 Unliquidated
          5203 NORTH HOWARD AVE                                               Disputed
          Tampa, FL 33603
                                                                             Basis for the claim:    Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.655    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,525.00
          Wal-Mark Contracting Group LLC
          NATIONAL CONSTRUCTION ENTERPRISES                                   Contingent
          INC                                                                 Unliquidated
          5203 NORTH HOWARD AVE                                               Disputed
          Tampa, FL 33603
                                                                             Basis for the claim:    Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.656    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $192.33
          Wasatch Greenspaces                                                 Contingent
          3267 East 3300 South No. 513                                        Unliquidated
          Salt Lake City, UT 84109                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.657    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $192.23
          Wasatch Greenspaces                                                 Contingent
          3267 East 3300 South No. 513                                        Unliquidated
          Salt Lake City, UT 84109                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.658    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,227.68
          Waste Management of Pennsylvania                                    Contingent
          PO Box 13648                                                        Unliquidated
          Philadelphia, PA 19101                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes



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 Debtor       IntegraMed America, Inc.                                                                Case number (if known)            20-11170 (LSS)
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 3.659    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,227.68
          Waste Management of Pennsylvania                                    Contingent
          PO Box 13648                                                        Unliquidated
          Philadelphia, PA 19101                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.660    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $60.26
          Water Specialties Inc.                                              Contingent
          4118 South 500 West                                                 Unliquidated
          Salt Lake City, UT 84123                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.661    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $60.26
          Water Specialties Inc.                                              Contingent
          4118 South 500 West                                                 Unliquidated
          Salt Lake City, UT 84123                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.662    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $10,812.01
          Waterworks Partners II, Inc.                                        Contingent
          4701 Von Karman Ave.                                                Unliquidated
          Suite 100                                                           Disputed
          Newport Beach, CA 92660
                                                                             Basis for the claim:    Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.663    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $7,016.75
          WBEB-FM                                                             Contingent
          PO Box 92911                                                        Unliquidated
          Cleveland, OH 44194                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.664    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $955.80
          Weinterpret.net                                                     Contingent
          PO Box 250                                                          Unliquidated
          Libertytown, MD 21762                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.665    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $640.16
          Wells Fargo                                                         Contingent
          PO Box 650073                                                       Unliquidated
          Dallas, TX 75265                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       IntegraMed America, Inc.                                                                Case number (if known)            20-11170 (LSS)
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 3.666    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $57,578.34
          Welltower OM Group LLC                                              Contingent
          29126 Network Place                                                 Unliquidated
          Chicago, IL 60673                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.667    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,025.00
          Wessne's Janitorial, Inc.                                           Contingent
          PO Box 5414                                                         Unliquidated
          Berkeley, CA 94705                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.668    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $32,063.92
          West 18th Street Venture LLC                                        Contingent
          PO Box 32072                                                        Unliquidated
          New York, NY 10087                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.669    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $500.00
          West Oak LLC
          1165 Imperial Drive                                                 Contingent
          Suite 300                                                           Unliquidated
          ATTN MATT ANDREWS                                                   Disputed
          Hagerstown, MD 21740
                                                                             Basis for the claim:    Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.670    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $10,069.11
          West Publishing Corp                                                Contingent
          PO Box 412197                                                       Unliquidated
          Boston, MA 02241                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.671    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $26,839.00
          Westminster Executive Plaza LLC                                     Contingent
          cSunny Hills Pallodium LLC                                          Unliquidated
          600 WEST SANTA ANA BLVD, STE 800                                    Disputed
          Santa Ana, CA 92701
                                                                             Basis for the claim:    Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.672    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,700.00
          WIAD-FM                                                             Contingent
          PO Box 74090                                                        Unliquidated
          Cleveland, OH 44194                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.673    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $34,525.00
          Wilson & Corbin, APLC                                               Contingent
          17817 Balle De Lobo Dr.                                             Unliquidated
          Poway, CA 92064                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.674    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $10,847.98
          Windrose Wellington Properties Ltd.
          HEALTHCARE PROP.MANAGERS OF                                         Contingent
          AMERICA C/O                                                         Unliquidated
          29126 NETWORK PLACE                                                 Disputed
          Chicago, IL 60673
                                                                             Basis for the claim:    Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.675    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $5,253.00
          WMMR-FM                                                             Contingent
          One Bala Plaza                                                      Unliquidated
          Suite 429                                                           Disputed
          Bala Cynwyd, PA 19004
                                                                             Basis for the claim:    Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.676    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $41,335.13
          Womens Care Florida LLC                                             Contingent
          5002 W. Lemon St.                                                   Unliquidated
          Tampa, FL 33609                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.677    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $5,600.00
          Woodstown Anesthesia LLC                                            Contingent
          2 Lantern Lane                                                      Unliquidated
          Tampa, FL 33609                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.678    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $495.00
          Workcast Inc.
          Pioneer Building                                                    Contingent
          95 South Jackson St.                                                Unliquidated
          Suite 100                                                           Disputed
          Seattle, WA 98104
                                                                             Basis for the claim:    Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.679    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $4,644.40
          WWMX-FM                                                             Contingent
          PO Box 74090                                                        Unliquidated
          Cleveland, OH 44194                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes



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 3.680     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $1,731.44
           Y.C.P Cleaning Service                                             Contingent
           1011 Rock Forest Way                                               Unliquidated
           Fort Mill, SC 29707                                                Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.681     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $2,516.00
           Your Public Radio Corp.                                            Contingent
           2216 N Charles St.                                                 Unliquidated
           Baltimore, MD 21218                                                Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.682     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                     $63.90
           Zengeler Cleaners                                                  Contingent
           660 Dundee Road                                                    Unliquidated
           Suite 1001                                                         Disputed
           Northbrook, IL 60062
                                                                             Basis for the claim:    Vendor
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?    No  Yes

 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                                      related creditor (if any) listed?               account number, if
                                                                                                                                                      any

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                         Total of claim amounts
 5a. Total claims from Part 1                                                                            5a.        $                             0.00
 5b. Total claims from Part 2                                                                            5b.    +   $                     8,084,893.60
 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                                 5c.        $                        8,084,893.60




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 376 of 376
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 Fill in this information to identify the case:

 Debtor name         IntegraMed America, Inc.

 United States Bankruptcy Court for the:            DISTRICT OF DELAWARE

 Case number (if known)         20-11170 (LSS)
                                                                                                                                  Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.      Does the debtor have any executory contracts or unexpired leases?
         No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
       Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal            Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                         State the name and mailing address for all other parties with
                                                                                    whom the debtor has an executory contract or unexpired
                                                                                    lease

 2.1.         State what the contract or                  Nonresidential real
              lease is for and the nature of              property lease for 907
              the debtor's interest                       N ELM ST, STE 200,
                                                          Hinsdale, IL
                  State the term remaining                6/19/2023
                                                                                        Accounting Manager
              List the contract number of any                                           40 Skokie Blvd., Suite 410
                    government contract                                                 Northbrook, IL 60062


 2.2.         State what the contract or                  Nonresidential real
              lease is for and the nature of              property lease for 2021
              the debtor's interest                       K ST NW, STE 710 A,
                                                          Washington, DC
                  State the term remaining                5/31/2024                     Alexis Brown
                                                                                        2021 K LLC c/o TF Cornerstone Inc
              List the contract number of any                                           387 Park Ave. S
                    government contract                                                 New York, NY 10016


 2.3.         State what the contract or                  Nonresidential real
              lease is for and the nature of              property lease for 2021
              the debtor's interest                       K ST NW, STE 750,
                                                          Washington, DC
                  State the term remaining                5/31/2024                     Alexis Brown
                                                                                        2021 K LLC c/o TF Cornerstone Inc
              List the contract number of any                                           387 Park Ave. S
                    government contract                                                 New York, NY 10016


 2.4.         State what the contract or                  Nonresidential real
              lease is for and the nature of              property lease for 2021
              the debtor's interest                       K ST NW, STE 101,
                                                          Washington, DC
                  State the term remaining                5/31/2024                     Alexis Brown
                                                                                        2021 K LLC c/o TF Cornerstone Inc
              List the contract number of any                                           387 Park Ave. S
                    government contract                                                 New York, NY 10016




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 Debtor 1 IntegraMed America, Inc.                                                               Case number (if known)   20-11170 (LSS)
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

 2.5.        State what the contract or                   Nonresidential real
             lease is for and the nature of               property lease for 100
             the debtor's interest                        PARK PL, SUITES 130
                                                          170 200, San Ramon,
                                                          CA
                  State the term remaining                6/30/2026                      Andy Wiratama , Anya Chanes
                                                                                         Independent Holdings, LLC
             List the contract number of any                                             608 N El Camino Real
                   government contract                                                   San Mateo, CA 94401


 2.6.        State what the contract or                   Nonresidential real
             lease is for and the nature of               property lease for
             the debtor's interest                        19500 SANDRIDGE
                                                          WAY, STE 280 A,
                                                          Leesburg, VA
                  State the term remaining                11/31/2021                     Anne McCannon
                                                                                         HSRE Capmed LLC
             List the contract number of any                                             6110 Executive Blvd., Suite 800
                   government contract                                                   Rockville, MD 20852


 2.7.        State what the contract or                   Nonresidential real
             lease is for and the nature of               property lease for 901
             the debtor's interest                        DULANEY VLY RD, STE
                                                          616 AND STE 100,
                                                          Towson, MD
                  State the term remaining                5/31/2023                      Anthony G. LaBarbera, Rebecca Shipwash
                                                                                         Guardian Realty Fund II Dulaney LLC
             List the contract number of any                                             6000 Executive Blvd., Suite 400
                   government contract                                                   Rockville, MD 20852


 2.8.        State what the contract or                   Nonresidential real
             lease is for and the nature of               property lease for
             the debtor's interest                        15066 LOS GATOS
                                                          ALAMADEN RD (NEW),
                                                          STE 100, Los Gatos, CA
                  State the term remaining                6/30/2026                      Barry Mirkin
                                                                                         Mirkin Trust
             List the contract number of any                                             542 Lakeside Dr., Ste 2A
                   government contract                                                   Mountain View, CA 94040


 2.9.        State what the contract or                   Nonresidential real
             lease is for and the nature of               property lease for 425
             the debtor's interest                        FIFTH AVE, STE 602,
                                                          New York, NY                   Cat Wong
                  State the term remaining                4/30/2025                      Chang Kuo Reality LLC
                                                                                         Murray Hill Station
             List the contract number of any                                             PO Box 1851
                   government contract                                                   New York, NY 10156




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 Debtor 1 IntegraMed America, Inc.                                                               Case number (if known)   20-11170 (LSS)
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

 2.10.       State what the contract or                   Nonresidential real
             lease is for and the nature of               property lease for 3055
             the debtor's interest                        112TH AVE NE, STE
                                                          201 A, Bellevue, WA
                  State the term remaining                2/28/2021                      CBRE, c/o DWF West Lake LLC
                                                                                         Corporate Campus E
             List the contract number of any                                             1605 5th Ave., Suite 400
                   government contract                                                   Seattle, WA 98101


 2.11.       State what the contract or                   Clinic Master Service
             lease is for and the nature of               Agreement
             the debtor's interest

                  State the term remaining                8/31/2032
                                                                                         Center for Reproductive Medicine, P.A.
             List the contract number of any                                             3435 Pinehurst Avenue
                   government contract                                                   Orlando, FL 32804


 2.12.       State what the contract or                   Nonresidential real
             lease is for and the nature of               property lease for 2000
             the debtor's interest                        MEDICAL PKWY, STE
                                                          308, Annapolis, MD
                  State the term remaining                12/31/2024                     Christine N. Corradini
                                                                                         Belcher Pavilion
             List the contract number of any                                             2001 Medical Parkway
                   government contract                                                   Annapolis, MD 21401


 2.13.       State what the contract or                   Clinic Master Service
             lease is for and the nature of               Agreement
             the debtor's interest

                  State the term remaining                9/14/2032
                                                                                         Coastal Fertility Specialists, LLC
             List the contract number of any                                             1375 Hospital Drive
                   government contract                                                   Mount Pleasant, SC 29464


 2.14.       State what the contract or                   Nonresidential real
             lease is for and the nature of               property lease for 6330
             the debtor's interest                        SAN VICENTE BLVD,
                                                          SUITES 408 238
                                                          (UPDATED), Los
                                                          Angeles, CA
                  State the term remaining                8/31/2022                      Douglas Emmett
                                                                                         Douglas Emmett Management LLC
             List the contract number of any                                             6330 San Vincente Blvd., Ste 220
                   government contract                                                   Los Angeles, CA 90048


 2.15.       State what the contract or                   Nonresidential real            DWF V West Lake, LLC
             lease is for and the nature of               property lease for 1505        cDivcoWest Real Estate Services, LLC
             the debtor's interest                        WESTLAKE AVE N,                Attn: Helen Tann
                                                          SUITES 400 495 300             575 Market Street, 35th Fl
                                                          310, Seattle, WA               San Francisco, CA 94105
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                         Page 3 of 12
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 Debtor 1 IntegraMed America, Inc.                                                                Case number (if known)   20-11170 (LSS)
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                  State the term remaining                /28/2025

             List the contract number of any
                   government contract


 2.16.       State what the contract or                   Nonresidential real
             lease is for and the nature of               property lease for 3209
             the debtor's interest                        S 23RD ST, STE 350
                                                          3RD FL, Tacoma, WA
                  State the term remaining                10/31/2022                     Ed Luera
                                                                                         Clise Properties, Inc.
             List the contract number of any                                             1700 7th Ave., Suite 1800
                   government contract                                                   Seattle, WA 98101


 2.17.       State what the contract or                   Nonresidential real
             lease is for and the nature of               property lease for
             the debtor's interest                        12333 NE 130TH LN,
                                                          STE 220 -, Kirkland, WA        Evergreen Hospital Medical Center
                  State the term remaining                2/28/2025                      King County Public Hospital No. 2
                                                                                         Property Management - Mailbox #2
             List the contract number of any                                             12040 NE 128th Street
                   government contract                                                   Kirkland, WA 98034


 2.18.       State what the contract or                   Nonresidential real
             lease is for and the nature of               property lease for 3010
             the debtor's interest                        CRAIN HWY, STE 201,
                                                          Waldorf, MD
                  State the term remaining                3/31/2021                      Farhad Saba
                                                                                         The Saba Group Inc.
             List the contract number of any                                             11637 Ter Dr, Suite 200
                   government contract                                                   Waldorf, MD 20602


 2.19.       State what the contract or                   Clinic Master Service
             lease is for and the nature of               Agreement
             the debtor's interest

                  State the term remaining                2/15/2042                      Fertility Centers of Illinois, S.C.
                                                                                         3703 W. Lake Avenue
             List the contract number of any                                             Suite 310
                   government contract                                                   Glenview, IL 60026


 2.20.       State what the contract or                   Clinic Master Service
             lease is for and the nature of               Agreement
             the debtor's interest
                                                                                         Foulk & Whitten Nevada Center
                  State the term remaining                12/1/2034                      for Reproductive Medicin, PC
                                                                                         645 Sierra Rose Drive
             List the contract number of any                                             Suite 205
                   government contract                                                   Reno, NV 89511




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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

 2.21.       State what the contract or                   Nonresidential real
             lease is for and the nature of               property lease for 1098
             the debtor's interest                        FOSTER CITY BLVD,
                                                          STE 210 (A210 A205),
                                                          Foster City, CA
                  State the term remaining                7/31/2022                      Francesca Busalacchi
                                                                                         ROIC California, LLC Attn: Chief Operati
             List the contract number of any                                             8905 Towne Ctr Dr., Suite 108
                   government contract                                                   San Diego, CA 92122


 2.22.       State what the contract or                   Nonresidential real
             lease is for and the nature of               property lease for 2960
             the debtor's interest                        N STATE RD 7, SUITES
                                                          100 200 300, Margate,
                                                          FL                             Gary Gagne, Director of Leasing
                  State the term remaining                8/31/2020                      Montecito Medical
                                                                                         Northwest Medical Park
             List the contract number of any                                             550 Heritage Dr., Suite 200
                   government contract                                                   Jupiter, FL 33458


 2.23.       State what the contract or                   Nonresidential real
             lease is for and the nature of               property lease for 5215
             the debtor's interest                        LOUGHBORO RD, STE
                                                          410 A, Washington, DC
                  State the term remaining                3/31/2027                      Grace Waldron
                                                                                         Avison Young
             List the contract number of any                                             5255 Loughboro Rd NW
                   government contract                                                   Washington, DC 20016


 2.24.       State what the contract or                   Nonresidential real
             lease is for and the nature of               property lease for 2333
             the debtor's interest                        PONCE DE LEON
                                                          BLVD, SUITES 126 &
                                                          128, Coral Gables, FL
                  State the term remaining                1/31/2023                      Hilda Mendoza, property manager
                                                                                         Prim BAC Colonnade, LLC c/o PointeGroup
             List the contract number of any                                             2333 Ponce De Leon Blvd. Ste R210
                   government contract                                                   Miami, FL 33134


 2.25.       State what the contract or                   Clinic Master Service
             lease is for and the nature of               Agreement
             the debtor's interest

                  State the term remaining                12/1/2034                      Idaho Center for Reproductive Medicine
                                                                                         111 Main Street
             List the contract number of any                                             Suite 100
                   government contract                                                   Boise, ID 83702




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 Debtor 1 IntegraMed America, Inc.                                                               Case number (if known)   20-11170 (LSS)
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

 2.26.       State what the contract or                   Nonresidential real
             lease is for and the nature of               property lease for
             the debtor's interest                        15920 E INDIANA AVE,
                                                          STE 200 A, Spokane
                                                          Valley, WA
                  State the term remaining                9/30/2020                      Indiana Investors Group, L.L.C., c/o Lol
                                                                                         Indiana Investors Group, LLC
             List the contract number of any                                             9614 N. Cedar Rd.
                   government contract                                                   Spokane, WA 99208


 2.27.       State what the contract or                   Nonresidential real
             lease is for and the nature of               property lease for 7280
             the debtor's interest                        W PALMETTO PARK
                                                          RD, STE 104-N, Boca
                                                          Raton, FL
                  State the term remaining                6/30/2021                      Jackie Villamayor, So-Flo Venture/CBRE
                                                                                         c/o Liberty Equities USA, LC
             List the contract number of any                                             534 Willow Ave., Suite 203
                   government contract                                                   Cedarhurst, NY 11516


 2.28.       State what the contract or                   Nonresidential real
             lease is for and the nature of               property lease for 510
             the debtor's interest                        N PROSPECT AVE,
                                                          SUITES 202 205,
                                                          Redondo Beach, CA
                  State the term remaining                2/28/2023                      Janet Song
                                                                                         Charles Dunn Real Estate Services, Inc.
             List the contract number of any                                             800 West 6th St., Suite 600
                   government contract                                                   Los Angeles, CA 90017


 2.29.       State what the contract or                   Nonresidential real
             lease is for and the nature of               property lease for
             the debtor's interest                        10630 LITTLE
                                                          PATUXENT PKWY, STE
                                                          305 AND 330,
                                                          Columbia, MD                   Jeffrey Lee Cohen
                  State the term remaining                9/30/2021                      BECO Management Inc.
                                                                                         5410 Edson Ln20852
             List the contract number of any                                             Suite 200
                   government contract                                                   Rockville, MD 20852


 2.30.       State what the contract or                   Nonresidential real
             lease is for and the nature of               property lease for 9600
             the debtor's interest                        BLACKWELL RD, 5TH
                                                          FL, Rockville, MD
                  State the term remaining                3/31/2026                      Jennifer Pendly, CPA
                                                                                         9600 BLACKWELL II c/o ROYCO INC
             List the contract number of any                                             8121 Georgia Ave., Suite 500
                   government contract                                                   Silver Spring, MD 20910




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              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

 2.31.       State what the contract or                   Nonresidential real
             lease is for and the nature of               property lease for
             the debtor's interest                        13580 GROUPE DR,
                                                          STE 105, Woodbridge,
                                                          VA
                  State the term remaining                5/31/2025                      John S. Groupe, V.
                                                                                         The Engineering Group
             List the contract number of any                                             13580 Groupe Dr., Suite 301
                   government contract                                                   Woodbridge, VA 22192


 2.32.       State what the contract or                   Nonresidential real
             lease is for and the nature of               property lease for 2260
             the debtor's interest                        W HIGGINS RD, STE
                                                          200 A, Hoffman
                                                          Estates, IL
                  State the term remaining                5/23/2023
                                                                                         Jonathan Swindle
             List the contract number of any                                             PO Box 4807
                   government contract                                                   Hinsdale, IL 60522


 2.33.       State what the contract or                   Nonresidential real
             lease is for and the nature of               property lease for 100
             the debtor's interest                        TECHNOLOGY DR,
                                                          SUITES 203 210,
                                                          Trumbull, CT
                  State the term remaining                3/31/2025                      Joseph Goldman
                                                                                         El Dorado Holdings LLC
             List the contract number of any                                             100 Technology Dr.
                   government contract                                                   Trumbull, CT 06611


 2.34.       State what the contract or                   Nonresidential real
             lease is for and the nature of               property lease for
             the debtor's interest                        11516 LAMEY BRG RD,
                                                          STE 13 A, D'Iberville,
                                                          MS
                  State the term remaining                7/31/2022                      Kaylynn Sills
                                                                                         Encore Retail Lakeview VI, LLC Attn: Leg
             List the contract number of any                                             8403 Westglen Drive
                   government contract                                                   Houston, TX 77063


 2.35.       State what the contract or                   Nonresidential real
             lease is for and the nature of               property lease for 7451
             the debtor's interest                        WILES RD, BLDG 2 STE
                                                          201 WHISPERING
                                                          WOODS CTR, CORAL
                                                          SPRINGS, FL
                  State the term remaining                7/31/2020                      Kevin Payton
                                                                                         Payton Coral Springs, LLC
             List the contract number of any                                             436 Holiday Dr.
                   government contract                                                   Hallandale, FL 33009




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 Debtor 1 IntegraMed America, Inc.                                                               Case number (if known)   20-11170 (LSS)
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

 2.36.       State what the contract or                   Nonresidential real
             lease is for and the nature of               property lease for
             the debtor's interest                        12011 LEE JACKSON
                                                          HWY, SUITES 302 305,
                                                          Fairfax, VA
                  State the term remaining                5/31/2023                      Kim Bennett
                                                                                         Guardian Realty
             List the contract number of any                                             600 Executive Blvd., Suite 400
                   government contract                                                   Rockville, MD 20852


 2.37.       State what the contract or                   Nonresidential real
             lease is for and the nature of               property lease for 105
             the debtor's interest                        LANDINGS DR, STE
                                                          202 -, Mooresville, NC
                  State the term remaining                12/31/2021
                                                                                         Langree Officer Center
             List the contract number of any                                             5800 Monroe St., Bldg F-5
                   government contract                                                   Sylvania, OH 43560


 2.38.       State what the contract or                   Nonresidential real
             lease is for and the nature of               property lease for
             the debtor's interest                        18210 S LAGRANGE
                                                          RD, STE 111 A, Tinley
                                                          Park, IL
                  State the term remaining                8/31/2022                      Legal Dept.
                                                                                         18191 Von Karman Ave.
             List the contract number of any                                             Suite 300
                   government contract                                                   Irvine, CA 92612


 2.39.       State what the contract or                   Nonresidential real
             lease is for and the nature of               property lease for 900
             the debtor's interest                        N KINGSBURY ST, RW6
                                                          - PORTION OF LOWER
                                                          LEVEL, Chicago, IL
                  State the term remaining                11/30/2026                     Legal Dept. Leasing
                                                                                         Two N. Riverside Plz
             List the contract number of any                                             Ste 600
                   government contract                                                   Chicago, IL 60606


 2.40.       State what the contract or                   Nonresidential real
             lease is for and the nature of               property lease for 600
             the debtor's interest                        W CHICAGO AVE, RW5
                                                          - RIVERWALK LEVEL
                                                          EXPANSION A,
                                                          Chicago, IL
                  State the term remaining                11/30/2026
                                                                                         Legal Dept., Leasing
             List the contract number of any                                             Two N. Riverside Plz, Suite 600
                   government contract                                                   Chicago, IL 60606




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 Debtor 1 IntegraMed America, Inc.                                                               Case number (if known)   20-11170 (LSS)
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

 2.41.       State what the contract or                   Nonresidential real
             lease is for and the nature of               property lease for 600
             the debtor's interest                        HERITAGE DR, STE 200
                                                          A, Jupiter, FL                 Maria R. Gonzalez, Jamie Willard
                  State the term remaining                2/28/2022                      Windrose AWPC II Properties, LLC
                                                                                         c Welltower Inc.
             List the contract number of any                                             1860 SW Fountainview Blvd. Suite 100
                   government contract                                                   Port Saint Lucie, FL 34986


 2.42.       State what the contract or                   Nonresidential real
             lease is for and the nature of               property lease for 567
             the debtor's interest                        NW LK WHITNEY PL,
                                                          STE 103, 104, Port St.
                                                          Lucie, FL                      Maria R. Gonzalez, Jamie Willard
                  State the term remaining                10/31/2023                     Lake Whitney Phase II, LLC
                                                                                         c Welltower Inc.
             List the contract number of any                                             1860 SW Fountainview Blvd. Suite 100
                   government contract                                                   Port Saint Lucie, FL 34986


 2.43.       State what the contract or                   Nonresidential real
             lease is for and the nature of               property lease for 165
             the debtor's interest                        THOMAS JOHNSON
                                                          DR, SUITES F G IN
                                                          CONDO UNIT #300,
                                                          Frederick, MD
                  State the term remaining                6/30/2026                      Marvin Ausherman, Shelli Lewis
                                                                                         Aspen Ridge 165 LLC
             List the contract number of any                                             7420 Hayward Rd., Ste 203
                   government contract                                                   Frederick, MD 21702


 2.44.       State what the contract or                   Physician agreement
             lease is for and the nature of
             the debtor's interest
                                                                                         Northwest Center for Infertility and
                  State the term remaining                Indefinite                     Reproductive Endocrinology, P.C.
                                                                                         2960 North State Road 7
             List the contract number of any                                             Suite 300
                   government contract                                                   Pompano Beach, FL 33063


 2.45.       State what the contract or                   Nonresidential real
             lease is for and the nature of               property lease for 555
             the debtor's interest                        N NEW BALLAS, STE
                                                          150 A, St. Louis, MO
                  State the term remaining                1/31/2026                      Plaza Members III, LLC
                                                                                         cLand Dynamics, Inc.
             List the contract number of any                                             7800 Forsyth Blvd., Ste 800
                   government contract                                                   Saint Louis, MO 63105


 2.46.       State what the contract or                   Nonresidential real
             lease is for and the nature of               property lease for 111         Plumtree Orthapaedic Associates
             the debtor's interest                        PLUMTREE RD, 2ND FL            111 Plumtree Rd.
                                                          A, Bel Air, MD                 Bel Air, MD 21014
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                         Page 9 of 12
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 Debtor 1 IntegraMed America, Inc.                                                               Case number (if known)   20-11170 (LSS)
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                  State the term remaining                4/30/2024

             List the contract number of any
                   government contract


 2.47.       State what the contract or                   Nonresidential real
             lease is for and the nature of               property lease for 2592
             the debtor's interest                        E GRAND AVE, UNIT
                                                          205 1, Lindenhurst, IL
                  State the term remaining                5/31//2021
                                                                                         Property Manager
             List the contract number of any                                             1605 Half Day Road
                   government contract                                                   Deerfield, IL 60015


 2.48.       State what the contract or                   Nonresidential real
             lease is for and the nature of               property lease for TWO
             the debtor's interest                        MANHATTANVILLE RD
                                                          (NEW), 4TH FL CORR,
                                                          Purchase, NY
                  State the term remaining                9/30/2022
                                                                                         Purchase Corporate Park Associates, L.P.
             List the contract number of any                                             Two Manhattanville Rd.
                   government contract                                                   Purchase, NY 10577


 2.49.       State what the contract or                   Clinic Master Service
             lease is for and the nature of               Agreement
             the debtor's interest

                  State the term remaining                9/22/2040                      Reproductive Endocrine Associates
                                                                                         Charlotte, P.C.
             List the contract number of any                                             1524 East Morehead St.
                   government contract                                                   Charlotte, NC 28207


 2.50.       State what the contract or                   Clinic Master Service
             lease is for and the nature of               Agreement
             the debtor's interest
                                                                                         Reproductive Partners Medical Group
                  State the term remaining                12/31/2029                     La Jolla, Inc.
                                                                                         9850 Genesee Avenue
             List the contract number of any                                             Suite 800
                   government contract                                                   La Jolla, CA 92037


 2.51.       State what the contract or                   Clinic Master Service
             lease is for and the nature of               Agreement
             the debtor's interest
                                                                                         Reproductive Science Center
                  State the term remaining                6/30/2026                      San Francisco Bay Area
                                                                                         100 Park Place
             List the contract number of any                                             Suite 200
                   government contract                                                   San Ramon, CA 94583


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 Debtor 1 IntegraMed America, Inc.                                                               Case number (if known)   20-11170 (LSS)
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

 2.52.       State what the contract or                   Clinic Master Service
             lease is for and the nature of               Agreement
             the debtor's interest

                  State the term remaining                12/31/2028                     Seattle Reproductive Medicine, Inc. P.S.
                                                                                         1505 Westlake Avenue North
             List the contract number of any                                             4th Fl.
                   government contract                                                   Seattle, WA 98109


 2.53.       State what the contract or                   Clinic Master Service
             lease is for and the nature of               Agreement
             the debtor's interest
                                                                                         Shady Grove Fertility Reproductive
                  State the term remaining                3/31/2021                      Science Center, PC
                                                                                         fka Levy, Sagoskin and Stillman, MD, PC
             List the contract number of any                                             15001 Shadey Grove Road, Suite 200
                   government contract                                                   Rockville, MD 20850


 2.54.       State what the contract or                   Nonresidential real
             lease is for and the nature of               property lease for 728
             the debtor's interest                        134TH ST SW, STE 207
                                                          213, Everett, WA
                  State the term remaining                3/31/2027                      Smartcap, Inc.
                                                                                         8201 164th Ave. NE
             List the contract number of any                                             Suite 110
                   government contract                                                   Redmond, WA 98052


 2.55.       State what the contract or                   Nonresidential real
             lease is for and the nature of               property lease for 1700
             the debtor's interest                        W MAIN ST, BLDG B,
                                                          Pensacola, FL
                  State the term remaining                1/31/2026                      Stephanie Taylor
                                                                                         Straight Eight Properties, LLC
             List the contract number of any                                             1700 W Main St., Ste 100
                   government contract                                                   Pensacola, FL 32502


 2.56.       State what the contract or                   Nonresidential real
             lease is for and the nature of               property lease for 9601
             the debtor's interest                        BLACKWELL RD, STE
                                                          400 AND 500, Rockville,
                                                          MD
                  State the term remaining                12/31/2031                     Susan Siedman
                                                                                         Caddis Management Company LLC
             List the contract number of any                                             252 Clayton St., 4th Fl.
                   government contract                                                   Denver, CO 80209


 2.57.       State what the contract or                   Nonresidential real
             lease is for and the nature of               property lease for 9850
             the debtor's interest                        GENESEE AVE, STE               Thomas C. Sounhein, CEO
                                                          800 AND 830, La Jolla,         Scripps Memorial - XiMed Medical Center,
                                                          CA                             9850 Genesee Ave., Suite 800
                  State the term remaining                2/28/2021                      La Jolla, CA 92037
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                         Page 11 of 12
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 Debtor 1 IntegraMed America, Inc.                                                               Case number (if known)   20-11170 (LSS)
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease


             List the contract number of any
                   government contract


 2.58.       State what the contract or                   Nonresidential real
             lease is for and the nature of               property lease for 720
             the debtor's interest                        ALICEANNA ST, STE
                                                          320 A, Baltimore, MD
                  State the term remaining                8/31/2022                      Tim O'Donald
                                                                                         Harbor East Garage LLC
             List the contract number of any                                             650 S Exeter St., Suite 200
                   government contract                                                   Baltimore, MD 21202


 2.59.       State what the contract or                   Clinic Master Service
             lease is for and the nature of               Agreement
             the debtor's interest

                  State the term remaining                2/1/2032                       UNC Ferility LLC
                                                                                         7920 ACC Blvd.
             List the contract number of any                                             Suite 300
                   government contract                                                   Raleigh, NC 27617


 2.60.       State what the contract or                   Clinic Master Service
             lease is for and the nature of               Agreement
             the debtor's interest

                  State the term remaining                1/1/2046
                                                                                         Utah Fertility Center, P.C.
             List the contract number of any                                             1446 W. Pleasant Grove
                   government contract                                                   Pleasant Grove, UT 84062


 2.61.       State what the contract or                   Nonresidential real
             lease is for and the nature of               property lease for 89
             the debtor's interest                        DAVIS RD, SUITES 240
                                                          260 280, Orinda, CA
                  State the term remaining                3/31/20                        Wendy Luis, property manager
                                                                                         Lamorinda Development & Investment
             List the contract number of any                                             89 Davis Rd., Suite 260
                   government contract                                                   Orinda, CA 94563




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 Fill in this information to identify the case:

 Debtor name         IntegraMed America, Inc.

 United States Bankruptcy Court for the:            DISTRICT OF DELAWARE

 Case number (if known)         20-11170 (LSS)
                                                                                                                              Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                      12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

  No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
  Yes
   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                   Name                           Check all schedules
                                                                                                                                that apply:

    2.1      IntegraMed                        2 Manhattanville Road                             Bank of Montreal               D        2.1
             Fertility Holding                 Purchase, NY 10577                                (Administrative                 E/F
             Corp.                                                                               Agent)
                                                                                                                                G



    2.2      IntegraMed                        2 Manhattanville Road                             Bank of Montreal               D        2.2
             Fertility Holding                 Purchase, NY 10577                                (Administrative                 E/F
             Corp.                                                                               Agent)
                                                                                                                                G



    2.3      IntegraMed                        2 Manhattanville Road                             Bank of Montreal               D        2.1
             Florida Holdings,                 Purchase, NY 10577                                (Administrative                 E/F
             LLC                                                                                 Agent)
                                                                                                                                G



    2.4      IntegraMed                        2 Manhattanville Road                             Bank of Montreal               D        2.2
             Florida Holdings,                 Purchase, NY 10577                                (Administrative                 E/F
             LLC                                                                                 Agent)
                                                                                                                                G



    2.5      IntegraMed                        2 Manhattanville Road                             Bank of Montreal               D        2.1
             Holding Corp.                     Purchase, NY 10577                                (Administrative                 E/F
                                                                                                 Agent)
                                                                                                                                G




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 Debtor       IntegraMed America, Inc.                                                      Case number (if known)   20-11170 (LSS)


            Additional Page to List More Codebtors
           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                         Column 2: Creditor



    2.6      IntegraMed                        2 Manhattanville Road                             Bank of Montreal             D       2.2
             Holding Corp.                     Purchase, NY 10577                                (Administrative               E/F
                                                                                                 Agent)
                                                                                                                              G



    2.7      IntegraMed                        2 Manhattanville Road                             Bank of Montreal             D       2.1
             Management of                     Purchase, NY 10577                                (Administrative               E/F
             Bridgeport LLC                                                                      Agent)
                                                                                                                              G



    2.8      IntegraMed                        2 Manhattanville Road                             Bank of Montreal             D       2.2
             Management of                     Purchase, NY 10577                                (Administrative               E/F
             Bridgeport LLC                                                                      Agent)
                                                                                                                              G



    2.9      IntegraMed                        2 Manhattaville Road                              Bank of Montreal             D       2.1
             Management of                     Purchase, NY 10577                                (Administrative               E/F
             Mobile, LLC                                                                         Agent)
                                                                                                                              G



    2.10     IntegraMed                        2 Manhattaville Road                              Bank of Montreal             D       2.2
             Management of                     Purchase, NY 10577                                (Administrative               E/F
             Mobile, LLC                                                                         Agent)
                                                                                                                              G



    2.11     IntegraMed                        2 Manhattanville Road                             Bank of Montreal             D       2.1
             Management,                       Purchase, NY 10577                                (Administrative               E/F
             LLC                                                                                 Agent)
                                                                                                                              G



    2.12     IntegraMed                        2 Manhattanville Road                             Bank of Montreal             D       2.2
             Management,                       Purchase, NY 10577                                (Administrative               E/F
             LLC                                                                                 Agent)
                                                                                                                              G



    2.13     IntegraMed                        2 Manhattanville Road                             Bank of Montreal             D       2.1
             Medical Missouri,                 Purchase, NY 10577                                (Administrative               E/F
             LLC                                                                                 Agent)
                                                                                                                              G




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 Debtor       IntegraMed America, Inc.                                                      Case number (if known)   20-11170 (LSS)


            Additional Page to List More Codebtors
           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                         Column 2: Creditor



    2.14     IntegraMed                        2 Manhattanville Road                             Bank of Montreal             D       2.2
             Medical Missouri,                 Purchase, NY 10577                                (Administrative               E/F
             LLC                                                                                 Agent)
                                                                                                                              G



    2.15     Reproductive                      2 Manhattanville Road                             Bank of Montreal             D       2.1
             Partners, Inc.                    Purchase, NY 10577                                (Administrative               E/F
                                                                                                 Agent)
                                                                                                                              G



    2.16     Reproductive                      2 Manhattanville Road                             Bank of Montreal             D       2.2
             Partners, Inc.                    Purchase, NY 10577                                (Administrative               E/F
                                                                                                 Agent)
                                                                                                                              G



    2.17     Trellis Health                    2 Manhattanville Road                             Bank of Montreal             D       2.1
             LLC                               Purchase, NY 10577                                (Administrative               E/F
                                                                                                 Agent)
                                                                                                                              G



    2.18     Trellis Health                    2 Manhattanville Road                             Bank of Montreal             D       2.2
             LLC                               Purchase, NY 10577                                (Administrative               E/F
                                                                                                 Agent)
                                                                                                                              G




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